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EXHIBIT B
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Day 10                                                      NAE Arbitration                                                        28 June 2016

   1                           Tuesday, 28 June 2016                    1     maintained up to the present time or is it -- you see,
   2     (9.28 am)                                                      2     this is the hole point, it is either a document which
   3                     Housekeeping                                   3     existed in its final form on 2012 or it is not. If it
   4     MR WADE: Before you begin you will have seen on your desk,     4     is a document which existed in its final form on 2012
   5       I think, copies of this, which we promised you. I am         5     and you print out a PDF of an Excel or whatever from
   6       just letting you know that it's there.                       6     2012 and it has no redactions and nothing, that's one
   7     THE CHAIRMAN: Very good. Good morning, everyone. It is,        7     thing. If what it is is extracted data from a computer
   8       I believe, June 28. This is LCIA arbitration 132498.         8     program that was extracted in the last three weeks,
   9          We received last night the letter from the claimant.      9     that's a totally different thing. So just get your
  10       Before I turn to that very briefly, are there any other     10     instructions on that, if you would, and get back to us,
  11       procedural issues from the claimant's side?                 11     because --
  12     MR NESBITT: Not from our side, sir.                           12   MR NESBITT: Yes, it is not extracted data.
  13     THE CHAIRMAN: From the respondents' side?                     13   THE CHAIRMAN: It is not --
  14     MR WADE: No.                                                  14   MR NESBITT: It is a contemporaneous record that was made at
  15     THE CHAIRMAN: Very good.                                      15     the time, but unlike the written mail logs you saw, it
  16          With respect to the submission of the two additional     16     was maintained electronically. It has not been
  17       documents, the Tribunal will look at those over lunch.      17     manipulated in way, if that is really what you're
  18       I have one quick question for the claimant, and I might     18     getting at.
  19       not have looked at things closely enough, but do the        19   THE CHAIRMAN: No, because the document appears to be
  20       exhibits that have been submitted, I believe it is C40      20     a sheet of white paper, and I am just at a loss to
  21       and 41, are they photocopies of documents from 2012?        21     understand how that sheet of white paper could exist in
  22       You may wish to --                                          22     the abstract. The respondent has specifically raised
  23     MR NESBITT: I might need to ask ...                           23     a question about this, because it's a sheet of white
  24     MR SHOESMITH: (Inaudible) but yes.                            24     paper, as I see it, which has a bunch of numbers on the
  25     THE CHAIRMAN: No.                                             25     left. It looks like it's an extract from an Excel

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   1     MR NESBITT: Sorry, the answer is they are contemporaneous     1      sheet, but is it a complete extract? Where does it come
   2       2012 records made at the time, but the documents that       2      from? We don't know anything. We have a sheet of white
   3       you have are PDF copies of the extract from the log.        3      paper here for the time being.
   4     THE CHAIRMAN: Please take instructions on that point,         4    MR NESBITT: I think the explanation is in the emails, but
   5       because the document, according to the respondents, they    5      if that is not clear I will seek instructions and come
   6       have asked a question whether this was just extracted       6      back to you at lunchtime, if that's okay.
   7       from some Excel material, in which case it is not           7    THE CHAIRMAN: I might have missed something in the emails,
   8       a contemporaneous document, it is a document that has       8      for which I apologise in advance.
   9       been created by extracting certain data. That is one        9    MR NESBITT: No, not at all.
  10       possibility.                                                10   THE CHAIRMAN: If you could get back to us before we have
  11          The other possibility is that it is a photocopy of       11     a discussion about the document at lunchtime, that would
  12       a document that was created by some person in 2012.         12     be great.
  13       Those are the two possibilities that I see, and if you      13   MR NESBITT: Sure.
  14       could just get back to us, perhaps after the coffee         14                 DR SIMON MOY (called)
  15       break, as to which of those it is.                          15   THE CHAIRMAN: Dr Moy.
  16     MR NESBITT: I am pretty sure I know the answer already but    16   A. Thank you, gentlemen. My name is Simon Moy --
  17       I will double-check.                                        17   THE CHAIRMAN: Just before you start, Dr Moy, you've
  18     THE CHAIRMAN: You can give us a preliminary answer right      18     provided an expert opinion in these proceedings.
  19       now, if you'd like.                                         19   A. I have, yes.
  20     MR NESBITT: Well, I think, as I said, it's a record that is   20   THE CHAIRMAN: And you have also signed a joint report.
  21       kept electronically at the time and updated each time       21   A. I have.
  22       a piece of mail comes in, and what's been provided is       22   THE CHAIRMAN: And you understand your duty to the Tribunal
  23       a printout of the relevant bit of the record for those      23     to express your best professional opinion?
  24       dates.                                                      24   A. Yes, I do.
  25     THE CHAIRMAN: So it's an electronic record that has been      25   THE CHAIRMAN: Thank you very much.

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                                                                                                                            1 (Pages 1 to 4)
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   1             Examination-in-chief by MR GUNNING                    1     South America. I have been involved with reservoir
   2     A. Okay. Great.                                               2     engineering, reservoir simulation, material balance,
   3     MR GUNNING: Dr Moy, hopefully you have in front of you        3     well test, well test interpretations. I have planned,
   4       bundle E2. Do you have that?                                4     executed and interpreted PLTs. I've been involved with
   5     A. Yes.                                                       5     reserve auditing.
   6     Q. If you could turn to tab 2, I think you should have        6        In 2013 I joined Rockflow Resources as a director
   7       a copy of your report in these proceedings.                 7     and partner. Rockflow is a partner-owned subsurface
   8     A. Yes.                                                       8     consultancy based in Haslemere.
   9     Q. I think if we look at tab 3, we can see that that was      9        I am just making sure I don't run out of time.
  10       sent -- I hope you don't mind me leading on this -- on     10        So I hope that I will be able to inject a little bit
  11       24 February 2016, and included some amendments to          11     of clarity into the discussion so far concerning the
  12       a previous draft; is that right?                           12     issues that we've been discussing. Some of the points
  13     A. That's correct.                                           13     that I am going to be covering are related to recovery
  14     Q. And if we turn to tab 4, I think I have this the right    14     in these kinds of reservoirs, the sensitivity of coning
  15       way round, maybe I haven't, there is a tracked changes     15     to rate; the role of permeability in coning.
  16       version; is that right?                                    16        I am going to briefly look at the Oyo wells, their
  17     A. That's right.                                             17     position in the reservoir, and in particular their GOR
  18     Q. Okay. And can you confirm that that's a copy of the       18     trends, and a brief summary of the findings of the paper
  19       report as amended?                                         19     covering the 35 Nigerian oil rim reservoirs.
  20     A. Yes.                                                      20        The picture on the top left-hand corner you saw at
  21     Q. In addition, we have in bundle E3 at tab 5 a copy of      21     the beginning in the opening submissions, it's
  22       your joint statement with Mr Filippi.                      22     essentially the channel complex. It's a sand body
  23     A. Mmm-hmm.                                                  23     encased in shale, both above and below, and I've marked
  24     Q. Then on top of that, if we go back, I think to            24     Oyo central and Oyo west.
  25       bundle E2 -- no, sorry, at the back of E3 --               25        In the lower right-hand side, you'll see something

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   1     A. Right.                                                     1     that was familiar from yesterday, which is an exploded
   2     Q. -- at page 306 there is a letter that you sent on          2     view of Oyo central showing the divided fault, and I've
   3       14 June 2016.                                               3     marked on there the various locations of the wells, both
   4     A. 306?                                                       4     horizontal and vertical.
   5     Q. At the very back. It will be the very last document in     5        Let me just reiterate all the production so far has
   6       the whole bundle or should be. No?                          6     occurred in Oyo central west. All but one of the wells
   7     A. No, but I have -- I presume it's this one?                 7     that have pressure data is located in that part of the
   8     Q. Yes, that's it. Okay. So can you confirm that that         8     field.
   9       represents the totality of your evidence in the             9        On the eastern side we have Oyo-8, which is
  10       arbitration?                                               10     a vertical well, and although there's been no production
  11     A. It does, yes.                                             11     there we have pressure data, and it was that pressure
  12     Q. And can you confirm that, subject to any clarifications   12     data that confirmed the presence of both contacts of
  13       that you make in the presentation, that it represents      13     different depths and a different pressure regime. It's
  14       your true and professional opinion?                        14     also worth mentioning that the Oyo reservoir is
  15     A. It does, yes.                                             15     overpressured in fact on the western side -- sorry, on
  16     MR GUNNING: Okay. Thank you, Dr Moy.                         16     the western side it is overpressured by 500 psi.
  17          Okay, thank you.                                        17        Recovery, it is very important. What I am about to
  18     THE CHAIRMAN: Please start, Dr Moy.                          18     say applies to every oilfield, whether it is large or
  19                 Presentation by DR MOY                           19     small, whether it has a gas cap or not. Maximising oil
  20     DR MOY: Thank you very much. Okay. As you know, I am         20     recovery means minimising gas production. In
  21       Simon Moy. I have been in the oil business for             21     particular, if you can minimise your cumulative gas-oil
  22       22 years. I graduated from Imperial with a master's        22     ratio you will maximise your oil recovery. That's
  23       degree in petroleum engineering. I started my career       23     derived from the basis of material balance, effectively
  24       with BG E&P, then developed my career in the independent   24     the oil recovery is a reciprocal of cumulative GOR.
  25       sector, working in central Asia, Africa and                25        Why is that the case? One of the most important

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   1       things is keeping gas in the reservoir keeps the energy            1       PROFESSOR LEW: Thank you.
   2       in the reservoir. If you produce that gas, you're                  2       DR MOY: So Chaperon we dealt with yesterday but I will
   3       taking out the most compressible fluid in the reservoir.           3         cover that briefly. The Papatzacos equation developed
   4       So it is very important to control the amount of gas               4         these equations to show the gas coning and in particular
   5       that the wells produce. Sometimes that's unavoidable,              5         the time to gas coning. Interestingly enough,
   6       but it is, in the case of producing directly from the              6         Papatzacos used to confirm his equations a fine grid
   7       gas cap, something that you can avoid.                             7         model, and in the paper he presents he reports that
   8          So if you produce gas directly from the gas cap you             8         there is no error between his equations and the results
   9       not only take energy out of the reservoir but you                  9         in the modelling.
  10       diminish the wells' potential for producing liquids               10            The paper, the Shell review, the Shell survey of 35
  11       because, as we heard yesterday, the mobility of gas is            11         oil rim reservoirs by (inaudible) Peacock, they also
  12       at least 17 times greater than for oil, and once that             12         used a similar model, and I will come to those later.
  13       well starts producing gas, that's the preferred phase             13            I am going to come back to that slide that I just
  14       that it will produce.                                             14         flicked through, but for clarity I will start with
  15          For gas cap reservoirs typical recoveries are                  15         Chaperon, and we saw yesterday that that gives you
  16       between 25 and 35 per cent. That's not my number,                 16         an estimate of the critical rate. Now, what is the
  17       that's taken from one of the bibles of reservoir                  17         critical rate? It is the rate at which gas starts to
  18       engineering by Laurie Dake, and that's from his                   18         cone from the gas cap down towards the well, and in this
  19       experience of dealing with these kinds of reservoirs,             19         case, in the slide that I've shown there, I've taken the
  20       provided that you control the amount of gas that you              20         parameters at the bottom, which are the ones that are in
  21       produce, i.e. you prevent gas coning.                             21         the report, and for a range of permeabilities I've
  22          I am going to be covering some of the Chaperon's               22         calculated the critical rate.
  23       equation that we mentioned --                                     23            As you can see, the relative performance as you
  24     PROFESSOR LEW: Sorry, can I interrupt, you said gas cap             24         decrease your permeability, as your reservoir
  25       reserves typical recoveries of between 25 and                     25         permeability drops, the critical rate drops. Why is

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  1        35 per cent.                                                       1         that? Well, for a given oil rate in the reservoir the
  2      DR MOY: That's correct.                                              2         lower the permeability, the bigger the pressure
  3      PROFESSOR LEW: What do you mean by recoveries?                       3         drawdowns required to give that rate and, as we heard
  4      DR MOY: Okay, that's a good question. That's the                     4         earlier, the mobility of the oil is greater than for oil
  5        proportion of the in-place oil that you can hope to                5         (sic), and it's the drawdown forces, the pressure
  6        recover. Actually, that may seem like a low percentage             6         forces, which overcome the buoyancy of the gas. The gas
  7        but that's pretty average. Due to the capillary                    7         actually would like to stay at the top in the gas cap.
  8        pressures in the reservoir, it is very rare to get                 8            Papatzacos, his equation is a bit more sophisticated
  9        recoveries above 50 per cent. It is possible but you               9         in that he gives an estimate of the days to gas
  10       need a good combination of rock properties, oil                   10         breakthrough. There is a lot in this, so I am going to
  11       properties, strong aquifer. So recoveries of over                 11         run you through it carefully.
  12       20 per cent to 35/40 per cent are probably where the              12            So on the Y axis we have oil rate. On the X axis
  13       majority of fields with good quality oil that that's              13         days to breakthrough, and what I have done here is I've
  14       their recovery range. So this is within that range.               14         used the equations to plot three curves at a range of
  15     PROFESSOR LEW: You are recovering the oil in what way?              15         permeability, it's 800, 500 and 300 millidarcy.
  16     A. Through production, yes. So essentially when we talk             16            So if we go from 15,000 barrels of oil a day in
  17       about in-place volumes, that's the estimate that we make          17         an 800 millidarcy reservoir we can see in fact that days
  18       of what's actually underground. However, there's always           18         to gas breakthrough is 150 days, roughly. If we were to
  19       a much smaller proportion that you can hope to recover            19         drop the permeability to 300, it would give us
  20       over five, ten, 15, 20 years of the life of the field.            20         a breakthrough of 30 days.
  21       And as I said, 35 per cent, that's kind of typical,               21            Now, these curves are very non-linear so what it is
  22       I suppose, but quite normal. Although for the people              22         saying here is if we had a rate of three and a half --
  23       who are unfamiliar with the oil business they are                 23         sorry, 7,500 barrels of oil a day we more than double
  24       surprised at how low it is, but it is a factor to do              24         the time to gas breakthrough. It is very clear the
  25       with capillary pressures. Should I continue?                      25         trends that are shown on these curves, the relationship

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   1      between rate, permeability and days to gas breakthrough.    1     green, and the red dots is also real data.
   2         For completeness I've added on here the critical         2        What do we mean by a well test? Well, we flow the
   3      rates that we saw on the previous slide based on            3     well and we shut the well in suddenly, preferably down
   4      Chaperon's, which merely indicate the rate at which gas     4     hole, and we monitor the rise in bottom hole pressure.
   5      starts to cone. It doesn't give you any information         5     A very sharp rise and then it levels off.
   6      about the time to gas breakthrough.                         6        The magic appears when we plot it on a log-log
   7         The fine grid cell models that I was talking about,      7     scale, which is what these are, and also not only do we
   8      coning studies, are beautifully summarised in this          8     plot the pressure but we plot the gradient of the
   9      slide, and for the benefit of the Tribunal, I've put in     9     pressure response, which is called the derivative. So
  10      what this grid represents. So what the authors have        10     this red data represents the derivative or gradient of
  11      done is in the green section is the gas field and the      11     the green data. And what the well test engineer will do
  12      red is the oilfield, and I've drawn a schematic to show    12     is he will use his well test interpretation software
  13      what it represents in terms of its relationship to the     13     that will generate a response from a conceptual
  14      contacts and the reservoir.                                14     reservoir model of the reservoir around the well, and it
  15         Note something that is very important is that, first    15     will reproduce from theory the theoretical performance
  16      of all, this is a horizontal well, which goes into the     16     that you would expect to see, and so the interpretation
  17      slide. Secondly, the cloud of cells around the             17     engineer matches real data with modelled data. You can
  18      horizontal well are very, very small. And notice the       18     see here how good the matches are, and it is from these
  19      change in saturation. It is basically a curtain of gas     19     that you get an estimate that is fairly reliable of the
  20      coming down towards the well. So there is a high           20     permeability.
  21      saturation change over a very small volume, which can      21        However, when we come to Oyo-5, what do we see here?
  22      only be properly reproduced when you simulate it using     22     We have the build-up on a log-log scale, which are the
  23      grid cells of this small size.                             23     green data. We have the gradient of that response,
  24         The next slide here really summarises the range of      24     which is the red data, and notice it's all over the
  25      cell sizes in these models, and here we see the            25     place.

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   1      Papatzacos grid that he used in comparing his               1         Also we have the continuous line, which are linked,
   2      theoretical results with simulation.                        2      because the continuous red line is the pressure
   3          What they have in common is the very fine dimensions    3      build-up, and it's tied in completely with its gradient,
   4      in order to reproduce this coning, which are absent both    4      which is the dark line, the black line. And it's where
   5      from the Filippi model and the D&M model, and these         5      this dark line intersects the Y axis which determines
   6      I have left out -- this is 55 by 45 metres by               6      the permeability. The higher this is, the lower the
   7      1.2 metres, and this is 100 by 100 by 4 metres.             7      permeability. The lower this intersect, the higher the
   8          So neither the D&M or the Filippi model really          8      permeability. But as an interpretation, as an engineer,
   9      effectively model this phenomena.                           9      I would have no means of figuring out what the true
  10          So in conclusion, for this section anyway, we've       10      response of this well is. There are no data here to
  11      seen gas coning is rate-sensitive and we've seen that      11      match. You would expect at least a cloud of data that
  12      it's also a function of the permeability.                  12      you could fit the line to.
  13          Now, if we get on to the permeability we see in the    13         So as mentioned by Mr Costa, it is pretty much
  14      Oyo reservoir, there is a high degree of uncertainty as    14      uninterpretable.
  15      to what the permeability actually is. We have core         15         So getting back to permeability. The conclusion
  16      data, which in itself is very, very wide. At one point     16      here is the uncertainty that we have in the Oyo
  17      the maximum is over 10,000 millidarcy. We have well        17      reservoir as to the true magnitude of permeability,
  18      test data from Oyo-4 and Oyo-6, and we have a test         18      certainly in the Oyo-5 area. We've seen that the lower
  19      interpretation from Oyo-5. However, I will come to that    19      the permeability, gas cones more easily. Critical rates
  20      in one of the next slides.                                 20      are lower. Gas incursion happens more quickly. And
  21          So what do we mean by well test interpretation and     21      neither the D&M nor the Filippi models have grid cell
  22      permeability?                                              22      resolution small enough to mirror this effect.
  23          On the screen I have two examples from Oyo, Oyo-4 on   23         Let's look at the Oyo wells. I have plotted here
  24      the left and Oyo-6 on the right-hand side, and what        24      the relative position of the three wells, Oyo-5, 7 and
  25      I want you to look at are the dots. So the real data is    25      8, which are in the Oyo central west. In particular,

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   1       I have concentrated on their relative positions from the    1     then they reach a point here where clearly conditions at
   2       contacts, and you'll notice that they have similar          2     the well drop below the bubble point.
   3       producing lengths, they have similar depths, and Oyo-8      3        Now, although it is a gas cap reservoir, it's the
   4       in fact is shallower, even though it has got the lower      4     contact that's at the bubble point by definition. The
   5       GOR.                                                        5     wells are 20 metres or so below. What happens at this
   6          If we go to a plot of their GOR. And on here, this       6     point is that the flowing bottom hole pressure falls
   7       is just part of the range, the Oyo-5 GOR continued to       7     below the bubble point and gas comes out of solution.
   8       increase, in fact it reaches 45,000 standard cubic feet     8     That's totally normal. And the region around the well
   9       per barrel.                                                 9     which falls below the bubble point grows as the well
  10          Oyo-8 we have a small increase here. What I want to     10     continues to produce. And because the gas is more
  11       concentrate on for the moment is this Oyo-6 and Oyo-7.     11     mobile what tends to happen, because there is
  12          Oyo-6 is in Oyo west. It's a different kind of          12     a drawdown, there's a pressure difference between the
  13       reservoir. What I am going to show is that this            13     well and the reservoir, is that it is the gas that is
  14       response is what you would expect from solution drive      14     preferentially produced at the well.
  15       reservoir, not gas cap.                                    15        What is happening is that gas that comes out of
  16          What is a solution drive reservoir? It's when the       16     solution further away from the well is produced, and
  17       well is producing, it goes the below the bubble point,     17     that leaves oil in the reservoir, which is deficient in
  18       oil comes out of -- gas comes out of a solution.           18     gas. The producing GOR, as we see here, increases.
  19          So here we have a GOR which rose but, apart from        19        So what I have plotted here is a figure from Dake,
  20       peaking around 5,000, dropped back down and stayed below   20     which shows the same phenomena. The numbers are
  21       4,000. And Oyo-6, if you remember from yesterday,          21     different because the GOR here was twice that of Oyo,
  22       produced almost 4 million barrels from a smaller           22     but we see the same phenomena, constantly producing,
  23       reservoir.                                                 23     constant GOR until we reach the bubble point. You
  24          What is important here is to look at how Oyo-6 or       24     notice that the GOR does drop back down even though
  25       Oyo-7 data lies on top of the Oyo-6 trend. What I would    25     pressure has continued to drop. This is the indication

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   1       like to show is that in fact what we're seeing in Oyo-7     1     of a solution drive reservoir, as we find certainly in
   2       is the same phenomena of solution gas coming out and        2     Oyo-6.
   3       being produced. This plot shows the same thing over the     3         I am going to come back to that slide in a minute.
   4       entire GOR scale, up to 45,000.                             4     I would like to look at Oyo-6 in a bit more detail.
   5           Right, what do we have here? We have Oyo-6 and          5         We have five wells -- well, there is wells
   6       Oyo-7 GOR --                                                6     essentially and three sidetracks. So we have Oyo-2, 3,
   7     THE CHAIRMAN: Excuse me, could you just go back to the        7     and 6. And Oyo-6 was in fact drilled as a pilot hole,
   8       prior slide. That one. That's showing the GOR for all       8     it was sidetracked, had to be abandoned, and it's the
   9       of the wells?                                               9     second sidetrack which became the producing well, and
  10     DR MOY: That's correct.                                      10     it's that data that we have.
  11     THE CHAIRMAN: And based on the quantity of oil produced?     11         Notice on here that we have -- it is the top
  12     DR MOY: That's correct.                                      12     surface, one of the surfaces in Oyo west, and it is from
  13     THE CHAIRMAN: But not based on time?                         13     an Eni presentation, and it shows the faulting in the
  14     DR MOY: No, and the reason it is plotted like that is that   14     area. It is quite heavily faulted.
  15       it is -- it is a very good point, because if you plot      15         The next slide, there is a lot of information here,
  16       against time what you'll find is it's -- what this shows   16     but I am going to take you through it. It's a vertical
  17       is the true proportion of gas that's been produced         17     projection from those five wells, and well bores,
  18       relative to a volume of oil.                               18     showing the sands.
  19           So if trends are different on this plot, it's due --   19         Now, what do we see here? The green are the
  20       it is independent of how they are produced. So whether     20     gas-filled sands. The red are the oil-filled sands.
  21       it is at a high rate or a low rate, you can see the        21     The blue are filled with water.
  22       differences on this kind of plot.                          22         The sands that you see that are green are very thin.
  23     THE CHAIRMAN: Thank you very much.                           23     They are 5/8 metres, sometimes thinner. Notice also the
  24     DR MOY: So getting back to this, so what do we have here?    24     distance between the Oyo-6 pilot hole and sidetracks is
  25       So for both 6 and 7 we have a constant producing GOR,      25     very small, 50 to 80 metres, and note how the sands are

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   1      very discontinuous. How can we tell? Because they are       1     these 35 fields as thin to moderate. So that would put
   2      difficult to correlate between one well and the other.      2     Oyo way outside, and it's important because if you are
   3      So if we look here sands pinch out and disappear. They      3     dealing with a thin oil rim reservoir, indeed gas coning
   4      are not present. They move around. It is quite              4     is very difficult to control.
   5      a difficult picture.                                        5        They summarise their results in an equation, which
   6         The producing interval of Oyo-6 sidetrack 2 is here.     6     I've tried to communicate the results in this one
   7      This sand is 20 metres thick. It is important to            7     picture. The important parameters are the aquifer size
   8      realise that despite these gas sands being present,         8     and the permeability.
   9      there are lots of shales, and in particular shale right     9        And where have I got this 13 from? 13 is the ratio
  10      above the oil-filled sand.                                 10     of the aquifer size to the hydrocarbon volume at
  11         Now, a gas-oil contact was indeed measured directly     11     reservoir conditions. That's been taken from the Eni
  12      in one of these sands in the pilot hole at a vertical      12     model 2008, which very nicely included all the aquifer
  13      depth of 1,579 metres true vertical depth subsea.          13     under the Oyo central structure, and most of the aquifer
  14         If we go back to that first slide -- this is Oyo-6      14     is there, and the ratio that's between aquifer and
  15      sidetrack 2 -- what we can here is a schematic             15     hydrocarbon is 13.
  16      showing -- from the true well deviation survey. I have     16        I've highlighted those three cases with a range of
  17      drawn in the 20-metre sand. If we were to go up to         17     permeability between 300 and 800 millidarcy, and you can
  18      a depth of 1,579 where the contact was observed in the     18     see that in fact Oyo would sit here and we get
  19      other well, we would have to go back 153 metres along      19     an intercept, which is round about 13 million barrels'
  20      hole, up dip.                                              20     recovery for a typical horizontal well.
  21         The sand itself is oil-filled, and there's shale        21        Now, if we look at the --
  22      above and below. It's completely isolated. There is no     22   PROFESSOR LEW: If you just go back to that slide, what is
  23      gas cap here, and it is unlikely the sand would extend     23     aquifer ratio?
  24      153 metres based on the fact that from the logs you can    24   A. It is the ratio of the volume of the aquifer to the
  25      see that the area -- the sands are very discontinuous,     25     volume occupied by the hydrocarbons, so that's both gas

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   1      over distances of 50 to 80 metres.                         1      and oil.
   2         This slide really summarised what I've just             2        So if we go to the profiles that I've presented in
   3      mentioned. So the point I am trying to get over and        3      my reports, the models that I received from D&M, there
   4      communicate is that Oyo-6 GOR trend is what you would      4      is a geomodel and there's a simulation model. The grid
   5      expect from a solution gas-drive reservoir.                5      was identical in both cases, and in fact the multiplier
   6         Oyo-8 is similar. We see a constant GOR. We have        6      that came with the -- okay, the permeability in the GOR
   7      hit the bubble point. The GORs increase. That's            7      model ... (Pause).
   8      totally normal. You can't avoid it. It's completely        8        The permeability in the geomodel is based on core.
   9      different from gas incursion from the gas cap.             9      It is quite high, very high, as we've seen in the core
  10         Looking at the Shell survey of 35 Nigerian oil rim      10     samples. D&M applied a multiplication factor of 0.1,
  11      reservoirs. Now, what the authors did, they looked at      11     and that's where the issue with the 0.1 and the 0.2
  12      35 fields. They looked at recoveries per well. They        12     comes from, and that reduced the core permeabilities
  13      looked at the range of parameters that controlled          13     down to something that was closer to some of the well
  14      recovery. They then quantified that by comparison with     14     test information. So it is that that I then used to
  15      their simulation grid or simulation model, the grid        15     generate the profiles.
  16      I showed in one of the earlier slides. It is important     16       In order to get a less gassy Oyo-5 -- because you've
  17      to communicate the fact that the range of parameters of    17     seen these models are insensitive really to cone
  18      these Oyo fits nicely inside, in all of them, apart from   18     together bring that out -- I increased the permeability
  19      one parameter, and that's the thickness of the oil rim.    19     by changing the multiplier by 0.2 across the field and
  20         We heard yesterday that Oyo is in fact a thin oil       20     setting it to 1 around Oyo-5.
  21      rim reservoir. It is not a thin oil rim reservoir.         21   THE CHAIRMAN: Sorry, in order to what? I didn't quite
  22         The 35 fields here have an average oil rim of           22     follow that.
  23      15 metres, and the thickest is 25 metres. Oyo itself is    23   A. Well, what I wanted to try and do is to get Oyo-5 to
  24      40 metres.                                                 24     behave like Oyo-7, in terms of its GOR versus cumulative
  25         Now, the authors themselves describe their fields or    25     oil. So in order to do that in the model, in order to

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   1       make the model less gassy, as we saw earlier,              1      submitted back on 19 February, and just for the record
   2       I increased the permeability, because in more permeable    2      that is in the bundle at E2, tab 6, and we will be
   3       reservoirs considering the range of uncertainty you can    3      coming to that.
   4       reduce the ease with which gas cones. And also if you      4         So just one other sort of introductory point from
   5       reduce the GOR, we've seen from the very first slide,      5      your presentation, Dr Moy, you mentioned that you did
   6       you are reducing your cumulative GOR, that actually        6      a master's degree in petroleum engineering at Imperial.
   7       increases your oil recovery. So what we have here on       7    A. I did yes.
   8       this slide is the historic production, which is            8    Q. However, I understand from you report that before you
   9       3.5 million, and the "but for" case, which is around       9      did your master's in petroleum engineering you started
  10       9 million.                                                 10     off in a different field, in astrophysics, and gained
  11          We have two other wells that were modelled in the       11     your first degree in astrophysics.
  12       same way, Oyo B and Oyo C, which gave recoveries that      12   A. I did a degree in physics and astrophysics and then went
  13       are on the slide. That gave a total recovery of            13     on to do a PhD in star formation.
  14       31 per cent of the fluids in the T1A reservoir, and that   14   Q. Yes, so it was after that that you changed direction, if
  15       was within the range expected for the field, based on      15     I can put it that way, and went into (overspeaking) --
  16       typical recoveries for gas cap reservoirs.                 16   A. I did, I decided I wanted to go into the oil business.
  17          Now, on here I've summarised the quantities for the     17   Q. Very good. So, Dr Moy, you spent an awful lot of time
  18       "but for" case and the actual case. The volumes here       18     in your presentation discussing, if I can put it this
  19       are based on a multiplier of 0.1.                          19     way, new material that was introduced in your joint
  20          Now, there was some issue over what is the correct      20     report. So what I would like to do is to go back, first
  21       multiplier or what is the one that's most appropriate.     21     of all, to your original report, and if you could open
  22       These results here use a multiplier of 0.1. However, it    22     up bundle E2 at tab 2, that is your amended report as of
  23       may require the use of 0.2 for consistency because I've    23     24 February.
  24       used 0.2 in the "but for" cases, and the results using     24        And if you could turn to page 126 of the bundle,
  25       0.2 are in my amended report.                              25     that's the internal page 5 of your report -- do you have

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   1          And if we go to the final slide -- so I've hopefully     1     that?
   2       tried to cover these points. We've looked at recovery,      2   A. Yes.
   3       the sensitivity to GOR and the importance of reducing       3   Q. You have set out the instructions that you were
   4       gas production. We've seen the sensitivity of coning to     4     originally given by Stephenson Harwood, and what those
   5       rates and the role of permeability. We've looked            5     instructions were, were to set out your professional
   6       briefly at the position of the wells and their GOR          6     opinion on the following matters.
   7       trends, and we've looked at the range of recoveries one     7        The first of those is:
   8       might expect based on the review of the Shell fields.       8        "Does the Oyo reservoir have any unusual or
   9          So, gentlemen, thank you very much.                      9     particular attributes that should have been taken into
  10     THE CHAIRMAN: Thank you.                                     10     account in the drilling and production from Oyo-5?"
  11     MR NESBITT: Unfortunately for Dr Moy but no doubt to the     11   A. Yes.
  12       relief of the Tribunal, Ms Wilford will be asking the      12   Q. And then the second instruction you were given was:
  13       questions.                                                 13        "What effect did the gas incursion into Oyo-5 have
  14              Cross-examination by MS WILFORD                     14     on the likely total recoverable oil reserves and the
  15     MS WILFORD: Dr Moy, good morning.                            15     rate of recovery of those reserves from the OMLs?"
  16     A. Good morning.                                             16        And I won't read out the wording of the instruction
  17     Q. Mr Gunning helpfully did the first thing I was going to   17     in full but just to summarise, you were asked to run
  18       do for me, because he has summarised all of the various    18     certain actual and "but for" forecasts production from
  19       documents in this arbitration that have originated from    19     the Oyo field.
  20       you. So he's been through your original report, your       20   A. Mmm-hmm.
  21       amended report, and the letters that are on the record     21   Q. And then the thing that Stephenson Harwood asked you to
  22       from you.                                                  22     do was to give your opinion on the question of:
  23          There is one document I just wanted to point out        23        "What effect did the difficulties with reinjecting
  24       that Mr Gunning didn't take you to, which was the          24     gas have on the reservoir pressure on the Oyo
  25       original unamended version of your report that you         25     reservoir?"

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   1     A. Yes.                                                        1        Can you turn to page 7, that's internal page 7, of
   2     Q. And if we could just go back to the forecasts for           2     the report, page 128 in the bundle. This is the start
   3       a second. As I understand it, the significance of those      3     of your executive summary, and what you said at the
   4       forecasts is that then they were then passed to              4     start of your executive summary was:
   5       Mr Taylor for use in his damages calculations.               5        "The conclusions presented in this report based on
   6     A. That's correct.                                             6     the supplied information strongly suggest that Oyo-5
   7     Q. Okay. So you weren't instructed, were you, Dr Moy, to       7     suffered early and premature gas breakthrough caused by
   8       use the model to investigate the source of the gas           8     the operator not following internationally acceptable
   9       ingression into Oyo-5?                                       9     petroleum industry practices and standards when bringing
  10     A. Well, that seems to be part of the process of looking at   10     Oyo-5 on production."
  11       the amount of oil and the problems that would be            11   A. Sorry, can you remind me which paragraph that is?
  12       encountered in an oil rim reservoir.                        12   Q. That is 2.1.1, it's the very --
  13          You are looking at an oil rim reservoir. By              13   A. Oh, sorry.
  14       default, gas coning is going to be an issue potentially,    14   Q. -- start of your executive summary.
  15       and the two goes -- they are like this. How can you         15   A. Okay. Right.
  16       look at one without doing the other? It just doesn't        16   Q. Where in your report, Dr Moy, do you substantiate your
  17       make any sense.                                             17     conclusion in your executive summary? Where do you show
  18     Q. Okay. But it's not apparent from the terms of your         18     that the reasoning behind the view you express here that
  19       initial instructions from Stephenson Harwood that that      19     Oyo-5 suffered premature gas breakthrough caused by the
  20       was something you were expressly asked to do --             20     operator not following internationally applicable
  21     A. Well --                                                    21     Petroleum Industry Practices and Standards?
  22     Q. -- but I take your point about you say (overspeaking) --   22   A. From my point of view, as a reservoir engineer, looking
  23     A. Well, as soon as you see as a reservoir engineer that      23     at this field it is immediately apparent that coning
  24       Oyo is in fact a gas cap reservoir with an oil rim, the     24     could be an issue. That it has to be investigated. And
  25       immediate thing that comes to mind is the potential for     25     I know, although I don't have the reference, that in

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   1       gas coning and how that can affect recovery. It's very      1      this report I mention that an operator would have to do
   2       important that you look at that.                            2      a coning study.
   3     Q. Okay. But if I can maybe put it this way,                  3         And what do I mean by coning study? It is the kind
   4       Stephenson Harwood didn't ask you, did they, to express     4      of fine grid simulation of using a simulation with fine
   5       your professional opinion on what the cause of the gas      5      grid cells that are the kinds that I've presented on the
   6       ingression into Oyo-5 was?                                  6      slides. That would be a localised model, which would
   7     A. Well, that would come under point 1 --                     7      enable the operator to determine what are the
   8     Q. Okay, you think that comes under --                        8      controlling factors of gas coning, and how are those
   9     A. -- does it have any unusual or particular attributes       9      affected by the range of parameters that we might
  10       that should have been taken into account? The fact that     10     encounter. Now --
  11       it's -- I mean, with respect to my colleagues over there    11   Q. Sorry, if I can stop you there. That's a different
  12       or -- they are not reservoir engineers --                   12     point, isn't it? I'm not asking about the coning study
  13     Q. No.                                                        13     about critical range, what I am asking about is what
  14     A. -- and so -- however, certainly point 1 here would cover   14     caused the gas ingression into Oyo-5 --
  15       the view that you would have to look at the propensity      15   A. Well, that's --
  16       or the chance of gas coning in a reservoir like this.       16   Q. -- did it come through the cementing? Was it the result
  17       So if this reservoir was saturated so it's above the        17     of production?
  18       bubble point, there's no gas cap, it wouldn't be            18   A. Well, from a reservoir engineering point of view, it has
  19       an issue. But the fact as a reservoir engineer when you     19     to be investigated, and in terms of not following
  20       see that there is a gas cap present and it is sizeable,     20     internationally acceptable petroleum industry standards,
  21       you need to establish what the chances of gas coning are    21     I would imagine any prudent operator in their reservoir
  22       and what are the controlling factors over there.            22     engineering department would have done a study like
  23     Q. Okay. Well, we'll look at what you actually did in your    23     this. To not do so I think is a bit -- well, it's not
  24       report, and at the moment I am just talking about the       24     wise.
  25       first report that you served in these proceedings.          25   Q. Sorry, just to be clear, Dr Moy, are you now saying that

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  1        the breach of internationally accepted -- sorry,                   1   A. That maybe the reference to the field development plan.
  2        internationally acceptable Petroleum Industry Practices            2       But let's just have a quick look, if you've got the
  3        and Standards -- maybe we can just use the term "PIPS"             3       time.
  4        that I know some of the other experts in this                      4   Q. I am conscious that we are under a little bit of time
  5        arbitration have used.                                             5       pressure today --
  6          So are you saying, Dr Moy, that the breach of PIPS,              6   A. Okay, well --
  7        to use the acronym, was the fact that there was no                 7   Q. -- Dr Moy, as you're aware, but by all means take
  8        coning study?                                                      8       a quick flick and we'll see if we can find it quickly,
  9      A. If you're asking me whether one could go to a document            9       but if not I think we will move on.
  10       that says if you're an operator and you have a field              10   A. If it's not there, then it will be certainly related to
  11       like this you have to do a coning study, I don't think            11       that comment that I've made. Well, yes -- hold on,
  12       there is one, but it's fairly, or should be, common               12       let's have a look here. Okay.
  13       knowledge that if you're a reservoir engineer and you             13   Q. Well, it's not --
  14       were looking at a field like this that this is one of             14   A. No, here it is.
  15       the things you would have to do.                                  15   Q. You've found it?
  16     Q. So if we look back at your paragraph 2.1.1.1, when you           16   A. 2115 at the bottom.
  17       say that, in your view, the gas breakthrough into Oyo-5           17   Q. 2115 --
  18       was caused by NAE not having followed PIPS, was -- you            18   A. "Yet at no point in the reservoir engineering section
  19       know, the breach that you're referring to there, the              19       describing the simulation work, nor in the resulting FDP
  20       alleged breach, is the absence of the coning study, is            20       is this mentioned, RC3 field development plan for the
  21       that what you're saying?                                          21       Oyo field April 2009."
  22     A. I can only really talk about the reservoir engineering           22   Q. Okay, so that's one brief reference in your executive
  23       side. And when I read the field development plan for              23       summary --
  24       Oyo -- the Oyo development, it was very deficient in the          24   A. Well, how many references would I need?
  25       reservoir engineering side, and there were very serious           25   Q. Well, you've gone into a lot more detail in the joint

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  1        omissions, both in the subsurface assessment and in the            1       report on this issue. But that's fine.
  2        reservoir engineering assessment. And so for me I was              2   A. Can I explain to the Tribunal why it was necessary to go
  3        really surprised that based on those documents a company           3       into detail?
  4        would go ahead and invest 150 million in a well and                4   THE CHAIRMAN: Briefly.
  5        develop a field without doing something a bit more                 5   A. Briefly. Okay. In the original report that's pretty
  6        robust, especially for a company like Eni, who have                6       much a passing comment. Mr Filippi elaborated a little
  7        thousands of people in their head office whose task                7       bit on that, saying that it was fit for purpose and
  8        purely every day is to look at the minutiae of these               8       a robust document. And we felt that -- I felt certainly
  9        technical problems.                                                9       that it was -- those -- that description certainly did
  10     Q. Yes, and that's something that you've devoted a section          10       not fit the document that I saw and, therefore, felt it
  11       of the joint report to. Do you discuss that in your               11       necessary to describe point by point the deficiencies in
  12       original report?                                                  12       that document.
  13     A. Yes, I do, actually. I mention the field development             13   MS WILFORD: Okay.
  14       plan. I mention that I think it's deficient. I --                 14   A. In the joint report.
  15     Q. Can you point me to that reference?                              15   Q. Okay. Let's move on. We discussed the three things
  16     A. Well, I can, but I would probably need a bit of time to          16       that Stephenson Harwood asked you to do in your initial
  17       find it.                                                          17       instructions, and I am going to take those out of
  18     Q. I am happy to give you a couple of minutes. Because              18       sequence, and the one I would like to talk about first,
  19       from what I can see, you say in your executive summary,           19       and I think we can probably deal with it quite briefly,
  20       and this is still paragraph 2.1.1.1, that:                        20       is the third point that Stephenson Harwood asked you to
  21         "Reservoir engineering work that has been reported              21       address, and that's the one about what effect did the
  22       and of which I am aware appears to be of a particularly           22       difficulties with reinjecting gas have on the reservoir
  23       low standard."                                                    23       pressure of the Oyo reservoir.
  24         But you don't seem to go on in your first report to             24   A. Mmm-hmm.
  25       explain why you think that is.                                    25   Q. Now, the section in which you deal with this in your

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   1       first report starts on internal page 45 of the report,      1    MR GUNNING: I think it has gone. I think that may be
   2       if you could turn to that. That's page 166 of the           2      a question for us, and I think -- sorry.
   3       bundle.                                                     3    THE CHAIRMAN: I just --
   4     A. Yes.                                                       4    MR GUNNING: Yes, sorry. I'm sorry, I didn't mean to --
   5     Q. So if we look at paragraph 4.3.2.6, you note the fact      5    THE CHAIRMAN: I thought that Dr Moy would be in a position
   6       that the initial reservoir pressure measured in Oyo-5       6      to tell me, but I think if you've answered it -- have
   7       before production from Oyo-5 started was in the region      7      the lawyers answered it?
   8       of 3,000 psia.                                              8    MR NESBITT: It's a point that we make in our pre-hearing
   9     A. Correct.                                                   9      submissions that there is no quantified and never has
  10     Q. Yes. And I don't think that's in dispute that it was       10     been any quantified claim relating to a drop in
  11       around that figure.                                         11     reservoir pressure. So I think the purpose of this line
  12          However, what you don't seem to do anywhere in this      12     of questioning is just to -- although Dr Moy alludes to
  13       section, Dr Moy, is to put forward a figure for what you    13     it, there is -- nothing comes out of it, it is
  14       say the reservoir pressure was at the end of NAE's          14     irrelevant.
  15       period of operatorship of the field. So if I can put it     15   THE CHAIRMAN: Because it got my scientific interest as to
  16       another way, what you don't seem to do anywhere is to       16     whether it had an effect on the reservoir, but if
  17       put a figure on what you say the loss of reservoir          17     nothing comes from it --
  18       pressure was due to NAE supposedly not having reinjected    18   MS WILFORD: Exactly, sir, and that's why I said I thought
  19       enough gas into the reservoir.                              19     we could probably deal with this line of questioning
  20     A. Mmm-hmm.                                                   20     briefly, which I think we can.
  21     Q. Okay?                                                      21   MR GUNNING: I ought to confirm nothing comes out of it.
  22     A. Mmm-hmm.                                                   22     Mr Nesbitt is right.
  23     Q. You accept that's correct, you don't --                    23   MS WILFORD: Very good. So we're all on the same page about
  24     A. It's -- that's not expressly in the report, so --          24     that.
  25     Q. Yes, okay. So there is, therefore, no evidence in your     25       One last point on gas flaring before we move on from

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   1       report and no evidence before the Tribunal that there        1     this section of your report, could you turn on page 165
   2       was any such drop in reservoir pressure that was             2     of the bundle, that's internal page 44 of your report,
   3       attributable to NAE having flared gas rather than            3     to paragraph 4.3.2.4. There you say:
   4       reinjected it. And the reason I mention this, Dr Moy,        4         "Oyo-4 injection ceased on 2 June 2013 due to
   5       is that when you come to run your "but for" forecasts of     5     problems with the injection valve on its subsea well
   6       production from the well that would have occurred in the     6     head and have not been resumed."
   7       "but for" world, you assume at that stage, don't you,        7         And you also represent this diagrammatically in the
   8       historical gas reinjection rates?                            8     following figure 4.16.
   9     A. I do, yes.                                                  9         So just to confirm what that means, Dr Moy, isn't
  10     Q. Okay. Fine. So just to follow on from that, so when        10     it, that after Allied and their affiliates took over the
  11       you're running your "but for" forecasts you are not         11     operatorship of the Oyo field they only continued to
  12       assuming that anything different would have happened in     12     reinject gas up until June 2013 and then it stopped?
  13       relation to reservoir pressure that was actually the        13   A. Well, it wasn't their choice --
  14       case?                                                       14   Q. I'm not --
  15     A. That's the case. I've used -- well, the pressure is        15   A. -- if they had a mechanical failure on the well head
  16       simulated based on what comes out of the reservoir and      16     valve.
  17       what goes back in.                                          17   Q. I understand that.
  18     Q. Okay. Could you turn back --                               18   A. So, yes, obviously that didn't happen while they were
  19     THE CHAIRMAN: Excuse me --                                    19     operator.
  20     MS WILFORD: Sorry.                                            20   Q. So they suffered, if I can put it this way, mechanical
  21     THE CHAIRMAN: -- as far as I've understood it, one point in   21     issues that stopped them from reinjecting the gas?
  22       the proceedings I understood there was an issue about       22   A. Yes, 300 metres below the sea surface.
  23       the damage to the reservoir from the failure to reinject    23   Q. Yes. But -- okay. So where it leaves I think, Dr Moy,
  24       the gas. Is that still an issue or has that                 24     this is quite a short point, is that since that date,
  25       disappeared?                                                25     since June 2013, other than very small quantities of gas

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   1       that might have been used as fuel, the operator of the     1      structure and petrophysical characteristics are typical
   2       Oyo field, which is -- I forget exactly which entity,      2      of those of other channel sand."
   3       I think it seems to a change a little bit, but the         3    A. Yes.
   4       respondents and their affiliates have flared all of the    4    Q. And I don't think you point out in this section anywhere
   5       gas that has been produced from the field as far as        5      the existence of dipping beds in the reservoir?
   6       we're aware?                                               6    A. No.
   7     A. My understanding is that produced gas, apart, as you      7    Q. No. So you didn't identify those when you were asked to
   8       point out fuel, has to go somewhere and, therefore, as     8      give your initial assessment of the Oyo reservoir?
   9       far as I'm aware, it is being flared.                      9    A. No.
  10     Q. Okay. Very good.                                          10   Q. And there is -- in fact I think I understand, Dr Moy,
  11          That was all I wanted to say on gas flaring and         11     it's the case, isn't it, that the model you've used
  12       reservoir pressure.                                        12     doesn't actually include the dipping beds?
  13          So if we could move on to the first instruction that    13   A. I think we saw yesterday that none of the models have
  14       Stephenson Harwood gave you, which was to give your        14     dipping beds.
  15       assessment of the Oyo reservoir. If we could turn to       15   Q. But the one you used didn't.
  16       where you deal with this in your report, this is           16   A. The D&M model does not have dipping beds, no.
  17       section 4 of your initial report, which starts on          17   Q. There is also discussion anywhere in this section 4 of
  18       internal page 14 or page 135 of the bundle.                18     your report about any sealing faults?
  19          So as I said, you were asked to give your assessment    19   A. No.
  20       of the reservoir, and in particular what you were asked    20   Q. Okay. So --
  21       to do was to give your assessment of:                      21   A. I would add that to some extent my -- it's not mentioned
  22          "Whether the reservoir has any unusual or particular    22     in here, but it's part of the model that D&M sent that
  23       attributes that should have been taken into account in     23     the fault is sealing in the model. I had some of that
  24       the drilling and production from Oyo-5?"                   24     data related to the west of the field and I concentrated
  25     A. Yes.                                                      25     on looking at the western side. At the time, this issue

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   1     Q. And you sort of go into this over four pages. But if      1      about whether that fault sealing was not really in my
   2       I can summarise, it seems to me that your answer is        2      mind as an issue as it's become apparent it actually --
   3       effectively "No, there aren't any particular attributes    3    Q. Well, exactly, and that was simply my point, that at the
   4       that should have been taken into account", isn't it,       4      time when you were preparing your first report in these
   5       because you essentially say this is a typical Nigerian     5      proceedings you didn't think that the sealing fault was
   6       reservoir?                                                 6      of such significance that you needed to mention it in
   7     A. Well, does that mean that one should not, therefore,      7      your assessment of the reservoir?
   8       understand it to a particular standard?                    8    A. It was sealing.
   9     Q. I'm not saying that.                                      9    Q. But you haven't mentioned it is all I am saying.
  10     A. So, for example, okay, it's a gas cap reservoir. You      10   A. Okay, I haven't mentioned it.
  11       have an indication of permeability. You've got well        11   Q. Okay. So your position in the first report that you
  12       data, log data. To then go to the next step you need to    12     submitted, Dr Moy, seems to be essentially there were no
  13       understand how that field may perform. So in that          13     particular features of the reservoir that NAE or Eni
  14       sense, it's quite normal and comparable with similar       14     should have taken into account in the drilling and
  15       reservoirs with a gas cap. That does not mean to say       15     production of Oyo-5. You certainly don't identify any?
  16       that you, therefore -- there is a formula to develop it    16   A. That doesn't mean to say they shouldn't have done their
  17       in the field that allows you to drill these wells          17     studies and their homework. Okay. What kind of
  18       without doing the appropriate studies.                     18     features -- we've seen that coning is -- it occurs even
  19     Q. But just going back to what you've said in your report,   19     if your reservoir is completely uniform. It doesn't
  20       and maybe it would help if I took you to your              20     need dipping beds invoked to bring gas down into the
  21       conclusion, which is at paragraph 4.1.3.1, and your        21     well. It doesn't need a sealing fault down the middle.
  22       conclusion was:                                            22        It does need a prudent operator to do the
  23          "In my view, based on the geological and seismic        23     appropriate studies to determine based on the
  24       data available, the Oyo field is typical of high quality   24     uncertainties that are clearly apparent in the
  25       channel sand reservoirs found elsewhere in Nigeria. The    25     petrophysical properties of the reservoir to do these

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   1       kinds of studies. So, for example, although it is          1         Like. You say:
   2       uncertain as to the permeability range, we have a range,   2         "The Oyo field does not discuss the presence of
   3       we don't know exactly what the permeability is, the fact   3      steeply dipping beds within the reservoir or consider
   4       that you are getting potentially gas breakthrough at       4      the potential implications for the dynamic behaviour of
   5       30 days would immediately flag up the point that there     5      the field."
   6       is no way you can bring on a well in this reservoir of     6         Yes.
   7       15,000 barrels of oil a day.                               7    Q. This is all new in the joint report, isn't it, Dr Moy?
   8     Q. I am just talking about the features of the reservoir     8      In your first report your view was essentially:
   9       for now. Okay?                                             9         "There are no particularly significant features of
  10     A. Okay.                                                     10     the reservoir that Eni should have taken into account."
  11     Q. So what I would like to do next is compare what you've    11        And in the joint report you have suddenly identified
  12       said in your initial report with what you say on this      12     these dipping beds?
  13       issue in the joint report. So if you could turn to         13   A. I haven't suddenly identified them. I've become aware
  14       bundle E3, tab 5 --                                        14     of the data that was present from the Oyo-1 core. It
  15     A. Right.                                                    15     was present in 1996. Considering that Eni have many,
  16     Q. -- and then if you could turn to page 136 of the bundle   16     many professionals looking at this, the fact that they
  17       which is internal page 21. Now what, as I'm sure you'll    17     just ignored this data and that their model in both 2008
  18       recognise, Dr Moy, this table is a summary of the issues   18     and 2010 does not have dipping beds, they've made no
  19       that Mr Filippi set out at the time you were preparing     19     attempt into corporate any of this data. In fact, data
  20       your joint report of the issues that he saw as being in    20     from the second sidetrack -- there are two sidetracks in
  21       dispute and you've both give your view as to what the      21     Oyo-1 -- was completely ignored by Eni, even though they
  22       answer is to each of these issues, and the one I am        22     are 2 or 3 metres apart. So in retrospect perhaps
  23       interested in at the moment is item 6 in the table,        23     I should have included a discussion on the dipping beds
  24       which is the question:                                     24     in my first report.
  25          "Was the gas ingression in Oyo-5 the result of          25   Q. But you didn't.

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   1       reservoir characteristics?"                                 1   A. I didn't.
   2     A. Yes.                                                       2   Q. Okay.
   3     Q. What you say there is:                                     3   A. But it doesn't mean to say that the data doesn't exist.
   4          "I believe it was a combination of reservoir             4     It is important, I suppose, and it was known in 1996.
   5       characteristics and poor production management. The         5   Q. But you didn't pick up on it at the time of your first
   6       reservoir characteristics (steeply dipping beds with        6     report because you --
   7       fine scale sand and shale features) were known about in     7   A. I wasn't -- I wasn't aware of it until later, when I was
   8       1996 from Oyo-1 data. The lower than expected               8     looking through.
   9       permeability which can control the onset of coning          9   Q. Okay. So what you seem to be doing here in the joint
  10       should have been apparent from the Oyo-5 well test.        10     report is you seem to be putting forward, if I can put
  11       None of these were incorporated into Eni thinking and      11     it this way, a theory to explain the cause of the gas
  12       planning."                                                 12     ingression, which is that Eni didn't do sufficient
  13          And I think that's essentially the point you were       13     subsurface work before commencing production from the
  14       trying to make just now, Dr Moy, about, you know, in       14     well?
  15       your view Eni should have carried out more studies         15   A. I would have thought that that's fairly apparent that
  16       before going ahead and producing the well?                 16     they didn't. I mean, it doesn't take very long to set
  17     A. Yes.                                                      17     up a model to do a coning study. That, as I said,
  18     Q. Yes. Okay. So there you've identified these steeply       18     assumes a constant uniform permeability irrespective of
  19       dipping beds with fine scale sand and shale features as    19     dipping beds. You could add those in as a sensitivity.
  20       a relevant feature of the reservoir. And then if we        20   Q. But, again, that doesn't feature in your first report,
  21       could turn on a few pages to page 156 of the bundle,       21     other than the brief references that we mentioned
  22       that's in bundle page 41 of the joint report, you          22     earlier.
  23       discuss these in a bit more detail, and you sort of        23   A. I've mentioned in my first report the importance of
  24       follow the same line of criticising Eni for not having     24     doing a coning study using a fine grid model. I haven't
  25       taken these beds into account earlier, if you.             25     elaborated on that. I think it is mentioned in one of

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   1       two paragraphs in passing?                                  1      a robust model, then the projection may not be so
   2     Q. Okay. So just to be clear, the theory that you -- if       2      accurate."
   3       I can put it that way -- the theory that you're             3        Would you agree with that?
   4       advancing for the first time in your joint report is        4    A. Yes, within the uncertainties of modelling and the
   5       that the field development plan prepared by Eni's           5      limitations of reservoir simulation, yes.
   6       reservoir team in 2008 did not take into account these      6    Q. Yes. Yes. Absolutely. So, I mean, in fact you were
   7       particular features of the reservoir, namely these          7      here yesterday when Mr Gunning's questions towards
   8       steeply dipping beds.                                       8      Mr Filippi were directed at an attempt to discredit
   9     A. I think I am advancing the idea that they didn't do        9      Mr Filippi's model because of lack of robustness of that
  10       their homework sufficiently, and I have mentioned that      10     model. And that goes to that point, doesn't it, that if
  11       in the first report, whether they are steeply dipping       11     the model isn't sufficiently accurate, the projections
  12       beds or not it is quite clear that the technical work       12     resulting from it won't be reliable either?
  13       that they carried out was substandard and insufficient.     13   A. Well, there are differences; okay? So one would hope
  14     Q. Are you aware, Dr Moy, that there is no pleaded claim in   14     that structurally a model represents what you see in the
  15       this arbitration that this supposed lack of Eni's           15     seismic. So the dipping beds issue might be one or from
  16       reservoir team having done sufficient homework that this    16     the core. There is information from the logs. So what
  17       is in any way a breach of practices and standards?          17     do I mean by that? In particular porosity and water
  18     A. I am just giving my professional view as a reservoir       18     saturation. Quantities that are measured directly
  19       engineer.                                                   19     should be honoured in the model. There are other
  20     Q. Okay. So this is just your professional view as            20     parameters for which you don't -- you can't measure that
  21       a reservoir engineer. Fine.                                 21     directly in the well, so rel perm information, which can
  22          Let's move on to another topic, which we're going to     22     only be done from core samples, and permeability, which
  23       take rather more time on, which is your reservoir model     23     you can measure in a little core, core plugs, and you
  24       that you used. And when I say "yours", just to be clear     24     can determine permeability over a wider scale from
  25       on the terminology, we'll talk about this a bit, but        25     a well test, but we've seen that there is a range of

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   1       obviously you received this model from -- it was             1     uncertainties in the perm. But, yes --
   2       originally created by DeGolyer and MacNaughton --            2   Q. I don't think anybody would deny that reservoir
   3     A. That's correct, yes.                                        3     modelling is inherently dealing with uncertainties,
   4     Q. -- who I think, just by way of shorthand, we can happily    4     because what you're dealing with is something that's
   5       refer to as D&M. We've heard DeGolyer and MacNaughton        5     happening a long way below the subsurface. I mean, I am
   6       quite a lot. And you used this model, subject to             6     sure you will recall Mr Filippi's diagram from his
   7       certain modifications, which we'll come on and discuss,      7     slides that demonstrated just, you know, how far below
   8       to run the forecasts of production from the Oyo field,       8     the subsurface these wells are.
   9       which, as we've discussed, you then passed to Mr Taylor      9   A. Yes.
  10       for him to use in his damages calculations.                 10   Q. And you are obviously working with whatever information
  11     A. That's correct.                                            11     you have available about the reservoir, aren't you, but
  12     Q. So I think you've obviously been here for quite a lot of   12     that's inevitably going to be limited?
  13       this hearing, Dr Moy, and I think you were here when        13   A. Oh yes.
  14       Mr Rotondi gave his evidence.                               14   Q. So you are inherently working with uncertainties.
  15     A. I was, yes.                                                15   A. That's true.
  16     Q. And do you recall that Mr Gunning asked Mr Rotondi the     16   Q. But isn't the point about the history match -- and I am
  17       question:                                                   17     sorry to labour this point a little bit, but the history
  18          "So if there are significant errors in the model,        18     match is really quite important, the concept of history
  19       that would upset the accuracy of the projections?"          19     match, the point about the history match is that you are
  20     A. Vaguely sounds familiar, yes.                              20     trying to, as best you can, with the model replicate
  21     Q. There's been a lot that has been said over the last two    21     what you know about the historical behaviour of the well
  22       weeks, so I entirely understand if you don't remember       22     as accurately as you can based on the available
  23       that particular question. But the response that             23     information?
  24       Mr Rotondi gave to that question was:                       24   A. One hopes to do that, yes.
  25          "This is always the case. If you don't have              25   Q. That's the aim. And, therefore, the more reliable the

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   1       model -- you know, put it -- the reliability of the                 1   Q. -- where you discuss the model that you used, and
   2       model is important particularly for forecasts because,              2     specifically I am looking at paragraph, if I can just
   3       would you agree with me, Dr Moy, if you can't reproduce             3     find it, 3.1.2.4, which is internal page 10 and page 131
   4       what has happened in the past in the model accurately,              4     of the bundle.
   5       then you won't be projecting the future accurately                  5        So what you say is that:
   6       either?                                                             6        "A number of Oyo simulation models were commissioned
   7     A. Yes.                                                               7     by the claimant Allied, Erin and partners. These
   8     Q. Yes? And I think it should also be uncontroversial that            8     represent an evolution in the understanding of the field
   9       the principal way in which you assess whether the model             9     and culminated in the 2014 D&M model."
  10       is reliable is by looking at the history match?                    10        And then you go on to describe this model, and you
  11     A. It's one of the ways, yes, of course.                             11     say that:
  12     Q. Yes. Okay. Fine. And that's something that Mr Filippi             12        "The D&M model can be considered to be the closest
  13       mentioned in his presentation yesterday and he showed              13     and most accurate representation of the field and as
  14       the Tribunal, and I know you disagree with the                     14     such should be the most appropriate tool for
  15       interpretation of the history match, but just to link              15     understanding the behaviour of the field and Oyo-5 in
  16       everything together for the benefit of the Tribunal,               16     particular."
  17       I am sure they will recall Mr Filippi's slides, which              17   A. That's right.
  18       set out the diagrams, and effectively you see how well             18   Q. And do you still stand by that statement?
  19       one line tracks another, one line being historical                 19   A. I do. In general, I do.
  20       performance and the other line being how well it is                20   Q. Okay. Do you know why -- do you know the background to
  21       matched by the simulation?                                         21     the D&M model, Dr Moy? Do you know why it was created?
  22     A. I saw that yesterday, yes.                                        22   A. I don't know.
  23     Q. Okay. So turning to the model that you used, Dr Moy.              23   Q. Okay. Well, what I would like to do is have a look at
  24       As we've discussed, it was a model that was built by               24     that and the way I would like to do that is having
  25       D&M?                                                               25     a look at the report prepared by D&M to accompany the

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  1      A. Yes.                                                               1     model, and that's in bundle G25 at tab 656.
  2      Q. So it's not a model that you built yourself.                       2   A.  Okay.
  3      A. Correct.                                                           3   Q.  I presume you've seen this document before, Dr Moy?
  4      Q. And, as I understand it, there have been various                   4   A.  I have, yes.
  5        different versions of the D&M model, and indeed you                 5   Q.  You have. So as we discussed a minute ago, it's the
  6        refer to more than one version in your report.                      6     report that D&M created accompanying the model, if you
  7      A. That's correct, yes.                                               7     like.
  8      Q. Okay. So I think I am right in saying, but I am sure               8   A. That's correct.
  9        you will correct me if I'm not, that the model that you             9   Q. So if you could turn to page 8 in the document.
  10       ultimately used is a sort of 2014 modification of                  10   A. Mmm-hmm.
  11       a model that was built in 2013 by D&M?                             11   Q. And this is their executive summary. So what D&M say
  12     A. I believe that's the case. Two vintages, I suppose, of            12     when they are introducing this report, they are saying:
  13       model. The one we received initially essentially the               13         "This report documents the results of the
  14       same structure but it didn't have -- although it had               14     geophysical, petrophysical, geological and engineering
  15       Oyo-7 and Oyo-8 in, they weren't the final locations.              15     studies of the Oyo central field in Nigeria. The
  16       They had been put into the model before those wells were           16     purpose of this study was to estimate the OOIP [which is
  17       drilled. And then we received a later version, which               17     original oil in place] and OGIP [original gas in place]
  18       was updated with the actual well locations and had been            18     volumes and recommend a development plan for the Oyo
  19       matched to the production -- had the history --                    19     central field using FFRM [which I understand stands for
  20       historical production from Oyo-7 and 8 in it.                      20     full field reservoir model]."
  21     Q. Okay.                                                             21         So as Mr Filippi described, I think yesterday, what
  22     A. And that was probably from about 2014.                            22     D&M were doing in 2013/2014 was to create a model that
  23     Q. If I could ask you to turn back to your first report,             23     had an eye to the future, wasn't it? They were looking
  24       Dr Moy, in bundle E2, tab 2 --                                     24     at sort of future development options for the Oyo
  25     A. Yes.                                                              25     central field?

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   1     A. Yes.                                                                1       missing D&M would be aware of it. And it's very
   2     Q. Yes. Okay. And so they weren't really looking back in               2       difficult to falsify this raw data, apart from not
   3       time at what had happened in Oyo-5.                                  3       giving it. So if a well has been drilled and there is
   4     A. Well, that would be difficult to do the forward-looking             4       no log data, then that would be a flag to the person
   5       unless you had a good understanding of what had happened             5       doing the modelling that something was missing. But it
   6       in the past.                                                         6       would be very rare to give a data set that gave a skewed
   7     Q. Well, we'll come on to what they did in relation to                 7       view because you're dealing with raw data, whether
   8       Oyo-5, but the point I am trying to make, Dr Moy, is                 8       that's log or seismic.
   9       that when D&M were producing this model they seem to                 9   MS WILFORD: Mr Chairman, I am not quite sure where we are
  10       have made certain assumptions about what happened in                10       with timings, given the earlier start today, but I don't
  11       Oyo-5. Would you agree with that?                                   11       know whether now would be an appropriate time to break
  12     A. I don't know what assumptions you mean.                            12       or whether you would rather that I continued a little
  13     Q. Okay. Well, let's have a look at them. So if you could             13       while before we break?
  14       go back a page to page 7 --                                         14   THE CHAIRMAN: No, I think now would be quite an appropriate
  15     A. Yes.                                                               15       time to break. Shall we take 15 minutes, and that,
  16     Q. -- so obviously this is the introductory wording to this           16       according to my calculation, gets us back at 11.10 am.
  17       report, and what D&M say is that they prepared this                 17       Is that about right? Okay.
  18       reservoir study at the request of CAMAC Energy.                     18         Dr Moy, you're not to discuss your testimony with
  19     A. Yes.                                                               19       anyone during the break but you may have refreshments.
  20     Q. And then under the heading "Source of information" what            20   A. Thanks.
  21       D&M say is:                                                         21   (10.51 am)
  22          "Information used in the preparation of this report              22                   (A short break)
  23       was obtained from CAMAC Energy Inc [defined as CAMAC].              23   (11.15 am)
  24       DeGolyer and MacNaughton consulted freely with the                  24   MR NESBITT: Yes, Mr Chairman, with the Tribunal's
  25       officers and employees of CAMAC and were given access to            25       indulgence I am going to relieve Ms Wilford from now on,


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  1        such accounts, records, geological and engineering                   1     if that's acceptable.
  2        reports and other data as were requested for                         2   THE CHAIRMAN: Absolutely.
  3        examination. All information furnished by CAMAC was                  3             Cross-examination by MR NESBITT
  4        accepted as represented."                                            4   MR NESBITT: Thank you.
  5      A. Right.                                                              5        Dr Moy, just before the break Ms Wilford had taken
  6      Q. So how I read that -- and this is probably my lawyer's              6     you to the report which -- the February 2014 report by
  7        reading, Dr Moy, and I'm sure you'll tell me if it                   7     D&M, which you should hopefully still have open in front
  8        disagrees from your engineering point of view -- is that             8     of you at tab 656.
  9        if CAMAC when commissioning this report had told D&M                 9   A. I do, yes.
  10       something, D&M are representing that it is correct. D&M             10   Q. And Ms Wilford had directed you to the wording which
  11       are just saying here "We are relying on the information             11     indicated that all of the information that had been
  12       that has been given to us by CAMAC"?                                12     provided by CAMAC for the purposes of D&M preparing the
  13     A. That's usual -- the usual practice for a consultancy               13     report was "accepted as represented", is the phrase, and
  14       that is building a simulation of a field. The company               14     I think you've suggested that that was quite usual.
  15       commissioning the modelling would give the data to the              15   A. Mmm-hmm.
  16       company that's doing the modelling and, of course, there            16   Q. Related to that, if you turn to page 9 of the document,
  17       is an implicit understanding that they are giving them              17     it is page 9 of the bundle, page 4 of the document, the
  18       truthful data. But I would imagine that for                         18     final paragraph on that page refers to the early gas
  19       an experienced company like D&M you would expect to have            19     breakthrough, about halfway through:
  20       certain things. So you would expect to have the seismic             20         "Production performance showed early and significant
  21       cube with the data that you could look, potentially                 21     gas breakthrough and increased water cut, all of which
  22       seismic interpretation that had been done that you could            22     curtailed the oil productivity of the well."
  23       check so that your structure that it was correct,                   23         Referring to Oyo-5. Do you see that?
  24       certainly all the well trajectories, all the well log               24   A. I do, yes.
  25       information. So certainly if there was something                    25   Q. And D&M then go on to say:

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   1          "The likely reasons for such performance could be         1   Q. But Mr Filippi had no difficulty in doing it.
   2       mechanical problems, such as poor cementation, as well       2   A. Well, I can't -- we've seen some of the issues yesterday
   3       as local gas cusping and water coning. To minimise           3     with the Filippi model and, you know, it is -- you can
   4       these efforts better production practices are                4     build a model in a month but whether it's a true
   5       recommended for future development wells. Such               5     representation of the reservoir is a different issue.
   6       practices could include better cementation, the use of       6   Q. So you side with all of the attempts that Mr Gunning
   7       inflow control devices and more conservative drawdown        7     made to undermine the robustness and reliability of
   8       for the producers."                                          8     Mr Filippi's model yesterday, seems to be what you're
   9          So this shows, doesn't it, that D&M were simply           9     saying.
  10       indicating -- sorry, accepting the indication given to      10   A. I think all the issues that were presented yesterday are
  11       them by CAMAC that the early gas ingression into Oyo-5      11     genuine and certainly issues which I felt weren't
  12       was in some way attributable to these features?             12     properly answered yesterday.
  13     A. Why would they make that conclusion? I don't --            13   Q. Well, going back to --
  14     Q. Sorry, why would who make that conclusion?                 14   A. I mean, let's put this in context here. The issue about
  15     A. Sorry, I don't want to seem difficult, but if you were     15     the log porosity and the semantic discussion between
  16       looking at a reservoir like this and you had an issue       16     pore volume and porosity, it isn't rocket science how
  17       with a well that was particularly gassy, you would, as      17     the two are related. It seems you have a well, you've
  18       an engineer anyway, look at these options, certainly the    18     measured on the log the porosity, and your model -- that
  19       gas cusping. You would need to -- so the fact that          19     well is located in a grid cell, and to convert from
  20       they've mentioned it does not imply that it's a piece of    20     porosity to pore volume you take the volume of the grid,
  21       information that CAMAC have told them to put in here.       21     the cell, and you multiply it by the porosity. It is
  22     Q. Have you read this report?                                 22     a simple relation. It isn't rocket science.
  23     A. I have, yes.                                               23        So why would one take log data and apply a global
  24     Q. And is there anything in it to indicate that they          24     reduction factor to a property that is measured in the
  25       actively investigated the cause of the gas incursion?       25     well and a property which the variability over the field

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   1     A. No, there is nothing. They haven't -- the model that is     1     for porosity is nowhere near as great as anywhere that
   2       described here is the one that I have used. D&M did not      2     you would find for permeability. And with permeability
   3       take a -- part of that model and refine the grid to          3     you have issues of scale that affects the
   4       investigate the sensitivity of coning.                       4     permeability -- effective permeability. Porosity that
   5     Q. So I think we've established, you didn't build -- unlike    5     isn't the case. The variability is much less as you
   6       Mr Filippi, you didn't build your own model, you used        6     go -- well, there isn't the same variability along the
   7       the D&M model --                                             7     well as there is into the reservoir.
   8     A. I did, that's right.                                        8   Q. Well, I can see that you're very anxious to take the
   9     Q. -- and you adapted it, for want of a better word.           9     opportunity to attempt to rebut the very satisfactory
  10     A. Mmm-hmm.                                                   10     answer that Mr Filippi gave yesterday --
  11     Q. Were you happy to use that model?                          11   A. I would prefer to describe it as a clarification for the
  12     A. I considered that it was the best option in the            12     benefit of the Tribunal.
  13       circumstances.                                              13   Q. -- but if we could return to your report and your model.
  14     Q. Did you consider building your own model?                  14   A. Sure.
  15     A. To build a model properly is a task which takes            15   Q. One of the things you mention on -- it's page 180 of
  16       a considerable amount of time. You have to look at the      16     your original report as amended, if I can call it that,
  17       seismic, check the interpretation, the surfaces, look at    17     at paragraph 6.2.4.1. This is the section of your
  18       the well logs, consider how you're going to build that      18     report where you discuss what you call --
  19       and populate the grid cells, and what would be the best     19   A. Sorry, which page?
  20       way of doing that. Then are you going to upscale? How       20   Q. Page 180 in the bundle.
  21       are you going to run the model? That task can take          21   THE CHAIRMAN: That's paragraph 6.4?
  22       certainly more town month to do it properly.                22   MR NESBITT: 6.2.4.1.
  23     Q. And you didn't feel you were up to doing it in the time    23   THE CHAIRMAN: Thank you.
  24       available?                                                  24   MR NESBITT: I am sorry, the paragraph numbering is such
  25     A. We could have done it but not in the time available.       25     a mouthful.

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   1          This is the part of your report where you discuss        1   A. Well, we looked at this. We didn't have -- we didn't
   2       what you call the additional structure above the T1A        2     have --
   3       reservoir --                                                3   Q. Sorry, you looked at it after your original report or at
   4     A. That's correct.                                            4     the time you wrote it?
   5     Q. -- as represented in the 2014 D&M model. If I have         5   A. No, no, in here, the point of -- when we were writing
   6       understood correctly, that additional structure is          6     this, because when we received the model we were aware
   7       a series of additional cells in the model that you were     7     of these structures above the T1A reservoir and I made
   8       given that represent gas volumes.                           8     enquiries with Allied about what they represented, and
   9     A. They represent gas field sands in a shale matrix that      9     we needed clarification. We didn't -- and we actually
  10       sits above the top surface that defines the T1A            10     never received a depth-corrected seismic, but it was
  11       reservoir, and I should say a conformable surface above    11     clear, looking at what we had, that the structures in
  12       that defined by Eni and themselves. So it's basically      12     this model, these gas chimneys, appeared to be
  13       shale-filled. Remember, the channel complex is sand        13     coincident with these glowing sands that were situated
  14       body encased in shale, and what we have here is a series   14     in the shale matrix above the reservoir, and that was
  15       of sands in the shale matrix just above the T1A            15     the explanation that Allied gave us to and we were
  16       reservoir, and in the seismic they basically appear        16     happy, in the time that we had, to accept that. And in
  17       bright because some of them are gas-filled.                17     retrospect, looking at how the results of the material
  18     Q. But the effect of adding those cells to the model is      18     balance have turned out, it seems that actually these
  19       significantly to increase the model size of the gas cap;   19     sands are connected in some dynamic way and are
  20       right?                                                     20     necessary in order to balance the observed depletion.
  21     A. What it will do is -- clearly, although it's not          21   Q. This is an explanation you received after you'd done
  22       reported by D&M in their report, I think they probably     22     your original report, before you did your joint report?
  23       had the same issues that Mr Filippi had, in terms of the   23   A. No, I believe it's referenced in my first report.
  24       match. Additional volumes of gas are needed and it may     24   Q. I haven't seen it referenced in your first report, but
  25       well be that these sands are connected in some way with    25     I have seen it referenced in your joint report, if we're

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   1       the reservoir.                                             1      talking about the same thing.
   2     Q. Sorry, when you say "additional volumes of gas are        2    A. Well, if you don't mind --
   3       needed", what do you mean?                                 3    Q. Because --
   4     A. Well, the material balance -- the figures that            4    A. -- I would --
   5       Mr Filippi has come up with -- I agree with, in terms of   5    Q. Sorry.
   6       what they represent for the western side of the Oyo        6    A. May I find it?
   7       field. In order to match the pressure data it was clear    7    Q. Because -- sure. While you are doing that, though, it
   8       that -- and material balance doesn't give you any          8      does seem that in your original report you're continuing
   9       indication of where these volumes are located or the       9      to express uncertainty about these extra cells, because
  10       shape or the distribution, it just gives you a volume.     10     you finish that section of your report, you say at
  11       So it's clear that additional gas seemed to be needed in   11     page 181:
  12       order to match the data -- to match the pressure data.     12        "In conclusion, it seems likely that the bright
  13     Q. Well, sorry, can I just stop you there for a second,      13     amplitudes in sequence 4 ..."
  14       trying to sort of cut to the chase --                      14        Which is what you refer to these, as I believe:
  15     A. Yes.                                                      15        "... do represent gas-bearing rock out but it is far
  16     Q. -- at paragraph 6.2.4.3 you say:                          16     from certain that these are thick blocky sands or that
  17          "The basis of the model attributes are not              17     they are in dynamic communication with the main T1A
  18       documented and cannot be determined from the available     18     sands."
  19       Petrel(?) project, hence the exact provenance of the       19   A. Yes.
  20       model properties cannot be verified."                      20   Q. So you seem to have a lot of question marks over it,
  21     A. Right.                                                    21     even in your original report.
  22     Q. So what you seem to be saying there, at least at the      22   A. No, not particularly. May I --
  23       time of writing your original report, is that you          23   THE CHAIRMAN: Excuse me, you wanted to refer to something.
  24       weren't convinced that the additional gas cells were       24     Would you like to refer to it?
  25       appropriate?                                               25   A. I did indeed. I would like the opportunity to try and

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  1        find the reference to the email.                                    1     than a month to do a proper job, incorporating all the
  2      THE CHAIRMAN: If you know where it is, then --                        2     data, seismic, well logs, upscaling if required. To do
  3      A. I know it is in here somewhere, as they say.                       3     a good job is more than a month.
  4      THE CHAIRMAN: If it is going to take too long, we might               4   Q. If we turn to the earliest email in the chain, which
  5        give you chance during the lunch break to check it.                 5     starts on page 94. This is an email from you to
  6      A. Okay.                                                              6     Mr Omidele --
  7      MR NESBITT: It might be more productive if we look at the             7   A. Yes.
  8        email itself, Mr Chairman.                                          8   Q. -- in which you say:
  9      A. If you've got it there --                                          9        "Thank you for the points made during the conference
  10     THE CHAIRMAN: I thought the issue was whether something was          10     call. Please feel free to add your comments in
  11       referred to in the expert report, in the first report.             11     a supplementary information directly to the Word
  12     MR NESBITT: It's an email that Dr Moy relies upon in                 12     document version of my report and I will take a look on
  13       support of his conclusions in his joint report, but                13     Monday.
  14       I had not seen it referred to in the original report,              14        "Concerning the most recent D&M model, I have taken
  15       but apparently that is wrong. But perhaps rather than              15     the liberty to attach some screenshots, as a verbal
  16       waiting for Dr Moy to turn every page --                           16     description is difficult. We ran the model as received
  17     A. Okay. I would like the opportunity to find this email             17     from Toyin [this is Ms Badru, I guess] and made the
  18       in the coffee break, because it is certainly referred to           18     following observations:
  19       in my first report.                                                19        "The model ran only to 11 January 2010. After
  20     THE CHAIRMAN: Very good.                                             20     several hours there were major convergence issues which
  21     A. So we can continue.                                               21     do not appear to have been fully addressed by the
  22     MR NESBITT: Well, we can go to the email. It is                      22     constructors. The grid appeared to have additional
  23       bundle F39, tab 12. This is what you refer to as                   23     active cells which were filled with gas above the
  24       an email from Allied, although it appears to be largely            24     gas-oil contact or water ... Those filled with gas
  25       an exchange between yourself and a Mr or Ms --                     25     raised the initial gas in place from 62 bcf (previous

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   1      A. Ms --                                                             1       model and accepted GIIP volume) to 155 bcf."
   2      Q. -- Badru --                                                       2   A. Yes.
   3      A. -- Toyin Badru.                                                   3   Q. "Investigations showed that these were pressure
   4      Q. -- at Erin Energy. Ms. Who is she?                                4       connected to the rest of the reservoir."
   5      A. She is the reservoir engineer. I've not met her. I've             5   A. Yes.
   6        spoken briefly once, a conference call, but we                     6   Q. And you then say:
   7        communicate by email.                                              7         "I am very willing to take a fresh look at the
   8      Q. So this is what you rely on in your joint report in               8       model. However, it needs to have correct in-place
   9        support of the inclusion of the extra gas cells in the             9       volumes and look correct, run in an acceptable time ..."
  10        model?                                                            10         And then at the end:
  11      A. Yes.                                                             11         "As Shai indicated, it would be best to stick with
  12      Q. Okay. So if we look at the top of the email chain on             12       2013 D&M unless the above points can be rapidly
  13        page 92, this was 11 January 2016. So that was about              13       addressed."
  14        a month and a half before you served your first report.           14   A. Yes.
  15      A. Mmm-hmm.                                                         15   Q. So, I mean, certainly to me in this email you appear to
  16      Q. So you didn't have time to build your own model. You             16       be expressing doubts about the reliability of the 2014
  17        were happy to use the D&M one? You said it would take             17       model; no?
  18        about a month to build your own model.                            18   A. No -- well, not particularly --
  19      A. No, I didn't say it would take a month. It takes a lot           19   Q. Not particularly.
  20        longer to build a proper model. Anyone can build                  20   A. -- and they are addressed subsequent to this email. The
  21        a model.                                                          21       one from Toyin addresses what those cells are and what
  22      Q. I think you did say month?                                       22       they represent. That was on 11 January. They sent
  23      A. No, I didn't.                                                    23       a model that did run without any convergence problems
  24      Q. Okay. We can check the transcript.                               24       and we were able to run it, although it did take a long
  25      A. Well, whatever I said, it certainly would take longer            25       time. The issue about the volumes of gas -- so if one

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   1       is looking at the Oyo central west, west of the fault,       1     these bright features that were seen above the T1A in
   2       within the T1A reservoir you have indeed 62 bcf of gas.      2     the seismic, just to get a warm feeling that actually,
   3       If you include the additional cells again on the western     3     yes, there could certainly be -- they are gas-filled,
   4       side of the fault, it gives you 155 bcf of gas.              4     they do exist, and we see them in the seismic. And
   5          In total, I should add, over the entire structure         5     I think that the two pieces of information here, the
   6       there's something like 227 bcf of gas in the entire          6     email and our look at the seismic, confirmed to my
   7       model.                                                       7     satisfaction that we could go ahead and use the model.
   8     Q. Well, it looks like in response to your initial concerns    8   Q. But you're happy to say that there is no inconsistency
   9       Erin Energy sent you a further version of the model.         9     between your position in your original report and in the
  10       That's at the top of page 94, where you say:                10     joint report in relation to the extra cells above the
  11          "Please send the model by FTP."                          11     T1A reservoir?
  12     A. Yes.                                                       12   A. There is no contradiction as far as I'm aware.
  13     Q. But then if you look at page 92, at the bottom of the      13   Q. No contradiction. Okay.
  14       page --                                                     14        Let's move on to talk about permeability. We are
  15     A. Yes.                                                       15     going back to your original report as amended at
  16     Q. -- which is a few emails further on, you say at point 2:   16     3.1.2.6. That's page 132.
  17          "There still appear to be gas chimneys resulting in      17   A. Okay.
  18       a gas initially in place of 227."                           18   Q. And you explained that the D&M model had a number of
  19     A. Sorry, which email? Sorry, I am lost.                      19     global and local permeability modifiers?
  20     Q. At the bottom of page 92.                                  20   A. Sorry, which -- have I got the right document here?
  21     A. Sorry. Go ahead, sorry.                                    21   Q. Your report.
  22     Q. Point 2 --                                                 22   A. Yes, which --
  23     A. Yes, certainly.                                            23   Q. Which report? The one at tab 2.
  24     Q. Point number 2:                                            24   A. Sorry. Oh, I think I have got the wrong file. Right,
  25          "There still appear to be gas chimneys resulting in      25     tab 2 and, sorry, what was the page?

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   1       a gas initially in place of 227. Again, this may be         1    Q. 132.
   2       based on a new G&G analysis, in which case please could     2    A. Okay.
   3       you forward any slides. Oyo-7 and 8 match in this most      3    Q. Okay. 3.1.2.6.
   4       recent model and are much improved. However I am not        4    A. Okay.
   5       comfortable using the model until point 2 is clarified."    5    Q. You explain that the D&M model had a number of global
   6     A. Exactly.                                                   6      and local modifiers applied to the grid cell properties,
   7     Q. So at that stage you're still a bit uncomfortable at       7      one of which related to permeability --
   8       using the model as a result of the gas chimneys?            8    A. That's correct.
   9     A. Yes, certainly, and that was on 10 January. On I think     9    Q. -- and that was in order to achieve a history match?
  10       it was the 11th, that email from Toyin, which for we        10   A. Yes. The permeabilities in the geomodel were very high.
  11       satisfied -- I have to take it on trust that she's          11     We assumed, therefore, that they had been populated
  12       telling me the truth that -- and she's given me             12     based on the pore data.
  13       an explanation for those, and I accepted that.              13   Q. And I think you were here on Day 1 when I was attempting
  14     Q. I see. So she says, regarding point 2:                     14     to explain the concept of permeability --
  15          "The extra gas initially in place comes primarily        15   A. Yes.
  16       from the extension to the T1A which was modelled in this    16   Q. -- and, more specifically, permeability modifiers and
  17       most current version."                                      17     I said something like:
  18     A. Mmm-hmm.                                                   18        "The global permeability modifier is a multiple
  19     Q. And then she goes on to refer to the re-evaluation which   19     which is used to calculate the degree of permeability
  20       you mentioned and you just took that at face value.         20     that you ascribe to the reservoir in the model."
  21     A. Well, we did --                                            21        So, in other words, the higher your multiple, the
  22     Q. You didn't ask any further questions about it?             22     higher the permeability in the model; was that broadly
  23     A. Well, following this I approached one of my colleagues     23     right?
  24       to just have a look and see where these extra cells were    24   A. Yes.
  25       and to see how they -- their position in relation to        25   Q. Okay. And taking it one stage further, that is

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  1        significant because the higher your permeability, the                1   A. It's applied to the grid pore volume and, as I tried to
  2        more oil you get and the less gas?                                   2       explain earlier, the two are related very simply through
  3      A. In general, yes. In these kinds of reservoirs that's                3       the volume of each grid cell. So you take the bulk
  4        what you would find.                                                 4       volume of the grid cell and you multiply it by porosity,
  5      Q. Okay. As regards a local permeability modifier, the                 5       say the porosity that you've measured in the well that
  6        principle is the same, except that you're applying it to             6       may go through that grid cell, and that will you the
  7        a localised area of the reservoir rather than to the                 7       pore volume. The two are related very simply.
  8        entire model; is that correct?                                       8   MR NESBITT: Just to clarify, it is not accepted by
  9      A. That's right, yes.                                                  9       Mr Filippi that he modified porosity.
  10     Q. Okay. And is it also the case that you only apply                  10   LORD HOFFMANN: No, he definitely denied it.
  11       permeability modifiers when the model isn't otherwise               11   A. There is a keyword --
  12       matching the behaviour of the field sufficiently                    12   MR NESBITT: Sorry, Dr Moy, if we could perhaps come back to
  13       satisfactorily?                                                     13       permeability, which is what I am asking about, I know
  14     A. Well, in our case or in the case of the D&M model it is            14       porosity appears to be one of your new favourite
  15       clear that the -- because we received two models. We                15       subjects. But following on from the question that the
  16       had the geomodel. It's the same grid as the ECLIPSE                 16       chairman raised and the use of permeability modifiers,
  17       simulation model. The only difference there is that                 17       is it right to say that in general the more modifiers
  18       when the grid was exported into ECLIPSE for simulation,             18       you use, particularly local modifiers, the stronger the
  19       there was a command in the ECLIPSE file to say, "Take               19       indication that the geological model without the
  20       the permeabilities from the geomodel and multiply them              20       modifiers isn't representative of the actual geology?
  21       by 0.1". It wasn't clear from the D&M report -- the                 21       In other words, what the person creating the model is
  22       one, for example, that we looked at earlier, this                   22       doing is using what you might call patches to achieve
  23       multiplier is mentioned but it's not explained. So it               23       an acceptable history match.
  24       wasn't until we looked at the core data, which is                   24   A. It really depends on what the parameter is that you're
  25       plotted in the geological supplement of my first report,            25       affecting the multiplier and whether that's from log

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  1        that it was clear that actually the permeabilities in                1     information or whether there's a degree of uncertainty
  2        the geomodel appeared to be populated from core data and             2     in terms of permeability. So in answer to that it would
  3        that therefore this point 1 parameter, which had been                3     be not necessarily, but as an engineer you would love to
  4        applied in the simulation model, was in order to reduce              4     build a model, populate it from the log data and it
  5        the permeabilities.                                                  5     gives you a match the first time, without applying any
  6      THE CHAIRMAN: If I may, do you have any objection to                   6     kind of local modifications. That would be fantastic if
  7        applying modifiers to the permeability?                              7     you could do that.
  8      A. No, no.                                                             8        I have never seen that done. It is very, very --
  9      THE CHAIRMAN: So to the extent that Mr Filippi has applied             9     a you need -- in mature field, for example, where
  10       a modifier to the permeability, would you have any                  10     there's lots of well penetration, so your uncertainty as
  11       objection to that?                                                  11     to the size, and the properties in the reservoir are
  12     A. I believe the multiplier was applied to the porosity.              12     minimised, then it is likely you could get that
  13     THE CHAIRMAN: Oh, to the porosity.                                    13     situation. But in a reservoir like Oyo, where you've
  14     A. And that's very different. The reason it is very                   14     got very few well penetrations, there is a high degree
  15       different, for example, is if -- in the geological                  15     of uncertainty, in the properties fairly high, and
  16       supplement there is a plot that I mentioned of the core             16     certainly high in the permeability. You really need to
  17       data. If you look on the X axis that's porosity and the             17     apply local modifiers, certainly to a property like
  18       Y axis is permeability. For any given porosity, you                 18     permeability where there is quite a wide range of
  19       will notice, especially in the case of Oyo core data,               19     uncertainty.
  20       that there are two orders of magnitude range                        20   Q. So is the answer: not necessarily but in this case yes?
  21       permeability. So actually what you can say is porosity              21   A. Yes.
  22       varies very little in this kind of environment, but the             22   Q. We are quite tight for time, so --
  23       permeability changes considerably.                                  23   A. Sure --
  24     LORD HOFFMANN: Mr Filippi actually denied that he had                 24   Q. -- if you could attempt to restrain yourself and give as
  25       applied it to the porosity.                                         25     short an answer as possible to the questions --

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   1     A. Absolutely.                                                         1     right?
   2     Q. -- I think that will be appreciated by everyone.                    2   A. I think that's probably right.
   3          Now, the D&M model that was provided to you by the                3   Q. Good.
   4       respondents to use in this arbitration, that had                     4   A. Yes.
   5       a global permeability modifier of 0.1.                               5   Q. Now, going back to your -- do you still have bundle F39
   6     A. It did, yes.                                                        6     there?
   7     Q. Okay. And as you explain in your report -- and here                 7   A. No, I think it's disappeared.
   8       I am looking at the same page as we were at, 132, but                8   Q. Sorry. Could you be given it again, please.
   9       paragraph 1.3.2 -- 9, in order to match the behaviour of             9        Now, I am looking at page 93, because another thing
  10       Oyo-5 D&M also had to apply a local relative                        10     that you asked -- sorry, tab 12. It is the same Allied
  11       permeability modifier in the area with the so-called box            11     or Erin Energy email.
  12       around Oyo-5?                                                       12        So I am now looking at page 93, and this is your
  13     A. Yes.                                                               13     email of 8 January, copied to Mr Dyson, but to Ms Badru,
  14     Q. So, in other words, the way in which D&M were addressing           14     copied to Mr Dyson, Mr Omidele and various others. You
  15       the behaviour of Oyo-5 in their model was effectively               15     appear to be asking Erin Energy why a permeability
  16       simply to replicate its effects by making modifications             16     modifier had been applied.
  17       to the model, rather than using the model to investigate            17   A. Mmm-hmm.
  18       what caused that behaviour? So, for example, D&M didn't             18   Q. So you say:
  19       attempt to model what the effect would have been of                 19        "Could you please assist me in understanding why
  20       a channel in the cement, for example?                               20     this was used? Is there a geological reason for this
  21     A. It certainly isn't possible to model a channel in the              21     reduction?"
  22       cement.                                                             22        On the second point:
  23     Q. Not possible per se or not possible for you?                       23        "Has the 0.1 factor simply been applied in order to
  24     A. Well -- no, I mean, that's -- let's get this into                  24     history match the Oyo-5 gas behaviour? If so, how does
  25       perspective here. A reservoir simulator -- if you zoom              25     this affect the prediction of gas production at 7 and 8

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  1        in on a reservoir simulator you won't find a graphic of              1     which have produced considerably less gas? If part, and
  2        the well with the casing and the cement, with the                    2     especially the early part, of Oyo-5 gas production was
  3        completion and all of that. Basically, it's a series of              3     dominated by gas entering via the casing before direct
  4        grid cells. A simulator calculates pressure drops                    4     gas breakthrough from the cap, how would this element be
  5        between the centres of the cells, and in fact, to give               5     reflected in the model? I would really appreciate
  6        you a pressure drop up to the surface, it looks -- it                6     having a better understanding of these points as
  7        uses a series of look-up tables. That's exactly what's               7     I believe they are key."
  8        in the simulator.                                                    8   A. Okay.
  9          So measuring or modelling gas through cement                       9   Q. Then above your email is Ms Badru's response. But as
  10       effectively is just measuring the gas flow through                  10     far as I can see, she doesn't answer your question on
  11       a conduit.                                                          11     8 January.
  12     THE CHAIRMAN: Excuse me, but I thought the question was               12   A. No.
  13       whether D&M was trying to establish what caused the                 13   Q. Correct? So you pressed again for an answer in the
  14       current situation.                                                  14     subsequent email at the bottom of page 92. When her
  15     A. Right.                                                             15     answer came, which is in the email at the top of the
  16     THE CHAIRMAN: And I have understood your answer that D&M              16     chain, she simply says:
  17       was not looking at the causes of the present situation?             17        "History ..."
  18     A. They weren't -- they didn't model any potential leakage            18        Yes, in the first line:
  19       through cement, for example.                                        19        "Regarding point 1, history matching efforts require
  20     MR NESBITT: As I think was obvious from the question, that            20     the reduction in the permeability."
  21       was just an example, my question was, as the chairman               21   A. Yes.
  22       put it, the way in which they addressed the behaviour of            22   Q. So that's the only explanation you were given. She
  23       Oyo-5 in their model was to replicate its effects by                23     doesn't answer your question about how the modification
  24       modifying the model. They weren't using the model to                24     around Oyo-5 would reflect what actually happened in
  25       investigate the cause of the behaviour of Oyo-5; is that            25     Oyo-5 or how it would affect the forecasted behaviour

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  1        of 7 and 8.                                                          1       Q. I'm simply referring you to your summary of your
  2           So even though you'd identified these points as                   2         approach to the "but for" calculations.
  3        being key to your understanding of the model to help you             3       A. Yes, okay.
  4        become comfortable with it, you don't really have --                 4       Q. And by the "but for" scenario obviously what we're
  5        appear to have much more than this rather Delphic answer             5         talking about is your version of the hypothetical
  6        of "History matching efforts required for permeability               6         scenario that would have resulted "but for" the supposed
  7        reduction". Was that right insofar as this                           7         essentially breach of contract or alleged breach of
  8        correspondence goes?                                                 8         contract by NAE in managing the well; yes?
  9      A. It's a bit -- the response is indeed a little slim, but             9       A. The "but for" case is, yes, the less gassy scenario.
  10       we looked at the core data, and although it says -- as              10       Q. Now, I think you have -- you understand, of course, that
  11       I said, it's not mentioned in the report, we came to the            11         essentially what we now know is that the two breaches of
  12       conclusion that the geomodel was populated with core                12         contract being alleged by the respondents in this
  13       permeability, and that this -- in some way this                     13         arbitration relate to cementing. They say the cementing
  14       multiplier had been essential to get the wells behaving             14         wasn't good enough. And the second one relates to
  15       reasonably, as they were observed to behave. So, yes,               15         production, which they say was (inaudible) was too high
  16       that's all I had from Toyin.                                        16         or the choke size was too large or things of that sort.
  17     Q. Right. But it is right, isn't it, that the history                 17       A. Yes.
  18       match achieved by that model wasn't actually good                   18       Q. You're aware of that?
  19       enough, was it?                                                     19       A. I am.
  20     A. Oh, well, one would hope to have a better history match            20       Q. It is hard not to be when you have been sitting here for
  21       sometimes. When that doesn't happen it's -- yes,                    21         most of the week.
  22       it's -- the problem is most likely due to the                       22       A. That's right.
  23       permeability, there's an uncertainty over what the                  23       Q. On the cementing point, I think you might have already
  24       actual permeabilities are, and also reflecting the                  24         confirmed this, but you haven't attempted to model what
  25       coning, which I was -- I made clear in the presentation,            25         would have happened if there had been no entry of gas

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   1       this model -- none of the models -- that have cells                  1     through the cement.
   2       really to mirror what happens when wells properly cone.              2   A. You can't do that in the --
   3     Q. But coming back to my original point, you accept that               3   Q. You can't do that.
   4       the history match achieved by the model wasn't good                  4   A. No. I mean, what you can model is gas flow through
   5       enough?                                                              5     a conduit. But what is the relevance of doing that in
   6     A. I would have preferred a better history match, yes.                 6     terms of the reality of gas flow through damaged cement
   7     Q. Okay. Moving on to a slightly different topic, you then             7     with its tortuosities and its constrictions. To assume
   8       go on in your original amended report to describe how                8     that it's a uniform conduit, you can do it, you can
   9       you modified the D&M model in order to create your "but              9     calculate, but you are just calculating the pressure
  10       for" case.                                                          10     loss through a pipe.
  11     A. Yes.                                                               11   Q. I think what you say in your joint report, which is E3
  12     Q. And I think the way you put it, and I am looking at the            12     at page 136, I think. It is not really worth everyone
  13       top of page 133, 3.1.2.10:                                          13     looking it up, because it is about seven words, in
  14          "To determine what would constitute an alternative               14     answer to the question:
  15       Oyo-5 production performance had the well not suffered              15        "Was the gas ingression in Oyo-5 the result of poor
  16       early and severe gas incursion."                                    16     cementing?"
  17          So that's your "but for" scenario and obviously --               17        Your answer is:
  18     A. I will need to find the page. Sorry, where was it?                 18        "This is not my area of expertise."
  19       Page --                                                             19   A. It is.
  20     Q. 133.                                                               20   Q. So this is consistent with your decision not to attempt
  21     A. Is it in E3 or E2?                                                 21     to use the model to investigate whether or not gas did
  22     Q. It is your report, so it is in E2.                                 22     in fact enter the well through a channel. You say that
  23     A. Okay, yes. Sorry what paragraph?                                   23     can't be done?
  24     Q. The top of the page.                                               24   A. Can't be done.
  25     A. Yes.                                                               25   Q. Mr Filippi says it can, and he has done it, but you

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  1        obviously disagree on that.                                           1   Q. You can't model a less aggressive approach to production
  2      A. Well, as you saw yesterday, what Mr Filippi has done is              2       can you, unless you know what "less aggressive" means?
  3        model pressure drop from gas flowing through a pipe.                  3   A. Okay, one thing that is apparent to me, looking at the
  4        What relevance does that have to the actual gas flow                  4       production data when we look at --
  5        through damaged cement?                                               5   Q. Sorry, is the answer yes or no?
  6      Q. Well, what you say in your joint report is that:                     6   A. I would say that you can begin to get a feel for it,
  7           "The assumption that the failed cement can be                      7       yes.
  8        represented by a conduit 2 inches in diameter is a gross              8   Q. You can begin to get a feel for it?
  9        simplification."                                                      9   A. Yes.
  10     A. That's right.                                                       10   Q. Okay.
  11     Q. You say:                                                            11   A. In terms of what's aggressive and what isn't
  12          "It is unrealistic to assume that this would all                  12       aggressive --
  13       fail simultaneously."                                                13   Q. Right.
  14     A. Correct.                                                            14   A. -- we've seen -- and one has seen that in Oyo-7, when
  15     Q. If that's not within your area of expertise, as you said            15       you had your opening submission, you had up there
  16       in the joint report, what's your basis for saying that?              16       a planned drawdown for Oyo-7, which was planned. It's
  17     A. Because I am aware that -- of what's been done and                  17       very clear that the permeability based on the log
  18       I can't comment -- the area that's outside is commenting             18       information, comparing porosity, it is very similar in
  19       on the cement quality in the well. But certainly                     19       Oyo-7 to Oyo-8, and you saw earlier that those two wells
  20       I have -- I am certainly in a position to comment on how             20       were very similar in their location relative to the
  21       that's been modelled and, in my view, it's not realistic             21       contacts. Their producing interval is very similar.
  22       to compare pressure drop in a conduit with the reality               22       It's a matter of physics that if you produce one well at
  23       of what would happen in a well with cement with poor                 23       half the rate of the other well, your drawdown will be
  24       cement.                                                              24       half.
  25     Q. Well, I think Mr Filippi addressed that yesterday. But              25         There's an issue about what is the drawdown because

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   1       that's your opinion. I've not seen it expressed in that               1       the gauges in both wells are substantially higher --
   2       way in any of your reports, but that's what you're                    2       shallower than the sand face. So the issue perhaps is
   3       saying now?                                                           3       not what's the absolute drawdown. But I can assure you
   4     A. Absolutely.                                                          4       that given the permeabilities that are so similar in
   5     Q. Obviously you're also aware that the other allegation,               5       those two locations and wells so similar in their
   6       the surviving allegation, of breach appears to be that                6       producing interval, if you produce one at half the rate
   7       NAE's approach to production was in some way overly                   7       of the other your drawdown will be half.
   8       aggressive, if I can put that it way. So in your "but                 8   Q. Coming back to your point about beginning to get a feel
   9       for" world, NAE would have managed the well less                      9       for it, at the time of your first report, did your
  10       aggressively, and on the respondents' case this would                10       feeling suggest that aggressive meant that NAE had
  11       have drawn less gas into the well.                                   11       applied a drawdown of 400 psi?
  12     A. Yes.                                                                12   A. The error from that came from looking at the gauge data
  13     Q. Okay? However, you presumably are also aware that even              13       without any correction. So the gauge is 1,000 vertical
  14       in their own pleaded case the respondents don't actually             14       feet above the sand base. It has to be corrected -- you
  15       define or quantify what they say would have been                     15       have to estimate what the pressure would be, and that
  16       an appropriate way of beaning-up or producing from the               16       even involves knowing what the flow rate and the fluid
  17       well; right?                                                         17       composition is between the gauge and the sand face. And
  18     A. Yes.                                                                18       once you do that correction, your drawdown is in the
  19     Q. And nor does their production expert, Mr Dyson, set this            19       region, as I said, 100 psi plus or minus 10.
  20       out.                                                                 20   Q. Dr Moy, there is a plethora of information on the
  21     A. Mmm-hmm.                                                            21       record, contemporaneous calculations done by the
  22     Q. From your perspective that presents you with something              22       operator at the time, which indicate what the drawdown
  23       of a problem because you only model things that are                  23       applied was. Were you not provided with that
  24       defined within specific parameters; right?                           24       information? You just felt you had to calculate it in
  25     A. Yes.                                                                25       isolation by yourself?

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  1      A. It's wise to check, yes. All I've seen, I should add,              1   Q. This is in the period between your original report and
  2        in terms of output from NAE, in terms of the well                   2     your joint report?
  3        test -- I've not seen -- well, certainly in the                     3   A. That's correct, yes.
  4        multi-rate test that was done they seem to give gauge --            4   Q. Do you now accept that the drawdown of around 100 psi
  5        they compare shut-in gauge pressure with a drawdown                 5     was not "aggressive" or do you express no opinion on the
  6        gauge pressure.                                                     6     drawdown?
  7      Q. Sorry, are you saying that you did check it, you reran             7   A. No, I can't express an opinion because it may well be
  8        the calculation yourself --                                         8     that the correct drawdown was 50 psi. We saw earlier
  9      A. We did --                                                          9     that 15,000 will bring in gas. The maximum rate of
  10     Q. -- but you got it wrong, you came up with 400 --                  10     Oyo-5 exceeded 13,000. To me that suggests that there's
  11     A. No, what we did we went back and we looked in detail at           11     a good chance it brought gas in at that rate. Whatever
  12       the gauge data and did the calculation using PROSPER               12     the corresponding drawdown might be, let's assume it is
  13       software for a number of points along the production               13     100 psi, we do know when we look at Oyo-7, effectively
  14       history of the well.                                               14     similar, it was brought in at tops 8,000 barrels of oil
  15     Q. And this is at the time of your first report when you             15     a day. That would imply from the physics that the
  16       got it wrong or you second report --                               16     drawdown is going to be around half. So whether we're
  17     A. That would been between --                                        17     talking about 100 psi, 50 psi, whether 100 is excessive,
  18     Q. Sorry, could I finish my question because otherwise we            18     it did what it did.
  19       are overspeaking and we will annoy the transcribers, if            19   Q. Well, in your original report -- you don't need to look
  20       we haven't already.                                                20     it up but it is a paragraph I took Mr Dyson to at
  21     A. Sorry.                                                            21     4.2.2.7, and this is obviously before you were aware
  22     Q. This is at the time of your joint report you ran the              22     that you had miscalculated the drawdown, you said:
  23       PROSPER software?                                                  23        "It must be noted that the maximum permitted
  24     A. Yes, we needed to check and confirm.                              24     drawdown as specified in the Oyo-7 and 8 start-up
  25     Q. And then you got the right number. But at the time of             25     programmes is 100 psi and neither of these wells

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  1        your first report you hadn't appreciated that the down              1       suffered the rapid and sudden gas incursion which
  2        hole gauge wasn't at the bottom of the well or -- what's            2       affected Oyo-5."
  3        the explanation?                                                    3   A. Hmm.
  4      A. We thought that the data had already been depth                    4   Q. So you appear implicitly at least to be approving
  5        corrected, and that wasn't the case. So when                        5       100 psi as an appropriate drawdown for wells drilled
  6        I enquired -- we had initially also got -- in the                   6       into the Oyo reservoir.
  7        initial data bundle we didn't have the correct or final             7   A. That's --
  8        completion diagram for Oyo-5 either. That was sent                  8   Q. Have you now changed your mind on that and suggesting 50
  9        later, again by Toyin, which confirmed the gauge of the             9       would be better?
  10       depth as 1,000 feet above the completion.                          10   A. I don't -- in terms of Oyo-7 and Oyo-8, the programme
  11     Q. So you presumably heard Mr Dyson explain it yesterday             11       mentioned maximum drawdown of 100. We've seen how
  12       that when he also relied upon this figure in his report            12       difficult it is to calculate the drawdown because you've
  13       he was relying on the information that had been provided           13       got this conversion from gauge to sand face --
  14       by you?                                                            14   Q. Why do you say it is difficult? It appears to be
  15     A. Right.                                                            15       entirely straightforward?
  16     Q. And I think what you're now saying is that the reason             16   A. It is not at all. So, for example, you would need to
  17       that you committed such a basic error is because you               17       monitor -- you have an issue here, you've got a gauge
  18       weren't provided with sufficient data by your client?              18       1,000 vertical feet above the sand face. You've got to
  19     A. Two assumptions. I thought that the data had been                 19       use PROSPER to do the conversion from where the gauge is
  20       depth-corrected and when we went to depth-correct it we            20       to the sand face. In order to do that, you need to have
  21       had -- initially we had the wrong completion diagram,              21       some information. You need to know the internal
  22       and so I went back to Allied and said "Is this correct?"           22       diameter of the tubing down to the sand face. You need
  23       And they sent me -- in fact what we hadn't received is             23       to know the phases -- the rates, oil, water, gas, that
  24       the final completion diagram, which showed the correct             24       is flowing in the well, and use software which allows
  25       depth of the gauge mantle(?) in the well.                          25       you to calculate the friction of flowing pressure drops

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  1        along there.                                                    1       anyway, the one you modified. Aren't you stretching
  2      Q. Sorry, Dr Moy --                                               2       credibility a little?
  3      A. But I would like to add --                                     3   A. Why? That's the method that's used.
  4      Q. Sorry --                                                       4   Q. Well, you're suggesting that merely arriving at
  5      A. -- we are flowing this well without a test separator and       5       a drawdown figure requires an enormous amount of
  6        we don't know exactly what the flow rates are because we        6       information, but doesn't the operator have all of that
  7        are also having flow from Oyo-6. So there is                    7       information at its fingertips and this is a figure which
  8        an inherent uncertainty as to any conversion from the           8       is routinely calculated? I think what you're trying --
  9        gauge depth to the sand face.                                   9   A. Routinely calculated --
  10     THE CHAIRMAN: For any operator, isn't it, important to know      10   Q. Sorry, Dr Moy --
  11       the drawdown? They calculate the drawdown all the time,        11   A. -- but probably in the office.
  12       don't they?                                                    12   Q. -- I think what you're trying to do is try to explain
  13     A. They would calculate it using that, and what one would        13       away the fact that you miscalculated it yourself.
  14       hope is having a completion design that allows you to          14       That's what you're doing, isn't it?
  15       have that gauge near the sand face in the vertical             15   A. No, I am referring to the 100 psi after the correct
  16       depth, and I think we heard from Mr Dyson the problem is       16       calculations were done. It would be unusual for someone
  17       you've got a packer and you want to run -- you want to         17       on the drill -- the platform, the drill, the FPSO, for
  18       make sure that your gauge is run probably in the               18       example, or wherever they were doing operations to do
  19       vertical -- almost vertical section of the hole. You've        19       these calculations on the hoof, and it may seem to
  20       then got the packer, you don't want your electrical            20       a non-engineer that it is a bit involved, but that's the
  21       connections to run past the packer, so there's --              21       method I've described is the method that's used. But,
  22     THE CHAIRMAN: If I have understood correctly, one of the         22       of course, it really depends on knowing what well is
  23       Oyo-7 or Oyo-8 does not even have a down hole gauge?           23       producing in both gas, oil and water. And we know
  24     A. Oyo-8 does not have a down hole gauge.                        24       unfortunately that the test separator wasn't available.
  25     THE CHAIRMAN: So you are using this PROSPER software to          25       So you've got flow -- you've got the added uncertainty

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  1        calculate the drawdown based on the pressure at the top?        1     of co-mingled production from Oyo-6 and Oyo-5 at that
  2      A. We have -- that's partially correct. What we have in           2     time.
  3        Oyo-8 is no -- or I don't think the gauge is                    3   Q. Dr Moy, I know you want to mention the test separator as
  4        functioning. So we have no down hole pressure data for          4     many times as possible, but you may recall that
  5        Oyo-8. We only have tubing head pressure on the seabed.         5     yesterday we looked with Mr Dyson at the calculation for
  6          For the other wells, 5 and 7, we have both. We have           6     drawdown, and it is simply reservoir pressure minus
  7        the tubing head and we have bottom hole pressure. So            7     flowing bottom hole pressure.
  8        what that allows you to do, using PROSPER software, is          8   A. Yes.
  9        to calculate your pressure drop, theoretical pressure           9   Q. You agree with that?
  10       drop, from your tubing head to your gauge depth. But           10   A. I do.
  11       because you've got data from those two gauges in the           11   Q. Good. Let's move on.
  12       real world, you can calculate how close the software is        12        If we go back -- how are we doing for time? -- if we
  13       predicting that drawdown, and then extrapolate that            13     go back to paragraph 3.1.2.10 of your report -- this is
  14       further thousand feet down to your sand face. And              14     the top of page 133. Can you find it?
  15       that's the method used in this situation, where the            15   A. If I am given sufficient time.
  16       gauge depth is so different from the sand face depth.          16   Q. Now, this is where you explain how you actually
  17     THE CHAIRMAN: Mr Nesbitt.                                        17     approached modelling a "but for" scenario. Oh, sorry.
  18     MR NESBITT: I think part of the puzzlement behind the            18   A. What paragraph number?
  19       chairman's question is that you would accept, would you,       19   Q. The top of the page.
  20       that drawdown is a very important parameter for any            20   A. Right.
  21       operator producing from a well?                                21   Q. 3.1.2.10.
  22     A. Yes.                                                          22   A. Okay, yes.
  23     Q. And yet you have managed to make calculating drawdown         23   Q. So I will just repeat that. This is where you explain
  24       sound more complicated than preparing your model, which        24     how you actually approached modelling your "but for"
  25       in fact you didn't actually prepare yourself, but              25     scenario.

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   1     A. Mmm-hmm.                                                    1   A. I think that was --
   2     Q. And what you say, I will check I am at the right            2   Q. It says in number 2:
   3       paragraph, I think so, you say that:                         3        "The permeability multiplier around 5 was set to
   4          "It was necessary to determine what would constitute      4     1.0."
   5       an alternative Oyo-5 production performance had the well     5   A. That's a permeability multiplier, yes.
   6       not suffered early and severe gas incursion. Based on        6   Q. On the removal of the box point, did you entirely remove
   7       the observed Oyo-7 and 8 GOR trends during the course of     7     the box?
   8       the first six months of their production I felt that it      8   A. No, it's still defined in the model.
   9       was reasonable to assume that they represented               9   Q. Okay. Because you say here that you did remove it.
  10       an average or typical Oyo central well free from the gas    10   A. Well, I meant that it's the multiplication of the
  11       incursion issues experienced in Oyo-5."                     11     transmissibility that's there. So there is a ...
  12     A. Yes.                                                       12     (Pause).
  13     Q. "I therefore decided to adjust the received D&M model in   13        So in the model there are two relative permeability
  14       order to make Oyo-5's GOR versus cumulative oil trend       14     tables, and the second one refers to or is applied to
  15       match that of Oyo-7, as this well's GOR trend was           15     Oyo-5 within the box, and from memory that's the one
  16       intermediate between the very high GOR of Oyo-5 and the     16     that I removed from the model, so that there was
  17       low GOR of Oyo-8."                                          17     a single set of relative permeability tables for the
  18          So if I can put that a slightly different way, what      18     whole field.
  19       you're saying here is that you -- for the purposes of       19   Q. Okay. And as you said at 2 you set the multiplier to
  20       your "but for" forecast you assumed that if NAE had         20     1.0.
  21       managed Oyo-5 on the respondents' case in accordance        21   A. That's right, yes.
  22       with internationally acceptable Petroleum Industry          22   Q. And that again, just to check what that actually means,
  23       Practices and Standards, it would have behaved in the       23     that would increase the level of permeability attributed
  24       same way as Oyo-7 and, therefore, what you did was you      24     to the area of the model by ten times?
  25       made some modifications to the D&M model, which were        25   A. No, what that does it returns the permeability to the

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   1       intended to force the gas-oil ratio trend of Oyo-5 to        1     permeability in the original geomodel that I received
   2       match that of Oyo-7?                                         2     from D&M.
   3     A. Correct, yes.                                               3   Q. Okay. Right. And the way you justify what you are
   4     Q. Okay? Then in the next paragraph you go on to explain       4     doing there is that you refer back to the data from the
   5       what the changes were that you made.                         5     Oyo-1 cores; is that right?
   6     A. Yes.                                                        6   A. You'd have to remind me, sorry.
   7     Q. First of all, you say that you increased the global         7   Q. Yes. This is in your joint report, or at least your
   8       permeability multiplier from 0.1 -- sorry, from 0.1 to       8     half of it.
   9       0.2.                                                         9   A. Right.
  10     A. Yes.                                                       10   Q. Page -- it is actually the genuinely joint bit,
  11     Q. Yes? So that would effectively result in, as you say       11     page 138. Sorry, the wrong page number. 198.
  12       there, a five times reduction in field permeability         12   A. Okay.
  13       instead of a ten times reduction.                           13   Q. You say that it's within the range of data from Oyo-1
  14     A. Correct.                                                   14     cores 1 to 3.
  15     Q. So I will just check I've understood what that means.      15   A. Mmm-hmm.
  16       That means you've doubled the degree of permeability        16   Q. So that's where that comes from.
  17       ascribed to the field as a whole; is that right?            17   A. Mmm-hmm.
  18     A. Yes, considering the high permeability in the geomodel,    18   THE CHAIRMAN: Is that paragraph 6.15.3.14?
  19       yes.                                                        19   MR NESBITT: Sorry, no, it's the paragraph before. So it is
  20     Q. Okay. And then you say that you also removed the local     20     starts at the bottom page 197 and carries on on
  21       relative permeability multiplier around Oyo-5, that's       21     page 198, and the relevant explanation appears at the
  22       the box that was imposed by D&M; is that right?             22     very end of the paragraph, where it says "which was
  23     A. Yes, that's right.                                         23     within the range of data from Oyo-1 cores 1 to 3."
  24     Q. Okay. And you replaced that with a local permeability      24        Isn't what you are doing there relying on
  25       multiplier around Oyo-5 of 1, 1.0?                          25     permeability data from core samples on other wells to

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  1        justify the local permeability effects that you've                  1       adjust the modelled volumes of oil and gas produced by
  2        applied around Oyo-5, which is a different well?                    2       Oyo-5.
  3      A. Well, actually we don't -- in light of the                         3   A. That is correct, yes.
  4        interpretation I presented from Oyo-5 well test, what is            4   Q. Okay. But what you haven't done is actually taken any
  5        the permeability around Oyo-5? Essentially we have got              5       steps to model the effects of the alleged breaches of
  6        two wells that -- and I suspect this is why Eni drilled             6       contract. You felt you couldn't do that. You're
  7        Oyo-5 where they did, because at the heel you've got                7       simply -- you're making an assumption, as indeed, as we
  8        Oyo-4, which is 150 metres away, and at the toe of Oyo-5            8       saw earlier, D&M did in their report, that the gas
  9        you have Oyo-1, which is about 200 metres away. And it              9       incursion was caused by production management and/or
  10       is only Oyo-1 that has core data for the whole field.              10       cementing, and so you're adjusting the model behaviour
  11       So we're faced with a lack of data, and certainly what             11       of Oyo-5 to reflect how you think it ought to have
  12       is the permeability in Oyo-5 is a question mark based on           12       behaved.
  13       what I've seen of the well test.                                   13   A. Well, as I said, as simulators go they don't include
  14     Q. Well, that's what you say in your joint report, but in            14       anything on cement or wells or casing. It's not
  15       your original report -- have you still got it there?               15       appropriate to use them to model any gas down poor
  16     A. Yes.                                                              16       cement, they are not designed for that. And as
  17     Q. The top of page 148.                                              17       a reservoir engineer, my view is one of looking at what
  18     A. Mmm-hmm.                                                          18       are the possible mechanisms that bring gas into a well.
  19     Q. Paragraph 4.2.4.2.                                                19   MR NESBITT: I think, Mr Chairman that's probably
  20     A. Mmm-hmm.                                                          20       an appropriate moment to break.
  21     Q. Again, on the subject of permeability, you talk about             21   THE CHAIRMAN: Very good. Shall we resume at 1.30 pm and
  22       the range in the Oyo-1 cores --                                    22       take a full hour. Thank you very much.
  23     A. Mmm-hmm.                                                          23   MR NESBITT: Thanks.
  24     Q. And then you say those on Oyo-5 range from 340 to                 24   THE CHAIRMAN: The same rules apply, Dr Moy, you're not to
  25       504 millidarcies. So you're talking about permeability             25       discuss your testimony. See you all back at 1.30 pm.

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  1        in the hole range, you're not limiting your self --                 1   (12.23 pm)
  2        sorry, in the whole reservoir, you're not limiting                  2               (The short adjournment)
  3        yourself there.                                                     3   (1.30 pm)
  4      A. I'm sorry, I don't understand what your question is when           4   THE CHAIRMAN: Welcome back, everyone.
  5        you're talking about limiting. Could you clarify,                   5   MR NESBITT: Thank you, Mr Chairman.
  6        please? (Pause).                                                    6        Dr Moy, turning to page 153 of your first amended
  7      Q. I don't know what time you want to -- given we started             7      report, bundle E2, tab 2.
  8        early, Mr Chairman, what time you wanted to take the                8   A. 152?
  9        lunch break. It is just after 12.20 pm. I can go on                 9   Q. 153.
  10       for a bit longer, it is entirely up to you.                        10   A. Which section?
  11     THE CHAIRMAN: If it is a good point to stop we can stop              11   Q. 4.2.7.1.
  12       now. If you would like to go on for --                             12   A. Okay.
  13     MR NESBITT: I can go on for a few more minutes happily.              13   Q. So this is the part of your report where you describe
  14     THE CHAIRMAN: Yes.                                                   14      some of the assumptions that you make in running your
  15     MR NESBITT: Okay. So all of that that we just went                   15      "but for" forecasts.
  16       through, Dr Moy, that was in an attempt to clarify how             16   A. Right.
  17       you interpreted the instruction that you got from the              17   Q. The first assumption is at 4.2.7.1, where you say that
  18       respondents to assume for the purposes of your "but for"           18      using the modified model that we discussed earlier on
  19       forecast that there was no gas incursion into the well             19      you set a maximum production rate of 7,000 barrels per
  20       as a result of the way they put it "poor cementing or              20      day.
  21       production mismanagement" --                                       21   A. Mmm-hmm.
  22     A. Mmm-hmm.                                                          22   Q. And is that your interpretation of what a less
  23     Q. -- "such as aggressive beaning-up", et cetera. So what            23      aggressive approach to production would be? Is that why
  24       you did, your approach, was to make changes to the                 24      you took 7,000?
  25       modelled permeability of the reservoir in order to                 25   A. It was, yes, to try and get something close to the rates

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   1       that we see in Oyo-7 and 8, which is between 7 and 8,000    1    A. I think it's been somewhere between -- it is certainly
   2       barrels (inaudible).                                        2      I think been over 8,000 barrels of liquid. I don't
   3     Q. Well, in --                                                3      think it has gone above 9,000 barrels of liquid. Most
   4     A. Sorry.                                                     4      of that is oil. The plateau rate we saw yesterday is
   5     Q. -- 4.7.2.3 where you are talking about the hypothetical    5      probably in the -- just above 8,000 barrels of oil a day
   6       Oyo B and C wells, you say:                                 6      with no added water to that.
   7          "These wells were also set on a maximum production       7    Q. Okay. And, again, just sort of focusing on the 7,000
   8       rate of 7,000 barrels based on Allied guidelines."          8      figure, that's got nothing to do with your calculation
   9     A. Mmm-hmm.                                                   9      of the critical rate for Oyo-5, is that right, it's
  10     Q. And guideline, according to the footnote, is the bean-up   10     unrelated to that? You're not concerned about the
  11       programme for Oyo-8.                                        11     critical rate at this stage?
  12     A. Right.                                                     12   A. No, because what we have -- the critical rate, as
  13     Q. But that document doesn't contain any reference to         13     I described, is really something that theory shows and
  14       limiting the maximum production rate to 7,000, so I was     14     you would need something that had a finer grid cell to
  15       wondering in what sense it is a guideline for you?          15     mimic that. So -- and also it depends what the
  16     A. Well, if it doesn't, the 7,000 comes from the observed     16     permeability is. So I really was interested in using
  17       rate between 7 and 8 -- for Oyo-7 and 8. I think in the     17     a rate which appeared from the actual data from 7 and 8
  18       bean-up programme it specifies an assumed drawdown,         18     to be approximately the right kind of rate to use in
  19       which is a limit of 100 psi, but as you pointed out, it     19     these horizontal wells.
  20       may not specify a rate, but I've taken something from       20   Q. Just for the benefit of the Tribunal, by critical rate
  21       the observed rates of Oyo-7 and 8.                          21     we mean the rate above which gas coning will start to
  22     Q. So you're basing it on the drawdown from the bean-up?      22     occur?
  23       Is that what you're saying?                                 23   A. That's correct, yes.
  24     A. No, no, we see in the production history of 7 and 8, but   24   Q. And just sticking with that for a moment, if you look
  25       that the total fluid production of those wells I don't      25     across to page 152, you calculate the critical rate for

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   1       think exceeds 8,000 barrels of liquid. In the case of       1      Oyo-5, it is at the top of the page, at 4.2.5.5 --
   2       Oyo-8, that's pretty much all oil. So I took                2    A. Mmm-hmm.
   3       a 7,000 barrel limit as something that I thought was        3    Q. -- as 9035 barrels per day; yes?
   4       a good starting point.                                      4    A. Yes.
   5     Q. Right. So it's based on the production history, it's       5    Q. Okay. Although if we look at your joint report at tab 5
   6       not based on the bean-up programme at all, so your          6      in E3, page 175, you say there, in about the middle of
   7       reference to the Oyo-8 bean-up programme is not correct.    7      the page, 6.2.10:
   8       That's not the Allied guideline you mean.                   8         "Using more realistic reservoir dimensions the
   9     A. Well, let's take one step slightly back. If you're         9      results from the Chaperon equation indicates that Oyo-5
  10       saying and reminding me that actually a rate isn't          10     would start to cone gas at rates around 6,000 barrels
  11       specified in that, then that's the case. If a rate is       11     per day."
  12       not specified in the start-up bean-up programme, then       12   A. Yes, right.
  13       I've taken a rate from what we see in the actual field      13   Q. So if you're taking 7,000 as your "but for" scenario,
  14       production.                                                 14     are you saying that on that "but for" scenario Oyo-5
  15     Q. Right. So not the bean-up programme. Okay.                 15     would have been produced at above the critical rate?
  16          And in fact it would be slightly curious if you did      16   A. Well, what I am trying to show, both in the table at the
  17       rely on that document to dictate the maximum production     17     bottom of 175 is how -- and hopefully what I showed to
  18       rate over the life of the well because, as its name         18     the Tribunal today is the sensitivity of this critical
  19       suggests, it's a bean-up programme, it's just for the       19     rate to whatever other parameters you might apply, in
  20       first days of production.                                   20     particular permeability.
  21     A. Certainly, yes. It's a bean-up programme.                  21        I've got a critical rate in the table of, say,
  22     Q. So your starting point, 7,000 barrels per day, but just    22     6,000, but by adjusting the permeability you can see how
  23       taking that figure, hasn't Oyo-8 been producing at          23     sensitive the critical rate is to that. We see
  24       levels significantly above 7,000 barrels for most of its    24     certainly in reality we have two other wells, 7 and 8,
  25       productive life?                                            25     that don't appear to have coned in gas at those liquid

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   1       rates. And I took those -- whatever Chaperon may            1     A. Yes.
   2       suggest and you can adjust the parameters to get            2     Q. So, in other words, this scenario that you described, as
   3       a different critical rate -- I took what we observed in     3       we looked at earlier, this is your "but for" forecast
   4       the actual oilfield -- Oyo field as a good starting         4       taking into account all available information but
   5       point for what I had in the model.                          5       without any timing restrictions; is that a fair way of
   6     Q. So in your original report you had over 9,000 for the      6       putting it?
   7       critical rate, and in your joint report, based on the       7     A. That I believe was the intention, yes.
   8       Chaperon equation, you've got 6,000, so you're relying      8     Q. Yes. Yes. And what we're looking at on this page is
   9       on -- what you're saying is you relied on real              9       your "but for" forecast as submitted in your amended
  10       observations, rather than Chaperon, is that right?         10       report of 24 February; right?
  11     A. Well, in this particular case I could see that -- well,   11     A. Mmm-hmm.
  12       we don't know what the true permeability is and that is    12     Q. And that particular forecast did not change in the joint
  13       obviously an important input into both Chaperon and        13       report, and nor did you change it in the letter that we
  14       Papatzacos equations. What we do have are two wells        14       got from Stephenson Harwood the day before the start of
  15       where we have seen them flowing at 8 -- 7 to               15       the hearing?
  16       8,000 barrels of liquid a day, and we don't seem to be     16     A. I believe that's the case, yes.
  17       getting any gas incursion. I thought that was pretty       17     Q. This particular forecast was not affected by those two
  18       much a good starting point.                                18       things; is that right?
  19     Q. Now, your second assumption on page 153 for your "but     19     A. I believe that's the case, yes.
  20       for" forecast is that additional wells B and C -- this     20     Q. Okay. If you look at your table 6.1, there is a column
  21       is paragraph 4.2.7.3 -- were scheduled to start            21       there. It is four columns from the right-hand side
  22       production on 1 July 2012 and 31 December 2014             22       headed "FGPR".
  23       respectively. As you say in the preceding paragraph,       23     A. Yes.
  24       Oyo B and Oyo C are basically Oyo-7 and Oyo-8, except      24     Q. And that stands for field gas production rate?
  25       they've been brought forward by a considerable period of   25     A. That's right, yes.

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   1       time. So while you say 1 July 2012 for Oyo B and           1    Q. And what we can see, looking down, it obviously starts
   2       31 December 2014 for Oyo C, Oyo-8 was spudded in           2       at zero on 5 December 2009, the start of production,
   3       May 2015 and Oyo-7 in June 2015; right?                    3       bearing in mind that this is your "but for" case, and it
   4     A. Yes.                                                      4       stays fairly constant through the to the end of
   5     Q. And the basis for you bringing the start of production    5       December, 7 February/18 February 2010, at about 4,500.
   6       for your two hypothetical wells forward so significantly   6       And then on 1 April 2010 the rate shoots up to 8,170.
   7       is purely Mr Omidele's fact evidence; correct?             7    A. Yes.
   8     A. Yes.                                                      8    Q. And from there it increases pretty rapidly to 40,000-odd
   9     Q. Okay. Now, can we just take a look at what your "but      9       in July.
  10       for" forecasts show.                                       10   A. Mmm-hmm.
  11     A. Mmm-hmm.                                                  11   Q. And continues increasing all the way up to 60,000.
  12     Q. So if you go to page 170, and forgive me, it's not        12   A. Yes.
  13       entirely straightforward to follow, this is the annex to   13   Q. That to me, the wholly-untrained eye, that looks like
  14       your amended report. On page 170 is where you've           14      a pretty rapid increase in gas. Does it not to your eye
  15       tabulated your "but for" case --                           15      indicate gas ingression from the gas cap?
  16     A. Mmm-hmm.                                                  16   A. Well, one would need to calculate the GORs and compare
  17     Q. -- which is called "Amended Oyo scenario 3AI2".           17      those with the ones that were observed in reality.
  18     THE CHAIRMAN: Excuse me, could you give me the internal      18      Certainly I suspect that if one were to do that they
  19       page reference number?                                     19      would be lower. We know that the model is not perfect
  20     MR NESBITT: 49.                                              20      in showing gas coning in its true sense, and what
  21     THE CHAIRMAN: Thank you very much.                           21      happens when gas starts to cone we saw yesterday some
  22     MR NESBITT: Now, in the body of your report you explain      22      cross sections of the model showing gas coming into the
  23       that this is your forecast based on information as of      23      well, and it was very telling that because of the
  24       31 December 2015 assuming less gassy Oyo-5, if applying    24      composition of the grid cells there were a number of
  25       internationally acceptable petroleum industry practices.   25      inactive cells that represent shale, and

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  1        stochastically -- both models have been populated                   1     well from the gas cap as a result of the natural
  2        stochastically. So the gas that we see in the model is              2     features of the reservoir; correct?
  3        very much influenced by the well path that it takes due             3   A. No, I would say that essentially the model, as I've
  4        to these shale blocks, which actually -- which in                   4     pointed out, is imperfect. We've got large grid cells.
  5        reality aren't there as big blocks of shale acting as               5     We do get gas coming in. It's on a gross scale. It's
  6        barriers.                                                           6     not actually mirroring the type of coning that you would
  7           So that's -- you would need, first of all, to look               7     expect. So there is gas in the model coming into the
  8        at the GOR in this model, and the fact that there may be            8     well. It's still less gassy than the historic Oyo-5.
  9        oil coming down or appears to come down from the gas cap            9     In order to get a model that would really represent what
  10       is due very much to the gross size of the cells and also           10     was going on, you would need a complete rebuild.
  11       the presence of these inactive cells which represent               11   Q. So what you're saying is we can't rely on your model,
  12       blocks of shale. In reality, the real reservoir doesn't            12     and we can't rely on the data coming out of it?
  13       have that.                                                         13   A. No, what you can do, you can see clearly that actually
  14     Q. So let me just put the question again. Aren't the                 14     by reducing the gas production you are increasing the
  15       volumes of gas showing in your "but for" scenario simply           15     oil, and that is still true whatever model you use.
  16       too large for the gas to be coming from anywhere other             16   Q. Dr Moy, do you place any value on your model at all?
  17       than the gas cap on your "but for" model? Yes or no?               17   A. I do, yes. I do because D&M have been involved in this
  18     A. Well, we saw yesterday that --                                    18     project for several years. They've spent a lot of time
  19     Q. Yes or no?                                                        19     both creating the structure, populating the grid cells.
  20     A. -- gas was coming was coming from the gas cap in those            20     They are a very experienced company. So all the
  21       models.                                                            21     indications suggest that it's -- a lot of time has been
  22     Q. So it's a yes?                                                    22     spent on it.
  23     A. Yes.                                                              23   Q. Although, as we saw earlier, when you were discussing
  24     Q. Okay. So would you agree that what this data shows is             24     with Ms Wilford for a different purpose; yes?
  25       that even on your "but for" scenario, i.e. on the basis            25   A. No, I don't agree with that at all.

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  1        that Oyo-5 was managed in accordance with                           1       Q. You don't agree with that?
  2        internationally acceptable practices, et cetera, that               2       A. No, I don't.
  3        Oyo-5 was still experiencing very significant levels of             3       Q. Okay. Now, the other thing that Stephenson Harwood
  4        gas incursion from the gas cap?                                     4         instructed you to do was to use your model to run
  5      A. What it shows is that if you moderate the gas production           5         a number of other forecasts of production from the
  6        you will increase your oil recovery. That's very clear.             6         field.
  7        This "but for" Oyo-5 is less, less gassy than the                   7       A. Mmm-hmm.
  8        historic Oyo-5 and, as I pointed out in the first slide,            8       Q. And to the extent that there was actual production data
  9        minimising your gas production maximises your oil                   9         available from the field, you relied on that data?
  10       recovery.                                                          10       A. I think I did, yes.
  11     Q. So I will ask the question again. Do you agree that               11       Q. Yes?
  12       this data shows that even on your "but for" scenario               12       A. Yes.
  13       Oyo-5 still experiences very significant levels of gas             13       Q. Well, hopefully, because you say in your report -- you
  14       incursion from the gas cap; yes or no?                             14         don't need to turn it up -- but you say at page 160:
  15     A. From this model you can see that gas is coming from the           15            "The model used actual Oyo-7 and 8 production data
  16       gas cap.                                                           16         until 1 January 2016."
  17     Q. That is a "yes".                                                  17            Which must have been the last date that you had
  18          So if you go back to your original instructions, you            18         actual available for.
  19       don't need to turn them up, appear to be worded rather             19       A. Yes.
  20       carefully, so when you are asked to assume, and I quote,           20       Q. "... and thereafter the model ran in forecast mode to
  21       that:                                                              21         generates profiles for both wells."
  22          "There was no gas incursion into the well as                    22       A. That's correct.
  23       a result of poor cementing or production mismanagement."           23       Q. And presumably you got the data that you relied upon
  24          That doesn't exclude that even on your "but for"                24         from Allied. They supplied it.
  25       scenario there could still be a gas incursion into the             25       A. Yes, they did.

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  1      Q. And was it certified in any way? Did you check it in              1         this is the one we looked at earlier but this time this
  2        any way or maybe you had no way of checking it's                   2         is the marked-up version.
  3        accuracy?                                                          3       A. Hmm.
  4      A. Well, I -- one has to assume that when you're given data          4       Q. So it shows the word "amended" in red and underlined.
  5        like this from a company like that that it's true. And             5       A. Mmm-hmm.
  6        how would one go about verifying it? Because it's not              6       Q. And then if you look carefully you can see a red
  7        in the public domain not in the detail we received. So             7         underlining at the very bottom of the entire table,
  8        you have to take on trust that it's true.                          8         which I suppose is intended to indicate that the figures
  9      Q. Okay. As we've seen, the various forecasts that you               9         had changed. But the actual table only shows one set of
  10       produced on the basis of that data and your model are in          10         figures, so it is quite difficult to compare your
  11       annex 6 to your report.                                           11         original figures with your amended figures. You need to
  12     A. Mmm-hmm.                                                         12         flick between the two versions of the report.
  13     Q. And this is where the various changes that you've made           13            But if we do that and we compare the forecast actual
  14       to your report become relevant, and I mentioned earlier           14         total oil production from the field as of, I think, the
  15       the first revision that you made. So we've got your               15         end date is 27 February 2021, that gives you a total of
  16       report -- I think your report was originated                      16         about 16.34 million barrels?
  17       18 February, and we got it on the 19th, and then we got           17       A. I believe that's the case, yes.
  18       a different version on the 23rd or 24th. But anyway if            18       Q. Yes. And if you look at the version -- the figure in
  19       we perhaps turn to your covering letter, which is at              19         the amended report on the same date, this is page 250 of
  20       tab 3 of bundle E2 --                                             20         the amended report, the figure at the very, very end
  21     A. Mmm-hmm.                                                         21         you've got 18.85 million barrels approximately --
  22     Q. -- of your first revised report. Essentially this                22       A. Yes.
  23       letter addressed to Mr Wade at Stephenson Harwood                 23       Q. -- which is an increase of more than 15 per cent in the
  24       explains that you had made two errors in the original             24         total forecast oil production from the field. Or put
  25       version of your report, which you're now seeking to               25         another way, it is a difference of about

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   1       correct with the first revised report. If I can                    1     2.5 million barrels.
   2       paraphrase, the first of those, number 1 in your letter,           2   A. Yes.
   3       appears to be that the "but for" forecast, which had               3   Q. Do you agree with that?
   4       supposedly taken into account all information, had not             4   A. Yes.
   5       in fact taken into account the shut-in of Oyo-8 between            5   Q. Okay. Then in your joint report with Mr Filippi you
   6       September 2015 and March 2016.                                     6     again said that you had made an error, and that's -- if
   7     A. Right, yes.                                                       7     we turn to bundle E3, containing your joint report, at
   8     Q. Correct?                                                          8     tab 5, and I am looking at page 193. This is in the
   9     A. Mmm-hmm.                                                          9     body of your half of the joint report. It is about
  10     Q. And the second mistake was that you -- or the second             10     halfway down the page 16.15.2.5. I am sure you're very
  11       change of heart, I suppose, is that you had decided it            11     familiar with this.
  12       was necessary to apply the same global permeability               12        There you say that:
  13       modifier to all of your models in order to ensure                 13        "The plots shown in figures 4, 5 and 43 as Dr Moy of
  14       comparability between the resulting forecasts.                    14     BF1 have been taken from actual v2_3. However, this has
  15     A. Yes.                                                             15     been run as a 'but for' case with a global multiplier of
  16     Q. And so what you did was you increased the global                 16     0.2 instead of 0.1. This result is in a less gassy
  17       permeability modifier in your actual v2_3 scenario to             17     Oyo-5 and consequent impact on overall reservoir
  18       match what you had done in your "but for" scenario; yes?          18     pressure and well performance.
  19     A. That's correct, yes.                                             19        "I acknowledge that this run was incorrectly run
  20     Q. That change, the change to the global permeability               20     with a multiplier of 0.2 and I present in annex 9.4 the
  21       modifier, had a significant effect, didn't it?                    21     results of the same run but using a multiplier of 0.1."
  22     A. Yes, yes, it does.                                               22   A. Mmm-hmm.
  23     Q. And we can see that if we look at the markup at tab 4,           23   Q. I have to be honest, I'm not entirely sure what you mean
  24       the next tab, this is the marked up version of your               24     by the actual having been run as a "but for" case, but
  25       original report, if you look at page 248, I think it is,          25     leaving that point to one side, what appears to be going

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  1        on here is in essence that you changed your mind back             1   A. Yes.
  2        and decided you were going to use the 0.1 global                  2   Q. And then the black crosses are your revised match; yes?
  3        permeability modifier for your forecasts of actual                3   A. That's correct.
  4        production from the field after all; yes?                         4   Q. But the black crosses don't appear to be anywhere near
  5      A. No, I was struggling with the fact that the D&M model we         5       the plot for the lines showing the historical figures.
  6        received or I received certainly had a multiplier of              6   A. Mmm-hmm. Well --
  7        0.1, so what you use for generating the actual profiles.          7   Q. In fact they appear to be further away than your initial
  8        So I initially have used the 0.1 consistency would                8       run, the dotted line. So I was just curious to know why
  9        suggest using -- sticking with the 0.2 modifier in both           9       you thought that achieved a better history match, or
  10       the actual and the "but for" cases, in which case there          10       maybe you don't think it did?
  11       is a difference of over 2 million barrels.                       11   A. Well, as I said, there are -- we have issues here with
  12     Q. Okay. So you say you didn't change your mind, but in            12       the permeability. We don't know what the permeability
  13       the letter we just looked at from 24 February you                13       is. The model honours the log data.
  14       explained that the precise reason that you had amended           14   Q. Sorry, just to interrupt, but everything seems to come
  15       your report or one of the two reasons was that you               15       back to not knowing what the permeability is.
  16       wanted to be consistent, and so you used 0.1 instead of          16   A. It is, it's true.
  17       0.2.                                                             17   Q. So does --
  18     A. Mmm-hmm.                                                        18   A. You've seen the data that I've presented in the slides,
  19     Q. But then you changed that back again in your joint              19       and the uncertainty as to what exactly is the average
  20       report. Isn't that changing your mind?                           20       permeability in the reservoir.
  21     A. Well, it's considering what the information is and --           21   Q. Well, I've seen that you've changed your mind at least
  22     Q. Or changing your opinion, if you prefer.                        22       twice on what permeability modifier to use.
  23     A. Potentially. Because, as I said, the model I received           23   A. In the actual scenario, yes. When we received the D&M
  24       had a multiplier of 0.1. Do I keep that for generating           24       model, the model had been history matched on gas rate,
  25       the actual forecasts or do I make that consistent with           25       and when you swap it over to oil rate you get this

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   1        the 0.2 I've used in the "but for" case.                         1     increase in gas at the beginning when it matches the
   2      Q. So it was a potential change of opinion but you're not          2     oil, but you don't get a match with the gas. If you
   3        prepared to agree with me that it was an actual change           3     switch it over, as it was when we received it, you get
   4        of opinion?                                                      4     a match to the gas. You don't get a match to the oil
   5      A. Well, okay, I changed my opinion.                               5     but it's not as apparent.
   6      Q. Okay. Now, in your joint report you also included               6        The issue I think is -- is one of permeability.
   7        a revised set of history match comparison plots, which           7   Q. Would you go so far as to say that what you say is the
   8        you appear to have done in an attempt to improve your            8     lack of information available to you about permeability
   9        history match and improve the credibility of your model.         9     means that the information that you've produced can't be
  10        If we just take a quick look at those history match             10     relied upon or is that too harsh?
  11        plots, and you'll find those in bundle E3 at tab 5,             11   A. That's not the case.
  12        page -- I think they start on 216. Do you recognise             12   Q. It's not the case?
  13        those?                                                          13   A. No.
  14      A. I do, yes.                                                     14   Q. It can be relied on?
  15      Q. Let's look at the ones on 218.                                 15   A. Yes, within the bounds of what's in the model, yes.
  16           Now, if we take, for example -- let's take the one           16   Q. But as we've seen you're -- just looking at that example
  17        for the gas rate at the bottom, that's figure 9CC.              17     on page 218 -- your model -- even after all your changes
  18      A. Mmm-hmm.                                                       18     of mind and revisions, your model still doesn't match
  19      Q. So the thick red line is Dr Moy's gas rate; yes? Sorry,        19     history while Mr Filippi's does.
  20        Mr Filippi's gas rate.                                          20   A. Well, Mr Filippi's model, as we saw yesterday, doesn't
  21      A. It is, yes.                                                    21     honour the log data.
  22      Q. The dotted line is your original forecast, and the dots,       22   Q. I think Mr Filippi would take very strong issue --
  23        which are quite hard to spot but they are there, is             23   A. I am sure he would --
  24        history, that's actual, which only goes up to a certain         24   Q. -- with that suggestion.
  25        point.                                                          25   A. -- but it's a view based upon my observation.

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   1      Q. And this again, I'm not asking you to explain it again,           1       the gas rate calculations, not the oil rate
   2        but when you say the log data you're referring to the              2       calculations.
   3        porosity log data?                                                 3   A. No.
   4      A. Yes.                                                              4   Q. You say it was controlled on the gas rate.
   5      Q. I see. If we turn to -- stay in bundle E3, you should             5   A. That's correct. Let me clarify what you get in
   6        hopefully have a tab 5.1. Have you got that?                       6       an ECLIPSE file. It's a text file of instructions that
   7      A. I have, yes.                                                      7       run a simulator. So you would have a date, which would
   8      Q. This is the last letter that we have seen from you to             8       be, say, monthly, and then you would have a command word
   9        Mr Wade at Stephenson Harwood.                                     9       that would say which well you're commanding, and then
  10      A. Mmm-hmm.                                                         10       you would have a series of oil, water, gas volumes.
  11      Q. This was on 14 June 2016, which is about a week after            11       There's a keyword at the beginning of that which defines
  12        the joint report --                                               12       which one simulator one is going to be told to use as
  13      A. Yes.                                                             13       a control rate. So it can be gas, it could be oil. In
  14      Q. -- and, as I've said the night before this hearing               14       theory you could also control on water. So the original
  15        started. What you say in this letter is:                          15       file that we received from D&M had the well controlled
  16           "I am writing to notify you that the current table             16       on gas rates, and you had to go through and manually
  17        shown in the joint report in section 9.4.11 is not the            17       change that to an oil rate. The numbers in the
  18        one appropriate for the scenario described in                     18       particular line don't change, it just -- it just takes
  19        section 6.15.2.5 in the joint report and section 4.2.9            19       note of the different -- it just controls it on
  20        of my original report. The profile represents                     20       a different phase.
  21        a scenario where Oyo-5 is produced at historic gas                21   Q. Right. And you forgot to do that?
  22        rates, whereas the table should show results for the              22   A. We ran it on both but it so happens that this particular
  23        same model but with Oyo-5 produced at historic oil                23       table showed the results of it being run on gas rate.
  24        rates."                                                           24   THE CHAIRMAN: Excuse me, if I may. Could you tell me what
  25      A. Yes.                                                             25       columns change in the table?


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  1      Q. "In both cases the model was run with the permeability             1   A. Are we looking --
  2        modifier of 0.1."                                                   2   THE CHAIRMAN: Or is it a totally different table because
  3           Presumably by saying "the current table is not the               3       I am a little bit lost.
  4        one appropriate for the scenario", that's another way of            4   A. Sure. If you look at the -- the first column, which is
  5        saying it's the wrong one?                                          5       the Oyo-5, you can tell which one is which because the
  6      A. It was the wrong run. As I said here, when you run                 6       third number, which in this table here is 7790, that's
  7        theses simulations you define what is the -- the                    7       when the well is controlled on oil rate. When you see
  8        controlling phase, and the model as received from D&M in            8       that number is 4,400, that's when the model is being
  9        the original ECLIPSE file had Oyo-5 controlled on the               9       controlled on gas rate. So that's an easy way for me
  10       gas rate. And so the original table basically is the               10       certainly to recognise which table is which.
  11       oil -- the simulated oil rate based on historic gas                11   THE CHAIRMAN: Okay. Which column is that which has the
  12       production.                                                        12       4,000 --
  13     Q. So if I --                                                        13   A. It would be -- well, if it were in the table it would be
  14     A. So that was done in error, and so the correct table               14       the second column. The WOPR Oyo-5 column.
  15       should in fact show the same run, i.e. the same physical           15   THE CHAIRMAN: Okay. So if I am looking at the 0.1, that's
  16       reservoir model, but now the only difference is that               16       the revised one? The first line is zero.
  17       Oyo-5 is then simulated using historic oil rates, and              17   A. The first line -- the third line is 7790.
  18       the gas rates are then generated by the simulator.                 18   THE CHAIRMAN: Yes.
  19     Q. So when you say the model received from D&M in the                19   A. Then the models is controlled on oil rate.
  20       original ECLIPSE file at Oyo-5 controlled on the gas               20   THE CHAIRMAN: Now, the prior one had --
  21       rate --                                                            21   A. Something like 44-something-something, which is Oyo-5 --
  22     A. Yes.                                                              22       the same model, physically the same grid, but the well
  23     Q. -- you seem to be suggesting in the D&M model the gas             23       is controlled on historic gas rates and then as
  24       rate was set as a default, and you didn't really notice            24       a consequence the calculated oil rate is less. It is
  25       that, and so when you ran the calculations, they were              25       4,400.

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  1      THE CHAIRMAN: So you had the choice between having the                 1       still based on having different permeability modifiers.
  2        actual gas rate or the actual oil rate, and you ran it               2       If I've understood correctly you've got 0.1 for the
  3        the first time on one and the second time on the other;              3       actual and 0.2 for the "but for".
  4        is that --                                                           4   A. Mmm-hmm.
  5      A. Yes, it is being run on both. And the model as received             5   Q. Which directly contradicts what you said in your first
  6        from D&M was run on gas rates.                                       6       letter to Mr Wade back in February, about the need to
  7      THE CHAIRMAN: Please.                                                  7       ensure that the same modifier was used in all of the
  8      MR NESBITT: Just to make sure we've all understood this, so            8       models.
  9        the set of production forecast data that you included in             9   A. Yes.
  10       the joint report took the gas as its input or, if I may             10   Q. So we now have the situation where even in the figures
  11       use the reservoir engineer-speak, honoured the gas?                 11       that you've just confirmed you're happy with, we have
  12     A. I would need to verify what tables were in the joint               12       a "but for" reservoir that is attributed with double the
  13       report.                                                             13       permeability of the actual reservoir. So you're
  14     Q. I think that's what you just said, unless I am                     14       comparing apples with oranges, aren't you? They are not
  15       fundamentally misunderstanding.                                     15       comparable?
  16     A. The correct profiles would be ones where Oyo-5 is run on           16   A. Okay.
  17       historic oil rates --                                               17   Q. And wouldn't they need to be comparable if they are
  18     Q. Yes.                                                               18       going to be used as the basis for a damages calculation?
  19     A. -- and the gas rates are the ones that are calculated              19   A. Absolutely. The issue of whether the actual is run on
  20       along with the water.                                               20       0.1 or 0.2 consistency would strongly suggest that they
  21     Q. Right.                                                             21       need to be run with the same multiplier, and that would
  22     THE CHAIRMAN: June 14 -- sorry, I can't resist, I am trying           22       be 0.2, considering the uncertainty we have on the
  23       to figure out -- June 14 is being run on historic oil               23       actual permeabilities in the reservoir. So this has
  24       rates; right?                                                       24       been something I've considered at quite some length, and
  25     MR NESBITT: No -- yes.                                                25       I think consistency has to suggest that you've got to

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   1     A. Yes, exactly.                                                       1     compare apples with apples.
   2     MR NESBITT: That was the correction.                                   2   Q. Okay. So your response to my earlier question that you
   3     A. Yes, so it has got the table with the 7790 in it, the               3     were happy with your figures can't be right, because you
   4       second column.                                                       4     appear to have changed your mind back again to the
   5     Q. But as I think you replied in response to a question                5     position as set out in your letter of 23 February.
   6       from Ms Wilford earlier on, you were aware that your                 6   A. I am happy now, having considered it, that the
   7       calculations are being used by Mr Taylor for the                     7     appropriate multiplier to use in all the cases is 0.2.
   8       purposes of the damages -- your forecast is being used               8   Q. Would you like to rerun the forecasts again?
   9       for the purposes of the damages calculation.                         9   A. Sorry?
  10     A. Mmm-hmm.                                                           10   Q. Would you like to rerun the forecasts again? Not now,
  11     Q. And one might have thought that you would be mindful               11     obviously.
  12       that producing historical -- producing figures based on             12   A. Why?
  13       gas were not terribly useful for the purposes of                    13   Q. Okay. Oyo-7 and Oyo-8, you're aware obviously that the
  14       calculating a damages claim for loss of oil production.             14     respondents' position is that there has been no gas
  15     A. Mmm-hmm.                                                           15     incursion from the gas cap into Oyo-7 and Oyo-8.
  16     Q. But it was just a mistake, an oversight?                           16   A. Correct.
  17     A. Well, yes, both runs were one done, one on oil, one on             17   Q. And you obviously -- you agree with that assertion?
  18       gas. Oil is present in both runs. In fact, if you run               18   A. I believe the evidence suggests that that's the case.
  19       it on gas you get a smaller oil profile, which would                19   Q. Okay. So although you acknowledge that -- I think in
  20       actually increase the difference between the actual and             20     various places -- that there is an increasing GOR in
  21       "but for".                                                          21     Oyo-7, your position is that the increase in GOR in
  22     Q. Can we assume that you're now happy with the set of                22     Oyo-7 is solely attributable to solution gas; is that
  23       figures that you've finally produced.                               23     right?
  24     A. Yes.                                                               24   A. From the information I have, yes.
  25     Q. Good. However, as you said in your 14 June letter, it's            25   MR NESBITT: Okay, thank you. I have no further questions

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  1        for Dr Moy, Mr Chairman, thank you.                              1          So, first of all, moving to the respondents'
  2      THE CHAIRMAN: No direct, no questions?                             2       counterclaim, and then I will look at the final
  3      MR GUNNING: No.                                                    3       adjustment statement, and if you like the good news is
  4      THE CHAIRMAN: Thank you very much, Dr Moy, you are excused         4       that the much of the computation and the underlying
  5        as a witness and as an expert.                                   5       invoice checking and analysis work is agreed between
  6          Now, shall we next have the quantum experts.                   6       myself and Mr Taylor of Navigant instructed by the
  7      MR NESBITT: Mr Good. Shall we not leave the room but just          7       respondents.
  8        two minutes just while Mr Good sets up.                          8          There are two columns in the respondents'
  9      THE CHAIRMAN: That's permitted.                                    9       counterclaim here. The counterclaim is calculated by
  10     MR NESBITT: The Tribunal is getting increasingly keen on          10       looking at the production flows that have happened or
  11       breaks as the day wears on.                                     11       are estimated will happen in the actual world as
  12     (2.13 pm)                                                         12       compared to the so-called "but for" world, the world
  13                   (A short break)                                     13       without the matter complained of, leading to
  14     (2.20 pm)                                                         14       a differential set of oil production flows. Therefore,
  15                 MR NICHOLAS GOOD (called)                             15       the key and significant input into the quantification is
  16     THE CHAIRMAN: Mr Good, welcome. You've provided an expert         16       the oil production flows.
  17       report in these proceedings.                                    17          On the right, we have the quantification using
  18     A. I did.                                                         18       Mr Filippi's forecasts, and just to the left of that is
  19     THE CHAIRMAN: And you signed a joint report with Mr Taylor.       19       that using Dr Moy's forecasts and, as you can see, they
  20     A. That's correct.                                                20       come down to quite different figures, pre-interest --
  21     THE CHAIRMAN: And you understand your duty to express your        21       these calculations are all before interest -- of
  22       best professional opinions to the Tribunal?                     22       $498.7 million using Dr Moy's forecasts and $5.8 million
  23     A. I do.                                                          23       using Mr Filippi's forecasts.
  24     THE CHAIRMAN: Very good.                                          24          As I say, the actual quantification, taking the oil
  25            Examination-in-chief by MR NESBITT                         25       production as the input, is all agreed in terms of oil

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   1     MR NESBITT: Good afternoon, Mr Good. I think you have in           1       prices, future oil prices, costs, estimated costs,
   2      front of you a copy of your own report, which should be           2       discount rate. That's all dealt with, and we don't need
   3      at tab 5 of bundle B2.                                            3       to speak about that further.
   4     A. Yes.                                                            4          There are only two points, therefore, of interest or
   5     Q. And I think to your left there is a bundle containing at        5       to pull out from this. Firstly, as you'll see halfway
   6       tab 4 a copy of your joint report with Mr Taylor.                6       down there is a line "CPL's loss attributed to Allied
   7     A. Yes, subsequently amended by the version in tab 6.              7       and CINL's beneficial interest", as I understand it,
   8     Q. Indeed. And there is nothing in either of those                 8       these are matters still in dispute as to whether a loss
   9       reports, apart from your explanations that you're going          9       incurred by CPL forms part of the counterclaim.
  10       to give in your presentation, there is nothing that you         10          The second point to pull out is near the top under
  11       wish to clarify or indeed amend?                                11       "Allied's loss", part of the way in which this is
  12     A. No.                                                            12       quantified is that the NAE beneficial interest, having
  13     Q. And all of your reports contain your independent               13       been purchased by Allied in early 2012, was then sold on
  14       professional opinion on the matters on which you've been        14       to CPL in February 2014. And you'll have heard about
  15       instructed?                                                     15       that deal. I wasn't here but I read in the transcript
  16     A. They do.                                                       16       that Dr Lawal confirmed that the consideration for that
  17     MR NESBITT: Thank you very much. The floor is yours.              17       deal was approximately $570 million.
  18                Presentation by MR GOOD                                18          The way in which this figure in these tables has
  19     MR GOOD: Thank you. Members of the Tribunal, as I say, my         19       been computed, though, is quite different and doesn't
  20       name is Nicholas Good. I am a partner in KPMG in                20       bear any relation to that figure. This has been
  21       London, a firm of chartered accountants. I will spend           21       computed as the difference between -- based on --
  22       about 15 minutes on this presentation.                          22       looking at the Dr Moy column, an estimated future oil
  23          I am instructed by NAE to consider two issues, the           23       production at that date in an actual scenario and in
  24       quantification of the respondents' counterclaim and the         24       a scenario "but for" what is complained of, and the
  25       elements of the final adjustment statement.                     25       values there are 150 million as an estimated actual

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   1        value at that date and approximately 180 million "but       1         Having received the final adjustment statement,
   2        for" the matter that was complained of.                     2      I have then been through it and looked at the items in
   3           It is worth pointing out that's not directly             3      it and identified that on a net basis for the principal
   4        comparable, the 150 million being the amount in the         4      reason that some of the items in there do not relate to
   5        actual, compared to the 570 million-odd, because on to      5      the relevant period, it would be appropriate, doing that
   6        the 150 million also you would have to add the value of     6      review, to take out $1.6 million to come down to
   7        any resources that aren't included in this                  7      a figure of 46.5 million.
   8        quantification, although at least on some measures they     8         The principal reason there is if -- one might
   9        are relatively insignificant financially.                   9      consider to be, although I don't think it's a term
  10           Moving then on to the next slide. This is Dr Moy's      10      that's used in the SPA or amended SPA, the "relevant
  11        oil production forecasts, the last ones, with the blue     11      period", the way Mr Taylor and I have taken that is
  12        lines being the actual and the estimated actual in the     12      goods and services supplied in the period
  13        future, and the red dotted ones being the "but for", the   13      31 December 2011 to 28 June 2012. So clearly you could
  14        matter complained of forecasts. You can see there in       14      have a payment during that period which relates to goods
  15        2012 a significant peak. This is with the bringing on      15      and services that were delivered before that period, and
  16        stream on the hypothetical Oyo B well that wasn't, of      16      those haven't been included. You could have a payment
  17        course, actually drilled but exists in the "but for"       17      that occurs after 28 June 2012 that relates to goods and
  18        world, leading to the significant differential oil         18      services supplied in that period, and that would be
  19        production in that period, 2012 through to 2015. And       19      included. So it's about the date of the provision of
  20        that is the heart of the value, if you like, or the        20      the goods and services, and so I removed 1.6 --
  21        difference in the two lines leading to the value in the    21      principally -- million dollars -- principally for the
  22        counterclaim.                                              22      reason that although it wasn't recorded in NAE's
  23           So unless there are any questions from the Tribunal     23      accounting systems until 2012, it actually related to
  24        on the counterclaim, I shall move on to the final          24      a period prior to 31 December 2011. There is one small
  25        adjustment statement.                                      25      wrinkle on that at the end, which is the very last point

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   1     THE CHAIRMAN: Excuse me, so it is the first amount on the      1      I will deal with.
   2       left-hand side which reflects the drilling of the newer      2         So that then leads to an updated amount of $46.5
   3       wells?                                                       3      million. There is then how much of that is supported by
   4     MR GOOD: Oyo B in the "but for" is forecast to come on         4      documentary evidence, and that is such as an invoice or
   5       stream in mid-July 2012.                                     5      a NAE internal documentation such as a recharged debit
   6     THE CHAIRMAN: I can't quite read the dates. So it's the        6      note from another Eni Group company, and that's
   7       first kind of --                                             7      $45.4 million.
   8     MR GOOD: That big peak is Oyo B coming online.                 8         Then moving down, the amount supported by payment
   9     THE CHAIRMAN: Okay. Very good.                                 9      evidence, and here there's payment evidence for
  10     MR GOOD: So moving on to the final adjustment statement       10      $37.7 million of that $45.4 million. And then there are
  11       and, again, as I mentioned, the computation they're are     11      a couple of sort of cuts of that. One can cut these
  12       looking at the invoices, the bank statements is agreed      12      figures, it feels like, innumerable ways but there are
  13       with Mr Taylor. There are a few questions of principle,     13      two particular cuts highlighted here. Of the amount
  14       however.                                                    14      supported by third documentary evidence, the amount
  15          First of all, of course, there is the question --        15      which relates to goods and services received prior to
  16       a legal and factual question about whether it is right      16      28 June 2012, 42.5 million, and then of that amount the
  17       simply to take the amount on the final adjustment           17      amount which is supported by payment evidence,
  18       statement and say that has not been disputed. Of            18      $36.9 million.
  19       course, that's not something I can speak about, but that    19         So before I talk about the points of disagreement,
  20       as I understand it is NAE's case.                           20      just very briefly to touch on the price adjustment
  21          That is a number of $48.1 million, which is the top      21      mechanism in the SPA and the process that was set out in
  22       right number on this table. That is then split by           22      the SPA and amended SPA. There were 20 working days for
  23       Mr Taylor into two columns, permitted and non-permitted,    23      NAE to produce the final adjustment statement. And
  24       and I will speak about those in a minute. So those are      24      then, as per the amended SPA, there was ten days, as
  25       the two columns to the left of the total.                   25      I understand it, for that to be disputed, followed

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   1      potentially by a period of five working days for            1     a strict analysis, 1.1 is not supported by documentary
   2      discussions. That is relevant when we come on, in           2     evidence, and that's agreed with Mr Taylor.
   3      particular to the question of payment evidence.             3        And then of the amount that's supported by
   4         So the first point of disagreement is whether items      4     documentary evidence, 2.7 million is in respect of --
   5      are permitted or non-permitted. I haven't formed my own     5     has documentation only from related parties. So 1.7 of
   6      personal view on that, and I am in not instructed to        6     that 2.7 is back to this operating activity indirect
   7      form a view. Just, however, to highlight as a matter of     7     share and the rest are principally allocation of
   8      arithmetic what is in the non-permitted column and what     8     helicopter charges, so the helicopters operated for
   9      makes up the difference, the vast majority of it is in      9     a number of Eni's Nigeria operations, they were invoiced
  10      relation to GSO rather than costs that were incurred in    10     by Bristow, the helicopter company, to a different Agip
  11      that first half of 2012. There's 4.8 million of GSO        11     Eni company in Nigeria, who then invoiced the different
  12      costs paid by NAE, which I understand NAE consider under   12     ventures. There are some quite detailed invoices from
  13      the side letter should be recharged, and under the SPA     13     that Eni Group company with the helicopters, the hours,
  14      to the respondents.                                        14     pages and pages of it allocating it out on an hours
  15         There is also 4.6 million of taxes which were paid      15     basis, and in some cases we have the underlying Bristow
  16      by NAE, although the principal amounts were paid by        16     invoices, and in some cases we don't, and so the amount
  17      Allied or another company of the respondents, and          17     where we don't have the underlying Bristow invoices are
  18      they've all been paid -- principal amounts have been       18     characterised here as having only documentation from
  19      paid. Just to explain briefly how those taxes arise,       19     related parties because we don't have the underlying
  20      you may have an invoice for 1 million and then there may   20     sort of third party cost.
  21      be VAT on top of that, and also deducted from that is      21        And then on my final slide there is a question, of
  22      Nigerian withholding tax, and then a further local tax     22     course, about whether or not payment evidence is
  23      as well. So the amount you pay to the supplier may be      23     required, and it's helpful, I think, to illustrate that
  24      900,000 out of that 1 million invoice, and then there      24     by looking at the 7.7 million for which there is no
  25      may be a further amount which is due to the tax            25     payment evidence. 1.9 million relates to the provision

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   1      authorities which is paid separately.                       1     of security vessels, and there is no evidence of that
   2          So just returning then to the topic of what's been      2     being paid. I note there was a budget, a preliminary
   3      classified by Mr Taylor as non-permitted, there is          3     budget, for 2012 with an amount of 5.4 million for
   4      operating activity indirect share of 1.7 million, of        4     security vessels, and then the half-year amount is
   5      which 1.1 million of this relates to the provision of       5     1.9 million. But there is no direct evidence in terms
   6      production personnel, and then some smaller amounts.        6     of bank statements and payment orders of those amounts
   7          Moving on then to the level of documentary evidence     7     being paid.
   8      required to support the costs. There's 1.1 million          8        There is 2 million in respect of amounts due to
   9      that's not supported by documentary evidence, as I've       9     Nigerian tax authorities, and this is where, if we go
  10      classified it. It is worth noting there that, you know,    10     back to the $1 million invoice with the 900 payable to
  11      as with all of this there are shades of grey. So, for      11     the contractor, we have evidence of the payment of the
  12      example, within that within 1.1 million of not supported   12     900. What we don't have is the evidence of the payment
  13      by documentary evidence, there are some charges where      13     to the tax authorities of the other 100,000 that makes
  14      the whole charge is split on two invoices, for example,    14     up the 1 million. They are bundled together on
  15      40 per cent invoiced in local currency, 60 per cent        15     a monthly -- the payments for Nigerian tax authorities
  16      invoiced in US dollars. We have the invoices for the       16     are based on charges paid in a particular month, and the
  17      40 per cent invoiced in local currency. We don't have      17     documentary link between those payments and the
  18      the invoices for the 60 per cent. So the way I've          18     underlying invoice that gave rise to the liability is
  19      classified that is that the 60 per cent items are          19     not particularly strong at times. So it is quite hard
  20      considered to be not supported by documentary evidence,    20     when you have a lump sum payment to Nigerian tax
  21      albeit that we do have the invoices for the other          21     authorities sometimes to work out exactly which invoices
  22      40 per cent that clearly state they are 40 per cent.       22     that relates to.
  23      So, again, one could say that some of that not supported   23        And then 2.8 of the 7.7 is back to this related
  24      is in fact supported by that or by other means, such as    24     parties point. Again, with the big amount being the
  25      it's in a regular period of payments, et cetera. But on    25     indirect operating share.

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   1          And then the final category is whether it is                      1     relation to how that was calculated you say:
   2       appropriate to include amounts for goods and services                2        "The way in which this figure in these tables has
   3       after 28 June. This is a small amount. It is                         3     been computed though is quite different. It doesn't
   4       0.3 million.                                                         4     bear ..."
   5          The largest single amount is 200,000. This was the                5        Sorry, the second point to pull -- did I mark the
   6       importation licence for the -- the temporary importation             6     right place? Goodness. Right:
   7       licence for the FPSO. They paid for a 12-month licence               7        "The way in which this figure in these tables has
   8       in -- well, they paid in April on an invoice from March.             8     been computed though is quite different and doesn't bear
   9       Clearly, an element of that importation licence relates              9     any relation to that figure."
  10       to the period after the end of 28 June. I haven't seen              10        And there you are talking about the 570 figure:
  11       any suggestion that Allied didn't continue to receive               11        "This has been computed as the difference between
  12       the benefit of having the importation licence, but on               12     based on looking at Dr Moy's column and estimated future
  13       a strict reading part of that charge does relate to the             13     oil production at the date in an actual scenario and
  14       period after 28 June, albeit that part of it relates to             14     a scenario 'but for' what is complained of and the
  15       prior and was a 12-month licence, and so that's the                 15     values are there are 150 million as an estimated actual
  16       final amount of difference in the final adjustment                  16     value and that date and approximately 180 million but
  17       statement numbers.                                                  17     for the matter that was complained of."
  18          Thank you.                                                       18        Remember that?
  19     THE CHAIRMAN: Thank you very much. Mr Wade.                           19        And I'm not sure I read it very well or perhaps it
  20                Cross-examination by MR WADE                               20     sounded better when you said it --
  21     MR WADE: Thank you, Mr Good.                                          21   A. I hope so.
  22          Before I turn to a number of questions that                      22   Q. My question is, you're describing the way in which these
  23       I have -- I hope we will be able to finish them within              23     figures were calculated, and the way they were
  24       the 30 minutes I indicated, so there aren't many,                   24     calculated, as I understand them, is the estimated
  25       hopefully -- one question on your slides, would you like            25     future oil productions in the actual scenario compared

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  1        paper copies of the slides or are you happy with what                1       with the estimated future production, both of them are
  2        you have on your screens?                                            2       reduced to net present value, and the larger is taken --
  3      THE CHAIRMAN: As a general matter we're happy I think with             3       the smaller is taken away from the larger and the
  4        what we have on the screens. By the way, just for your               4       resulting amount is either the damage, which we see
  5        information, we have electronic copies of Dr Moy and                 5       there as 28 -- the loss 28,000,000.3 or in square
  6        Mr Filippi's presentations, but not of all of the                    6       brackets the amount in excess of the market value of the
  7        experts, and we would appreciate having all of them.                 7       asset; is that correct? That is how I understood your
  8        You have probably sent them ahead to us but I couldn't               8       explanation. And my question is -- then let me ask
  9        locate them. Sorry to interrupt.                                     9       a question?
  10     MR WADE: That's very useful. I will also say that since               10   A. Can I just clarify, you've moved to a concept there of
  11       we're talking about documents, we will be looking at                11       market value. I'm not sure I discussed market value per
  12       some of the schedules to your joint report and some                 12       se. One could say market value is what it was sold for,
  13       others, and even on the A4 version they are quite small,            13       but the rest of the explanation absolutely I agree with,
  14       so I have larger A3 reproductions of them here, which               14       and it's looking into the future from that date, what's
  15       I think you will appreciate because you won't have them             15       the future cash flows expressed as a lump sum at that
  16       on screen, and I can't see them very well on A4.                    16       date on a actual situation and a "but for" the matter
  17         But before we go to all of that, just on page 2 of                17       complained of situation.
  18       your presentation when you were talking about the loss              18   Q. And my question in relation to that process is, do you
  19       of the sale to CPL entry. Do you remember that? That's              19       disagree with that method of calculation? Is that the
  20       on page 2, if you want to flick back so you can see it.             20       appropriate method to calculate this kind of loss that
  21       Have you already?                                                   21       is complained of, in your view?
  22     A. Yes.                                                               22   A. Well, it's an arithmetical way of coming to this number.
  23     Q. You have. Fantastic. And when you described the way in             23       If you know that the asset was sold for -- asset plus a
  24       which this loss, which I know you don't accept on the               24       few resources, some resources was sold for -- was sold
  25       basis of Mr Filippi's forecasts it's not a loss, but in             25       for 570 million, and then the value, if it is damaged or

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  1        not, is below 200 million, then there is a question                  1        read Dr Lawal -- Dr Lawal.
  2        about whether you could have got more than the                       2   Q.     Lawal. Did you read the cross-examination of Mr Casula?
  3        570 million you actually got if the asset hadn't have                3   A.     I think I was --
  4        been, as is alleged, damaged.                                        4   Q.     That was on Day 4?
  5      Q. So you accept, then -- I think you accept that the                  5   A.     Yes, I think I have --
  6        process of discounting future income in the actual                   6   Q.     Okay, I have a copy --
  7        forecasted scenario and the "but for" forecasted                     7   A.     -- but no doubt you will take me to a particular point.
  8        scenario and comparing them is an appropriate way of                 8   Q.     Let me give you the relevant documents, should I be able
  9        calculating damages in these circumstances, and you have             9        to find them at all. (Pause).
  10       a caveat to that, which you've just explained.                      10            For ease of reference, you probably have them
  11     A. I have a caveat that where you know what it was actually           11        electronically. (Handed)
  12       sold for that that needs to inform your question about              12            This is an excerpt, it is not the entire day but the
  13       whether there was actually a loss. The answer, sorry,               13        entire day is available to all of us. Can you please
  14       to your question about whether there was actually                   14        turn to page 38, at lines 5 to 9, and have a quick look
  15       a loss.                                                             15        there. By way of context, I was asking Mr Casula
  16     Q. Okay. But in principle the process is something that               16        questions about why NAE had failed to pay certain costs
  17       you accept and you are used to you, you know and                    17        incurred by Allied on behalf of NAE, and his response to
  18       understand?                                                         18        me was that:
  19     A. I understand the process, yes.                                     19            "NAE couldn't -- could not pay simply receiving
  20     Q. And you think it's appropriate but subject to that                 20        an email, even a short letter saying we sent X million
  21       caveat that you've mentioned?                                       21        dollars. We want to see -- because when we have
  22     A. Subject to that caveat.                                            22        internal audits we have an auditor from third parties,
  23     Q. Turning back then to your reports, you looked at the               23        we have to see all the proper supporting documents."
  24       reports in your bundles and this is not something I am              24            And then skipping a few lines down at line 18 --
  25       going to take you to but I am mentioning for the                    25        lines 18 to 23:

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  1        Tribunal, should you ever wish to look for the                       1          "Again, we pay when we get -- or from the supplier
  2        appendices to Mr Good's report you won't find them in                2       all the proper supporting documents duly certified by
  3        the bundles you looked at. They are in bundle F32, and               3       the on board representative. Not if we receive
  4        I am not sure that we need to go there at all, but                   4       an invoice without all the attachments, we cannot pay
  5        that's just a reference point for you.                               5       [Later, that might be]. Later on somebody can obviously
  6           Can I ask you, please, to tell me whether you were                6       argue that we follow the wrong procedure."
  7        assisted by anyone in preparing these reports?                       7          My question broadly about that is, that sounds
  8      A. Yes, I was, as I set out I think in the first section of            8       sensible to you, doesn't it?
  9        my report.                                                           9   A. In the context of NAE paying costs to third-party
  10     Q. Who were you assisted by?                                          10       suppliers, very broadly, yes.
  11     A. I was assisted by two colleagues who are sitting over on           11   Q. And it is right also that the supporting documents that
  12       my left, principally, Ms Stewart and Ms Scott.                      12       he was looking for included invoices and their
  13     Q. Anyone else at all?                                                13       attachments. That's an appropriate document to look
  14     A. Yes, there were others helped check. There were others             14       for, isn't it?
  15       who helped prepare some of the modelling work.                      15   A. Yes, and invoices -- and appropriate documentation, yes.
  16     Q. Everyone from KPMG, then?                                          16       And it may need the attachments.
  17     A. All the people who helped prepare this report, yes, from           17   Q. And proof of payment is also an appropriate -- it's is
  18       KPMG. I would say the people from Navigant helped with              18       not mentioned in his comments but it's also
  19       the joint statement because that was a collaborative                19       an appropriate document -- supporting document to look
  20       process.                                                            20       for, isn't it?
  21     Q. Thank you. Now, you also told us that -- although                  21   A. Well, it's -- it's a supporting document you could look
  22       I think you were here on the first day or the second                22       for. The question is appropriate for what?
  23       day -- but you read the transcripts for the day that you            23   Q. Appropriate for reclaiming a cost you've expended.
  24       weren't here?                                                       24   A. In a financial statement audit, for example, you don't
  25     A. I haven't read every day, every transcript, no. I did              25       look for payments when you're looking at a list of

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  1        expenditures. Is it a necessary condition? In all                   1     possibly, yes.
  2        circumstances, I can't imagine that it would be, no.                2   Q. What about accruals?
  3      Q. And so there are circumstances in which you can make               3   A. Well, an accrual is not a type of document, it's
  4        a claim for costs without proving that you've expended              4     a record of an expected future expenditure. And
  5        the cost. Is that what you're saying?                               5     certainly for a final adjustment statement produced
  6      A. Yes.                                                               6     20 days after the period end, then I would be very
  7      Q. Can you give me examples of those circumstances?                   7     surprised if there weren't accruals in there, because
  8      A. When I bill NAE for a hotel, I won't be proving that               8     you wouldn't know at that point all the details of all
  9        I've paid the hotel for NAE. I will be giving them the              9     the costs you might not have been -- you might well not
  10       invoice from the hotel. That's a very superficial                  10     have been invoiced for some of the costs that relate to
  11       example, but there are plenty of circumstances where you           11     that period yet.
  12       provide the invoice but you don't necessarily provide              12   Q. And my final question about that, is there any hierarchy
  13       the proof that you've paid that invoice.                           13     which you would expect to see? Is there are a hierarchy
  14     Q. NAE is clearly a very generous invoice reimburser. Are            14     in the sense that you would accept some types of proof
  15       there any other business-related circumstances you can             15     of payment as establishing a claim and some which are of
  16       think of, other than your personal hotel bills?                    16     a lesser value in that regard?
  17     A. Well, it doesn't have to be personal hotel bills. It              17   A. Well, I think the fact that I've broken out the third
  18       can be any third party disbursement.                               18     party documentation from an internal NAE
  19     Q. Okay. Any third parties. All right.                               19     documentation -- or Eni documentation, rather,
  20          Can you think of any other appropriate supporting               20     acknowledges that an invoice from a related party from
  21       documents which you would expect to see?                           21     a group company, you have to look at it in a slightly
  22     A. Well -- and this is in the context that you don't --              22     different way. On the other hand, for indirect
  23       this is not a menu from which you have to have                     23     operating overhead, that is all there is going to be
  24       everything. It's you form a view based on the documents            24     because by its very nature it's a parent company cost
  25       available but, for example, you might look for the                 25     that's being charged down to you, and then also you

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  1        contract, so for a large long-term project you would                1       might look at, for example, the helicopter invoices and
  2        look for a contract.                                                2       think, well, these are very detailed, they are very
  3      LORD HOFFMANN: Mr Wade, are you asking him about his                  3       specific, they relate to specific trips, specific times,
  4        methodology and Mr Taylor's methodology for working out             4       you can see the allocation methodology is very clear on
  5        the sums that they have done or are you seeking to                  5       them, and we may be prepared to accept them. But as
  6        establish kind of custom of the trade in respect of the             6       a general rule you might apply a different level of
  7        demand on you for the adjustments?                                  7       thinking when you looked at a related party invoice as
  8      MR WADE: I am asking for his opinion as an expert on what             8       compared third party invoice.
  9        he might expect to see, because --                                  9   Q. And the third party invoices would rank higher?
  10     LORD HOFFMANN: But wouldn't the contract specify what you            10   A. Potentially, yes.
  11       were entitled to see?                                              11   Q. Okay.
  12     MR WADE: Well, if the contract leaves room for doubt his             12   THE CHAIRMAN: Mr Wade, may I? Mr Good, I believe but
  13       opinion might be relevant.                                         13       correct me if I am wrong, there's a difference of
  14     LORD HOFFMANN: So you are seeking to establish a custom of           14       opinion between you and Mr Taylor with respect to the
  15       the trade?                                                         15       charging of internal employees costs, am I correct in
  16     MR WADE: I wouldn't say -- well, a custom of the                     16       that?
  17       dealings -- a custom of the trade, yes, I accept that.             17   A. So this is the 1.7 million of indirect operating
  18     LORD HOFFMANN: Thank you.                                            18       overhead, yes, that appears in pretty much all the
  19     MR WADE: Would you care to answer -- the question was: are           19       categories in the presentation, both no third party
  20       there any other types of supporting documents you would            20       documentation and then no payment and whether permitted
  21       expect to see in a cost refund claim?                              21       or non-permitted.
  22     A. As I say, it would --                                             22   THE CHAIRMAN: So you take the view that certain costs of
  23     Q. You said contract. What about internal accounts, is               23       NAE employees were allocated probably to the Oyo GSO or
  24       that an acceptable supporting --                                   24       whatever but, therefore, are properly part of the
  25     A. It will depend on the nature of the charge but quite              25       positive adjustment; correct?

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  1      A. Essentially, partially, sorry. Under annex B,                    1       but it will just be a little bit more boring if we do --
  2        Schedule 2 of the PSC, which effectively sets out the             2       but you explain and set out the operation and effect of
  3        rules between the parties, it is very much envisaged              3       Articles 8, paragraph 4 of Article 4 of annex B, which
  4        that those types of costs can be charged to the joint             4       you just mentioned in your response to the chairman's
  5        account. Whether they are permitted or not permitted              5       question.
  6        under the terms of the amended SPA is not really                  6         You deal with Article 8.1(a) and (c) and -- sorry,
  7        something I can get into. And then just to note that              7       8(1)(a)(c) an Article 8.3 and Article 8.1(b) and
  8        1.1 million of that is, if you like, NAE personnel, it's          8       Article 8.1(d), and I think 8.1(e) as well.
  9        operating costs of the FPSO, it relates specifically to           9         My question to you really is whether, having looked
  10       the FPSO as opposed to overhead.                                 10       at all of those Articles and paragraphs of the annex and
  11     THE CHAIRMAN: But the contractual basis is the annex to the        11       explaining them, did you have any difficulty in
  12       PSC for you for charging those costs, is that --                 12       reviewing those Articles and understanding their effect?
  13     A. While acknowledging that the amended SPA mill have              13   A. These Articles set out the cost -- cost splitting, if
  14       something to say about whether in these circumstances it         14       you like, and the cost recovery, the way in which the
  15       is appropriate to include them in the final adjustment           15       gross revenues are to be calculated and then split and
  16       statement.                                                       16       allocated between the co-venturers for want of a better
  17     THE CHAIRMAN: Did either you or Mr Taylor look at the past         17       word. It is a complex mechanism, but you can work your
  18       practices with respect to charging those costs?                  18       way through it.
  19     A. Yes, I tried to. The Schedule B ones are very high              19   Q. And you worked your way through it without any help from
  20       level unfortunately. So they don't give a detailed               20       any lawyers, didn't you?
  21       breakdown of the costs to enough level to enable me to           21   A. Well, I had Mr Bamford and Mr Taylor's report to help me
  22       work out whether they were in there. But they were               22       understand it.
  23       certainly envisaged in the PSC.                                  23   Q. But you checked the PSC yourself, I assume?
  24     THE CHAIRMAN: Thank you.                                           24   A. Yes.
  25     MR WADE: Which is a convenient moment to ask you to open           25   Q. And you understood that what Mr Taylor was saying was


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   1       your report, which is at D2, tab 5. The chairman just             1       correct, didn't you?
   2       asked you about certain aspects of the PSC, or at least           2   A. The way in which he'd mathematically applied the PSC was
   3       you answered with regards to certain aspects of the PSC,          3       correct in his financial model, yes.
   4       and can you go to paragraph 2.3.1 or section 2.3, which           4   Q. And you weren't helped by any lawyers in doing this
   5       is at page 256 of the bundle. I am just going to skip             5       process, were you?
   6       through some of the paragraphs here quite quickly but             6   A. No.
   7       stop me if you'd like to.                                         7   Q. So whilst we're in your statement, can we go, please,
   8          At 2.3 -- in that section generally you set out your           8       now to paragraph 5.1.9, which is on page 298, all the
   9       understanding of the operation of the PSC. That's what            9       way at the end there. And in that paragraph you note
  10       you say there.                                                   10       that after you received Mr Taylor's report and you
  11     A. Yes.                                                            11       reviewed it -- and I think NAE -- you say there that NAE
  12     Q. And that's correct, isn't it?                                   12       further reviewed the items within the positive
  13     A. Yes.                                                            13       adjustment and they provided you with additional --
  14     Q. And 2.3.2 you provide an overview of Articles 6,                14       well, they it provided, it says here, but I am assuming
  15       recital 1, Article 7.4A(i) and Article 7.4A(ii) of the           15       they provided them to you first -- they provided
  16       PSC; is that correct?                                            16       additional supporting information in respect of its
  17     A. Certainly the Articles referenced in the footnotes, yes.        17       updated schedule. The updated schedule I think is the
  18     Q. Are those the Articles?                                         18       final adjustment statement; is that correct?
  19     A. I don't have an encyclopedic knowledge of the PSC to            19   A. Yes, that's additional to the material that was attached
  20       know whether other aspects of the PSC are also reflected         20       to Mr Taylor's report.
  21       in this paragraph, but --                                        21   Q. Okay. And can you turn briefly to paragraph 5.2.10,
  22     Q. All right. But those are the ones you refer to?                 22       which is on page 302. Sorry, page 300. There again you
  23     A. Yes.                                                            23       have a reference to NAE collating further evidence of
  24     Q. And in the following paragraphs, 2.2.3 down to 2.3.6 you        24       amounts paid and providing them to you as well,
  25       explain -- and we can go through each one if you want            25       I resume. You don't say it there, but I presume it was

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   1       provided to you, is that correct?                                    1       the first and only evidence Mr Taylor had been provided
   2     A. Yes, this is material trial that wasn't attached to                 2       with, as he says, and I'm not disputing or doubting that
   3       Mr Taylor's report. It was then provided to me by                    3       for one moment but just simply the source of that
   4       NAE --                                                               4       comment for the first time with his report.
   5     Q. And then now to page 302 to paragraph 5.2.17, and again             5   Q. So you don't know when these documents were provided to
   6       there is a reference there to:                                       6       Mr Taylor for the first time is what you saying
   7          "Additional information now being provided to me by               7       effectively?
   8       NAE."                                                                8   A. He says it with his report, and I'm absolutely saying --
   9          And the examples of the additional information you                9   Q. Actually he says it was with your report.
  10       were given there were invoices reflecting amounts which             10   A. Sorry, with my report, and I am absolutely -- if that's
  11       were initially included within accruals.                            11       what he says, then I'm very happy to accept that.
  12     A. Yes.                                                               12   Q. Okay. And so equally you haven't looked at the
  13     Q. Were there other invoices that were given to you at that           13       computation, so you don't know whether the computation
  14       time?                                                               14       is right or wrong?
  15     A. I can't be definitive. My recollection is that that was            15   A. Well, in terms of --
  16       the principal reason in respect of invoices.                        16   Q. The 21 million --
  17     Q. Okay. Can I ask you now to turn to Schedule 7,                     17   A. -- whether it adds up.
  18       appendix 7 of your joint report with Mr Taylor, and this            18   Q. -- at the bottom there?
  19       is one of those documents which I think you might                   19   A. I haven't add it up, no.
  20       benefit from a larger copy, that's assuming, of course,             20   Q. You haven't added it, okay. So when it's stated as not
  21       that I have it. I can't read this in A4, so if you're               21       agreed by you, it's not that you disagree with anything
  22       stuck with an A3 you are even worse off. (Handed).                  22       you just haven't checked anything?
  23          Now, as I should say straightaway that although this             23   A. Correct.
  24       was provided as an attachment to your joint report, this            24   Q. Okay. Then, that helps us with that one. Turning to
  25       is not an agreed attachment. This is a schedule of                  25       appendix 3 of your joint statement --

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  1        costs -- well, it's an appendix that you don't agree to.             1   PROFESSOR LEW: Are we done with this?
  2      A. I'm not saying I don't agree, it's just something                   2   MR WADE: We have. I am sure you will want to frame it and
  3        that --                                                              3       keep it forever but we have for now. Again I have
  4      Q. That's what you said.                                               4       a larger -- it is not exactly -- I am told it's not
  5      A. -- that is not relevant to my work and that I've not                5       an exact copy, it's reformatted, but all of the data is
  6        looked at.                                                           6       exactly the same within -- apparently to make it larger,
  7      Q. Okay. Well, in this schedule Mr Taylor set out the                  7       if you just print it out on A3 you get the same size of
  8        details of 21.3 million -- an explanation of the                     8       text.
  9        21.3 million related to the permitted items that were                9         Can I ask you to look, please, at the left-hand box
  10       incurred in the relevant date, and which are supported              10       in that under the heading -- it is four from the left --
  11       by payment evidence provided by -- to Mr Taylor for the             11       "Amounts supported by documentation internal or
  12       first time with the publication of Mr Good's report.                12       external".
  13       Now, I was going to ask you, and I believe you've                   13   A. Yes.
  14       already answered that question, what part of this you               14   Q. Am I correct in understanding or am I just -- never mind
  15       didn't agree with? Did you not agree or do you not                  15       my understanding, am I correct that you were able to
  16       agree that these documents were provided -- the                     16       agree the figure of -- I am going to go down the figures
  17       documents listed here were provided for the first time              17       but ultimately the figure of 45,421, were you able to
  18       with your report?                                                   18       agree these figures as a result of the additional
  19     A. I simply haven't been through and ticked off as                    19       documents that were provided together with your report?
  20       an exercise whether the documents were not attached to              20   A. The number would have been different if I'd only relied
  21       Mr Taylor -- firstly, whether the documents were or                 21       on the information attached to Mr Taylor's report.
  22       weren't attached to Mr Taylor's report and, therefore,              22       Could I only agree -- some of the numbers, I think
  23       fit the category of the title and, secondly, whether                23       I would have been able to agree or they would slightly
  24       there was other payment evidence already attached to my             24       different and are augmented or changed by the material
  25       report which this merely augmented or whether this was              25       attached to my first report.

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  1      Q. Indeed, you say augmented. Some of the figures actually              1       But in summary, there seems to be a legal and factual
  2        become larger as a result of the documents and some                   2       dispute about the GSO costs, which make up the bulk of
  3        reduce --                                                             3       the non-permitted items, and then there is this question
  4      A. Yes.                                                                 4       about the wording in the amended SPA about potentially
  5      Q. -- as a result of the documents provided by you for the              5       agreeing or including other costs as may be agreed, and
  6        first time.                                                           6       those to me give sufficient -- well, they are uncertain.
  7      A. By NAE to me, yes.                                                   7       I would -- I don't think as an accountant I could easily
  8      Q. By NAE to you and then by you to Mr Taylor --                        8       come to a view at all.
  9      A. Yes.                                                                 9   Q. Let's break that down into two, please, and I remind you
  10     Q. -- the first time. So when you compared the documents               10       that you told me a short while ago that you were able to
  11       to the figures claimed, you were then able, on the basis             11       construe the very complex provisions of the PSC with
  12       of those documents, to agree the figures on that column              12       regard to the allocation of costs, and so even though
  13       and, indeed, in the next column down. So in the                      13       you're an accountant this is something you have
  14       "Amounts supported by payment evidence" you were able to             14       testified you are able to do. But looking just --
  15       agree that as a result of the documents provided with                15   LORD HOFFMANN: I am not sure that's a fair way of putting
  16       your report or --                                                    16       it, because he didn't suggest that there was any
  17     A. Again, the number would have been different, but for the            17       difficulties of construction about the allocation of
  18       material that is attached to my report that wasn't                   18       costs, he just said it was a complicated exercise, and
  19       attached to Mr Taylor's report, yes, and --                          19       he went through it. What you're now asking him about is
  20     Q. Now, do you still have your statement open? Your                    20       really the construction of the contract. What does it
  21       statement, is it nearby?                                             21       mean?
  22     A. Yes.                                                                22   MR WADE: And I am asking whether he feels --
  23     Q. Or the joint -- anyway, finally with regard to the final            23   LORD HOFFMANN: Well, I can tell you he can't tell us what
  24       adjustment statement, but touching on the admitted/not               24       it means, we decide what it means.
  25       admitted issue, at paragraph 5.2.4 of your report you                25   MR WADE: I accept your admonition with respect, and I will

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  1        say that you don't -- and you said as much in your                    1       just ask him then about the categories of costs, which
  2        introduction -- you didn't give an opinion in relation                2       seem to be a simple accounting exercise, in my view.
  3        to Mr Taylor's categorisation of the items as permitted               3   LORD HOFFMANN: Yes.
  4        or not permitted. And although you didn't say so                      4   MR WADE: Not a question of construing individual words.
  5        expressly, is it fair to say that you didn't give                     5   LORD HOFFMANN: Right.
  6        an opinion because you were instructed not to?                        6   MR WADE: So from the point of view of an accountant, who is
  7      A. I was -- I've been asked from the outset -- told from                7       not a lawyer, even though it can and has read complex
  8        the outset that I don't need to consider that, and asked              8       legal documents, would it be within your competence to,
  9        not to consider it. Obviously I've read the amended                   9       if you were instructed, look at the categories of the
  10       SPA, and clearly based on the cross-examination of some              10       final adjustment statement, so the individual claims,
  11       of the witnesses there's been some questions in                      11       things such as security vessels, maintenance repairs,
  12       particular about the GSO costs and whether they should               12       and form a view as to whether they were or were not
  13       be included and also the wording of the amended SPA and              13       included in the permitted -- or to be included in the
  14       whether that covers or doesn't cover items potentially               14       costs to be claimed under the final adjustment
  15       that aren't in that list of 12.                                      15       statement?
  16     Q. But within about eight words of the beginning of your               16   A. So we have to, I think, set aside the GSO costs because
  17       answer you said you were told not to consider that                   17       that --
  18       categorisation --                                                    18   Q. That's what I was doing.
  19     A. Yes.                                                                19   A. -- would be a construction question. There is then the
  20     Q. -- and that's the reason you didn't; is that correct?               20       question about the wording about other costs as agreed,
  21     A. Yes.                                                                21       and I think you're telling me just to set that aside for
  22     Q. Good. And then my next question about this is whether               22       the purposes of this --
  23       you consider yourself competent to?                                  23   Q. Yes, I am just looking at the list.
  24     A. I think I possibly went on to answer that with the                  24   A. -- exercise. So I set that aside. So as a hypothetical
  25       first -- the second part of -- to your earlier question.             25       question having set aside that part of the amended SPA,

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   1       can I then attempt to characterise the other -- I think      1   Q. Are you answering "no" to my question then, about
   2       it is 1.8/$1.9 million --                                    2     your --
   3     Q. I wasn't asking about money, I was asking about the         3   A. I don't think I can, no.
   4       categories.                                                  4   Q. All right. Moving on then to the question of the sale
   5     A. Yes. So I may refer to my slide if that's okay.             5     to CPL, returning to that question. You already helped
   6       I expect my computer has gone to sleep. I don't know if      6     us with that a little bit.
   7       you have a hard copy.                                        7        In the joint report at paragraph 3.2, which is at
   8     Q. If you look at the big page I --                            8     E3, tab 6, 315, we might not all need to go there, but
   9     A. Would it be possible to have a hard copy of my slides?      9     I saw Mr Good was going there so I slowed down. As you
  10     Q. Of course. (Handed).                                       10     said in your presentation, you agree with the
  11     A. So I think then the question would be: is it possible to   11     calculation performed by Mr Taylor; correct?
  12       allocate operating activity in direct share, the IT         12   A. Yes.
  13       costs, the telecom services and the bank commission?        13   Q. And applying Mr Filippi's forecasts you reach
  14     Q. Which page are you looking at?                             14     a different result of your own; is that correct?
  15     A. I'm looking at slide 5.                                    15   A. Well, not on my own but, yes, we both reach a different
  16     Q. Slide 5, yes. Take those as an example.                    16     result.
  17     A. Well, I think they are the items pretty much. IT costs     17   Q. Okay. Sorry, a different result was reached and you
  18       and telecom services, again, sorry, I would need the        18     agree with it --
  19       wording of the amended SPA in front of me to do the         19   A. Yes.
  20       allocation exercise.                                        20   Q. -- applying Mr Filippi's forecasts. And then on the
  21     Q. That's at bundle A. (Pause).                               21     following page, at point 3.3, you set out the reasons in
  22     MR NESBITT: Sorry, Mr Chairman I don't want to interrupt      22     summary for your disagreeing that Allied suffered a loss
  23       Mr Wade's, flow but I'm entirely sure what the point of     23     of $28.3 million. And I think it's fair to say that you
  24       this exercise is because it is a matter on which Mr Good    24     set them the in summary there, not in full, because you
  25       said he hadn't been instructed, and it's a matter of        25     do in report set them out in greater detail. But tell

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   1       construction of the contract for the Tribunal, if indeed     1     me if I am fairly summarising your view. The reasons
   2       Mr Wade is trying to get him to perform the exercise he      2     for your disagreement is that the 2014 sale price to
   3       appears to be getting him to perform.                        3     CPL, around $576 million for the NAE beneficial interest
   4     MR WADE: So let me clarify what I am trying to do. The         4     was higher than the modelled "but for" market price of
   5       question is whether he was competent, in his opinion, to     5     215 million for that interest?
   6       do so, I'm not asking him to do so. So that is the           6   A. Well, the modelled amount has gone down, firstly, as
   7       extent --                                                    7     a result of Dr Moy's changes to about 180 but, secondly,
   8     MR NESBITT: Well, that's a yes or no answer, really.           8     I am not sure that's the right comparison because the
   9     MR WADE: Yes --                                                9     question is what the -- the one-fifth -- I think the
  10     MR NESBITT: I think he said no.                               10     right comparison is to the 150, which is the actual. So
  11     MR WADE: But Mr Good wants to go to these documents and       11     the comparison -- sorry, I am confusing everybody,
  12       I am going to prevent him.                                  12     including myself, I think. The comparison is the 576 or
  13     THE CHAIRMAN: I think the expert asked to look at his         13     574, according to Dr Lawal, of sale price versus what it
  14       slides. The expert is now looking at the slides and         14     was actually worth, 180, in the "but for".
  15       will answer the question, and we'll see where that leads    15   Q. Yes.
  16       us.                                                         16   A. Yes.
  17     MR WADE: You also wanted to look at bundle A/2 -- A, tab 2,   17   Q. So I think from your comments, and perhaps this is the
  18       page 66.                                                    18     source of the confusion, you agree that the price of the
  19     A. So I am on page 66, the very bottom line. I think any      19     sale to CPL of 576 million is not properly comparable
  20       attempt to allocate these costs, to give a relatively       20     with the "but for" price that was calculated by
  21       short answer, will depend on the construction of the        21     Mr Taylor, because Mr Taylor is only calculating the
  22       provision and operation of maintenance services and         22     "but for" value of the income stream from the Oyo
  23       whether these costs fell within that category or indeed     23     central field?
  24       any of the other categories, but in particular the          24   A. Yes. And, as I indicated in my presentation, the
  25       provision and operation of maintenance services.            25     overall NAE beneficial interest will include the rights

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  1        to resources not part of Oyo central. As I set out in                1       market -- fundamentally you're taught as the 101 of
  2        the joint statement, certainly the (inaudible) valuation             2       market valuation it is worth what someone is prepared to
  3        values that at about 10 or $11 million, although there               3       pay for it.
  4        are, as Mr Taylor references, some other valuations that             4   Q. But you don't disagree with the method that Mr Taylor
  5        put different numbers on that.                                       5       adopted in there --
  6      Q. And with regard to the other asset, whatever the value              6   A. Well, subject to the caveat, which comes straight back
  7        ascribed to them, would you agree in principle that if               7       to the same point.
  8        you sell a bundle of assets in one sale and the value of             8   Q. Finally, in relation to this, in point 3.0.3 --
  9        one of them increases, then the value of the total                   9       I'll struggle to find the page, probably -- at page 318
  10       should also increase?                                               10       you make an odd little comment there, I thought. You
  11     A. Well, it depends on whether you would have got more than           11       say, talking about this difference --
  12       576 for the package depending on the state of the                   12   PROFESSOR LEW: Where are you?
  13       reservoir, and I don't think I can say that the                     13   MR WADE: At page 318 at the very bottom of what is
  14       difference is so huge you could easily say that it will             14       point 3.3. You make a kind of concluding sweeping
  15       make no difference at all. But you can't know. You                  15       comment where you say:
  16       can't know.                                                         16         "In any event ..."
  17     Q. Right. The other point you appear to make is that --               17   A. Sorry, I'm not --
  18       and I am not sure I follow the basis for this, perhaps              18   Q. Page 318 in the joint report.
  19       you could help me -- is that comparing the price which              19   A. 318?
  20       Allied paid for the assets in 2011 of 250 million, and              20   Q. Yes. Are you looking at tab 6? Tab 6, sorry. It is
  21       the price it then sold it for two years later, there                21       E3 --
  22       just can't be a loss seems to be what you're saying.                22   A. Ah, sorry, yes.
  23       I'm not sure I understand the reasoning for that                    23   Q. -- tab 6, page 318.
  24       assertion. You compare the two prices, you say 250 in               24   A. I've got it.
  25       2011, 576 in 2014, there can't have been any loss.                  25   Q. And it's just an odd comment there from you, I thought.

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  1      A. I think the purpose of looking at the 250 was to say,               1     You mentioned that of the 250 only 100 million has been
  2        well, that was not just for the valuation of the Oyo                 2     paid. And is that relevant to your calculations?
  3        reservoir, the Oyo central, which is part of the                     3   A. In this context, no. Although, as I understand it, it
  4        calculation that Mr Taylor has done and that I've looked             4     is factually accurate.
  5        at that comes to on an undamaged basis, 180, but                     5   Q. Did somebody ask you to put it into your report?
  6        includes the whole package, including the rights to the              6   A. No.
  7        resources.                                                           7   Q. No. You just thought "I shall add that in there because
  8           So that's looking at then the difference, if you                  8     it's not relevant to my calculations", but you had
  9        like, that could possibly be attributed to those                     9     a strong urge to put in the there?
  10       resources there and saying "Okay, so that doesn't bridge            10   A. Well, the 576 is the consideration that has passed as
  11       the gap between the 576 actual sale price", and what                11     a result of the sale, and the 100 million is what has
  12       Mr Taylor says and I agree computationally it was worth             12     passed as a result of the acquisition of the same asset
  13       even in an undamaged state, so if undamaged it is only              13     two years before.
  14       worth 180 and you've sold it for 576, I still struggle              14   Q. How does that affect the calculations you've conducted?
  15       to see how you could sell it for more.                              15   A. Well, it's illustrating the gap between what has been
  16     Q. That's an impressionistic point from you, it's not based           16     paid for it and what it has been sold for.
  17       on any recognised economic theory or accounting                     17   Q. It is irrelevant to your calculations, isn't it? And
  18       principles, it's just your impression; is that right?               18     you've put it there because you've taken sides on this
  19       Is that a fair point to make in criticism of your view?             19     point, haven't you?
  20     A. Only that the 576 is a very hard number. It's the                  20   A. I've only -- I've not taken sides on this point.
  21       hardest number that's available because it's the amount             21   Q. Well --
  22       that was agreed for a transaction and reported in, you              22   A. I am simply pointing out factually how much has been
  23       know, audited SEC filings so -- or the components of it             23     paid for the asset and how much has been sold.
  24       were, sorry, rather than the actual number. So, no,                 24   Q. But you point out a factual point that's just not
  25       I don't think it is entirely impressionistic because the            25     relevant, is it?

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   1     A. If you're looking at the value of the asset, what has               1   Q. And can you please turn to page 354 in the bundle.
   2       been paid for it and what it has been sold for is                    2   A. Yes.
   3       relevant.                                                            3   Q. Do you see there your signature below the "statement of
   4     MR WADE: I have no further questions, thank you.                       4       truth"?
   5     THE CHAIRMAN: Thank you very much.                                     5   A. I do, yes.
   6     MR NESBITT: No redirect.                                               6   Q. Now, I understand you've identified a number of
   7     THE CHAIRMAN: Thank you very much, Mr Good. You are                    7       typographical errors in this statement, which you would
   8       excused as an expert.                                                8       like to correct; is that true?
   9          Now, gentlemen, is it time for a break?                           9   A. Yes, there are a few things I wanted to correct.
  10          How are we doing on time?                                        10   Q. And do you remember where they are? Would you like me
  11     MR NESBITT: Well, that was rather more than 30 minutes, but           11       to direct you to them?
  12       there we are. It is almost 3.30 pm so we have a couple              12   A. I think I can remember where they are. There are three
  13       of hours still --                                                   13       of them. So the first one is on page 293 of the bundle.
  14     THE CHAIRMAN: 3.45 then we will come back.                            14   Q. Wait for everyone to be there. (Pause).
  15     MR NESBITT: Sorry, sir, I was going to suggest would now be           15   A. The figure on that page, figure 2, unfortunately that is
  16       good moment to address you on what I forgot to do after             16       the ownership structure as of 22 November 2013 as
  17       lunch, which is in relation to the mail log document or             17       duplicated in my report in two pages' time. I copied
  18       do you want to leave that to the end?                               18       the wrong figure in. The correct figure can be found --
  19     THE CHAIRMAN: Let's leave that to the end.                            19       the correct diagram can be found at my exhibit 17,
  20     MR NESBITT: Okay.                                                     20       MPJT17, page 8.
  21     THE CHAIRMAN: The Tribunal might have a proposal for the              21   THE CHAIRMAN: What paragraph of your statement or expert
  22       parties to address that, but we'll listen to both --                22       report are you on?
  23     MR NESBITT: You wanted to know factually what it was and              23   A. It is paragraph 3.2.5.
  24       where it came from, and I can now tell you that, but we             24   THE CHAIRMAN: Yes.
  25       can wait until later.                                               25   A. But it is over the page on page 17 of my report, there

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  1      THE CHAIRMAN: We'll wait for later for that information.               1       is figure 2 "Ownership of the OMLs 22 July 2005". The
  2      MR NESBITT: All will be revealed. I hope it is worth                   2       diagram beneath that heading is actually for the later
  3        waiting for.                                                         3       period, and the correct picture is as in my exhibit
  4      MR WADE: For the first time all will be revealed.                      4       MPJT17 on page 8.
  5      (3.28 pm)                                                              5   MR WADE: You won't know the bundle reference for it, so
  6                       (A short break)                                       6       I will inform the Tribunal, if I may. The bundle
  7      (3.45 pm)                                                              7       reference is F19, tab 17, page 146. There is another
  8                    MR MARK TAYLOR (called)                                  8       correction, I believe.
  9      THE CHAIRMAN: Good afternoon, Mr Taylor. Welcome to the                9   A. There is. On page 29 of my report there is a table in
  10       proceedings. Mr Taylor, you have provided an expert                 10       the middle of the page, table 4, a number of figures in
  11       report, and you've signed a joint report.                           11       there.
  12     A. That's right, yes.                                                 12         The second column is headed "2011". The second row
  13     THE CHAIRMAN: And you understand that your duty is to                 13       of that column is "Royalty", and you can see all the
  14       express your best professional opinion to the Tribunal?             14       other numbers in that royalty row are negative numbers,
  15     A. I do understand that, yes.                                         15       they are in brackets. Those brackets should be around
  16     THE CHAIRMAN: Very good. Mr Wade.                                     16       the 1830 as well. So that 1830 should be a negative
  17                 Examination-in-chief by MR WADE                           17       number. And then the revenue on the bottom line,
  18     MR WADE: Mr Taylor, do you have near you bundle E2?                   18       therefore, needs to be updated as well, so it is 50.5,
  19     A. I do.                                                              19       I think it is.
  20     Q. And I think it's open at tab 5. Can you confirm that it            20   PROFESSOR LEW: Sorry, could you say that --
  21       is?                                                                 21   A. So the revenue changes to --
  22     A. It is.                                                             22   PROFESSOR LEW: 9010.
  23     Q. And is that a copy of your expert report dated                     23   A. 9010 to 53.5. But those numbers don't flow through
  24       24 February 2016?                                                   24       anywhere into the report.
  25     A. It is, yes.                                                        25         The last correction I think I am going to have to

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   1      ask Mr Wade to point me to it --                                 1       counterclaim. This slide is an overview of the timeline
   2     MR WADE: Are you thinking of paragraph 4.3.4 of your report       2       in this matter, and the key points on this is that the
   3      on page 302?                                                     3       first dotted line in the top half is looking at
   4     A. Yes, I am, thank you. On paragraph 4.3.4 of my report          4       a transaction where Allied acquired the NAE beneficial
   5       on page 26, which is page 302 of the bundle, in the             5       interests in which transaction NAE indemnified Allied
   6       third line of that paragraph it starts "And CPL". It            6       for the events that occurred to the left of that dotted
   7       should read "And Allied".                                       7       line. The second dotted line is when CPL acquired the
   8     MR WADE: Thank you.                                               8       NAE beneficial interests from Allied.
   9     A. That's all my corrections.                                     9          My loss assessment has got three principal parts,
  10     Q. Now, I see you also have what I think is bundle E3 in         10       but the biggest element is in respect of Allied's
  11       front of you. Could you open that at tab 6.                    11       ownership of the NAE beneficial interest, and that's the
  12     A. Yes, I have that open at tab 6.                               12       small orange bar in the middle, and I assessed that loss
  13     Q. Does that contain a copy of your joint report with            13       at $349 million.
  14       Mr Good as amended on 15 June 2016?                            14          My instructions in respect of the counterclaim were
  15     A. Yes, it does.                                                 15       to provide my opinion on the damages suffered by Allied
  16     Q. And if you turn over the page to page 308, is that your       16       and its affiliates in respect of the NAE beneficial
  17       signature next to the signature of Mr Good?                    17       interests and also the Allied and CINL beneficial
  18     A. Yes, it is.                                                   18       interests. I was also instructed to provide my opinion
  19     Q. And apart from the corrections you've told us about, is       19       on the difference of the market value, the NAE
  20       there anything further that you would like to add or           20       beneficial interest and the actual and "but for"
  21       clarify in those reports?                                      21       scenarios in February 2014 when it was sold to CPL.
  22     A. No, there's not, thank you.                                   22          It has been alleged that the oil production from Oyo
  23     Q. And subject to the updates that you've just given us and      23       central area has been adversely affected, and any change
  24       the statements you will make in your opening remarks, do       24       in the oil production will change the cash flows from
  25       those represent your full and independent opinions             25       the Oyo central area. The measure of damages is how

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   1       regarding the issues on which you've been instructed?           1       much more the cash flows would have been in the "but
   2     A. Yes, they do. The joint statement is after my report,          2       for" scenario over the actual scenario. So
   3       and so there are some things that might have been               3       I, therefore, built a model that calculates the cash
   4       updated in the joint statement. But, yes, they do.              4       flows arising from the different levels of production
   5     MR WADE: Okay. I understand you have a presentation for           5       from the Oyo central area. My model calculates the cash
   6       the Tribunal.                                                   6       flows arising from the application of the production
   7                 Presentation by MR TAYLOR                             7       sharing contract and what cash flows the various
   8     MR TAYLOR: Yes, I do.                                             8       interested parties would have received.
   9          Good afternoon. My name is Mark Taylor and I am the          9           Mr Good identified a number of minor issues with my
  10       expert accountant instructed by the solicitors to the          10       initial model, and I updated my model for these. These
  11       respondents. I have got a presentation of 24 slides,           11       updates are set out at appendix 1 to the joint
  12       but many of them shouldn't require much discussion so          12       statement.
  13       I hope to keep on time.                                        13           Mr Good and I agree that the final model that I've
  14          First, I am going to look at the respondents'               14       created properly models the cash flow from the
  15       counterclaim. Then I am going to look at the issues            15       production sharing contract. As Mr Good pointed out,
  16       relating to the final adjustment statement.                    16       we've got an agreed model between us.
  17       I colloquially refer to that as the FAS, so excuse me if       17           By running my model using inputs of oil production
  18       I slip into that terminology. Followed by that I have          18       from either the actual scenario or inputs from the "but
  19       got a very brief comment on each of the Oyo-5 GSO costs        19       for" scenario we can determine the differences in the
  20       and the Oyo-7 drilling costs.                                  20       cash flows. There were a few inputs on which Mr Good
  21          As we have already heard, Mr Good and I actually            21       and I agreed were secondary issues, and that's the
  22       agree on a lot of issues. So I will try not to dwell on        22       change in the cash flows from those issues would affect
  23       what we agree, but I might have to talk about some of          23       the model, but we didn't know enough about those inputs
  24       what we agree on to put some of the issues into context.       24       to actually amend the amounts in my model. These are
  25          My first area that I want to talk about is the              25       set out in appendix 2 to the joint statement. The two

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   1      most important ones are the FPSO costs and the costs of     1     historic periods.
   2      drilling the "but for" scenario wells, Oyo B and C.         2        The losses can also be considered in the tabular
   3         The FPSO costs relate to the fact that NAE               3     format. It is not immediately clear from this which
   4      negotiated a discount to the FPSO costs, and Mr Good        4     lines are for the loss. So the top line A is the
   5      questioned whether the same level of reduction in the       5     biggest loss. That was the loss for the middle orange
   6      FPSO costs would have been achieved in the "but for"        6     bar I pointed out on the timeline. That's 349 million
   7      scenario, given that the "but for" scenario has higher      7     using Dr Moy's forecasts.
   8      levels of productivity.                                     8        The second biggest loss is row F, which is the top
   9         The "but for" scenario was modelled using the FPSO       9     part of the second half of the table, and that's
  10      as it actually was. That is with the compressors not       10     $130.6 million, and the last significant loss is 28.3,
  11      working. And Mr Nigido stated that the discount was        11     which is the second line, and that's the loss on the
  12      because the compressors weren't working. So, in my         12     sale to CPL of 23 February 2014.
  13      opinion, as the same FPSO is assumed in the same           13        Although we agree the numbers in the table, the
  14      condition in the "but for" scenario and the actual         14     point that we don't agree, as discussed Mr Good earlier,
  15      scenario, the FPSO costs represent the correct level of    15     is that we don't agree whether that amount actually
  16      costs in the "but for" scenario.                           16     represents a loss suffered by Allied, although we agree
  17         On the second point, looking at the costs of the        17     the maths that gets to the number. As this is the only
  18      drilling of the "but for" scenario, the Oyo wells B and    18     significant area of potential disagreement between us on
  19      C, I used the actual drilling costs of other wells as      19     the approach on the counterclaim, I thought I would just
  20      proxies for the costs for those, and I think this is       20     explain in a little more detail how this arises.
  21      an entirely sensible and reasonable approach.              21        Allied acquired the NAE beneficial interest for
  22         Mr Good noted that Mr Payne had a view that a number    22     $250 million in December 2011 and two years later, at
  23      of factors might affect the costs of drilling the wells,   23     the end of 2013, agreed to sell is for cash and CAMAC
  24      and so there was some uncertainty there. I acknowledge     24     Energy Inc shares, which was a total consideration of
  25      that there might be factors that affect the costs of       25     $416 million. Following the announcement of the deal,

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   1      drilling the wells, but I think using the proxies --        1     the CAMAC Energy share price rose and so the market
   2      using the real-life drilling costs as proxies is            2     moved the price to the 576 million when it completed in
   3      reasonable, and there hasn't been an alternative value      3     February 2014.
   4      put forward, and so I think my opinions are reasonable      4        So Mr Good's position appears to be that because
   5      on that basis.                                              5     Allied made a profit that it cannot possibly have
   6         My model that is agreed between us as properly           6     suffered a loss on that. But, in my opinion, had the
   7      modelling the cash flows from the PSC shows the impact      7     Oyo central reserve not been damaged, Allied would have
   8      of the production forecasts as per Dr Moy and               8     made more profit on the sale and that this extra profit
   9      Mr Filippi. Using Dr Moy's forecasts, the losses are        9     that it did not make does represent a loss suffered by
  10      527.9 million, and using Mr Filippi's forecasts they are   10     Allied.
  11      6.4 million. The difference between these is entirely      11        NAE's beneficial interests that Allied bought and
  12      down to the different input assumptions for the            12     sold relate to NAE's beneficial economic interests under
  13      production volumes and timings from Dr Moy and             13     the PSC, and as we've discussed, the PSC is in respect
  14      Mr Filippi. This is nicely illustrated by these two        14     of OMLs 120 and 121, and that includes the Oyo central
  15      charts, which I think we've all seen several times         15     oilfield, which is what Dr Moy and Mr Filippi have
  16      before, which show the actual and "but for" by Dr Moy      16     modelled, but it is much broader than just the Oyo
  17      and Mr Filippi.                                            17     central, and there's actual or potential value in Oyo
  18         It is immediately apparent that Dr Moy's view there     18     west, Oyo far east as well as potentially otherwise in
  19      was a significant difference between the actual scenario   19     OML 120 and 121.
  20      and the "but for" scenario, and that's what gives rise     20        Dr Moy, Mr Filippi, Mr Good and I have focused on
  21      to the significant loss, whereas in Mr Filippi's           21     only one element of what comprises the beneficial
  22      forecasts there appears to be no such difference.          22     interest that were sold. So none of us have considered
  23         If you look at Dr Moy's forecasts, you can see that     23     the actual or potential cash flows or value of the whole
  24      the two lines, the actual and the "but for", diverge       24     of the OMLs because the values of the other aspects were
  25      most before 2016. That is the loss is in respect of        25     not likely damaged by the alleged wrongdoing.

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   1         So when asked to consider the difference in the          1        I applied five tests when deciding whether an item
   2      market value of the NAE beneficial interest as at that      2     should be included in the FAS. The first test, which
   3      date, I couldn't do this by considering the whole value     3     isn't on this slide, is whether there was any support
   4      of the NAE beneficial interest, as we didn't have the       4     for the item at all. When no support was provided for
   5      data on that. So I, therefore, looked at the difference     5     a cost claimed I didn't consider it was right to include
   6      in the market value of one element and assumed the          6     that cost in the FAS.
   7      difference in that one element reflected a difference in    7        Where an item was ultimately supplied by a third
   8      the broader NAE beneficial interest.                        8     party I sought third party support for that amount, and
   9         So using Dr Moy's "but for" and actual scenario          9     that's the fourth test on my slide there.
  10      I could model the difference in that, and that's the       10        My approach after that was to look at the language
  11      difference in the cash flows at that date which come to    11     in the amended SPA. Like Mr Good I'm not a lawyer, but
  12      discounted $28 million. So I cannot comment on how the     12     I tried to look at the language and the amended SPA sets
  13      holistic value of the OMLs have changed in the period      13     out:
  14      but, in my opinion, if one element has been damaged and    14        "The positive adjustment shall include those items
  15      is worth less, then that reduction in value should be      15     listed below."
  16      considered when considering the value of the whole.        16        And, therefore, I sought to claim whether the items
  17         Now, I want to change topics and go on to the           17     were described by one of the items listed in the amended
  18      financial adjustment statement. The FAS submitted by       18     SPA. I called items that were in the list permitted,
  19      NAE -- so the composition of the FAS is as set out in      19     and items that were not in the list non-permitted. So
  20      the amended SPA -- and the FAS submitted by NAE is         20     that's the first point on my slide there.
  21      claimed at $48.1 million. My instructions were to          21        The amended SPA also says to include items that are
  22      consider whether the claimed items were within the list    22     paid by the seller. So I, therefore, sought evidence
  23      of 12 permitted items in the amended SPA and whether the   23     that the items had been paid by the seller. I only
  24      evidence provided by NAE supported the items claimed.      24     looked for evidence such as order of payment. I didn't
  25         Mr Good and I have agreed the figures in the table      25     try tracing things through to bank statements because

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   1      in the joint statement, as we've already heard. In my       1     that would have been a very onerous task.
   2      first report I concluded that only 7.5 million of the       2        And the amended SPA includes items that were
   3      48.1 million claimed met the criteria, but I've moved on    3     incurred during the period from December 31, 2011, up to
   4      since then. Mr Good exhibited more than 900 pages of        4     completion. As completion was on 28 June 2012, I looked
   5      new supporting documentation to his report, and my team     5     for evidence that the cost was incurred in that period.
   6      and Mr Good's team worked together through that and         6        With regards to the GSO costs, the amended SPA
   7      we've now been able to move on and we have seen             7     states this "to the extent agreed by the parties", and
   8      a further $21.3 million worth of support to show that       8     my understanding is that Allied's case is that it was
   9      claims do relate to permitted items that were incurred      9     not agreed that the GSO costs should be included in the
  10      in the right period and are supported by payment           10     FAS.
  11      evidence.                                                  11        This slide shows my view that the top ten items in
  12         So I have, therefore, updated my initial opinion to     12     NAE's FAS tally with the items listed in the amended
  13      28.1 million, which is as set out in the bottom            13     SPA, but the last six line items are not covered in the
  14      left-hand corner of the numbers in this slide. We          14     amended SPA. So, therefore, in my view, of the 48.1
  15      looked at a summary of the 21.3 million, which is          15     claimed only the amounts in the blue box, which then sum
  16      appendix 7 to the joint statement, which was my appendix   16     to 36.7 million, are permitted by the SPA.
  17      Mr Wade talked about earlier with Mr Good.                 17        Going back to the table in the joint statement that
  18         Mr Good has also amended NAE's position, and            18     we looked at earlier. The starting point appears to be
  19      I understand the claim is not for 48 any more but is for   19     the top right-hand corner 48.1 million, and my position
  20      46.5.                                                      20     is that in the bottom left of 28.1. Mr Good's position
  21         Mr Good and I have got a number of disagreements as     21     was 46.5, I think, but acknowledged there was no support
  22      to whether or not certain categories of costs should be    22     for the sum bringing it down to the 45.4.
  23      included in the FAS, but we agree the amounts of each of   23        Below that, there are three alternative lines. As
  24      these categories. So we've agreed all the numbers.         24     Mr Good said, you can slice and dice this in almost as
  25      We've gone through and agreed all of those.                25     many ways as you like, but we do agree the numbers in

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   1       this table.                                                1       different permutations from an analysis of appendix 3.
   2          A further breakdown is at appendix 3, and it might      2    THE CHAIRMAN: Thank you very much.
   3       be helpful if I just explain a couple of points on that.   3    MR TAYLOR: And very briefly, on Oyo -- on the GSO costs,
   4       I think a larger appendix 3 was handed up earlier in       4       Mr Good and I have agreed that the documentation and
   5       a bigger format. (Pause).                                  5       Allied's schedule record GSO costs of 44.5 million, and
   6          After this, I have only got a very brief point, so      6       I've traced those into the audited financial statements.
   7       there is not much longer.                                  7       And similarly we have agreed that the documentation
   8     THE CHAIRMAN: You're still within your time, as I see it.    8       we've seen records costs of 154.7 million up to
   9       No, actually you're not. But people are being very         9       30 September 2015 for the Oyo-7 drilling costs.
  10       relaxed.                                                   10        Thank you.
  11     MR TAYLOR: Thank you. This is a similar table to the table   11   THE CHAIRMAN: Thank you very much.
  12       in the joint statement, but it's been transposed, and so   12   MR NESBITT: Some good news to follow that, Mr Chairman. It
  13       the columns are rows and the rows are columns.             13      is Mr Shoesmith.
  14          The categories are down the left and, you can see       14            Cross-examination by MR SHOESMITH
  15       this breaks down the summary table into the individual     15   MR SHOESMITH: Good afternoon, Mr Taylor. Just while we're
  16       categories. The left-hand column is the original           16      setting up, one point of clarification arising out of
  17       amount, which you can see sums down to a total of          17      your presentation. I believe at one point you said that
  18       48.1 million, which is four lines up from the bottom,      18      you understood the claim, irrespective of the
  19       and then that's just analysed into the permitted and the   19      adjustments was now for around $45 million. That's not
  20       non-permitted according to my analysis. We've then got     20      in fact accurate. The claimants maintain their claim
  21       the column of Mr Good's adjustments, and then that's the   21      for the entire $48.1 million, and you and the Tribunal
  22       updated amount.                                            22      can see that at, among other places, from section 4.3 of
  23          Then we go into two different ways of looking at        23      the joint report. That's at bundle E3, tab 6, page 324
  24       things, column D and column E. Those references are        24      but we don't need to go there now.
  25       just below the titles of the column.                       25        Could we start very briefly by having a look at your

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   1          Column D and E are two alternatives, where D has         1     instructions in bundle F16, tab 1. (Pause).
   2       looked at the amount supported by documentation, so         2        You've set these out in a number of places, so
   3       that's any supporting documentation at all, and if you      3     I don't think we need to spend very long on them. The
   4       look down the bottom that's where you get the 45.4 that     4     point I would like to just clarify is that these do not
   5       we saw earlier. And column E is looking it if you want      5     appear to be dated, but we understood from -- well,
   6       to see that it was supported by payment evidence, and       6     let's start, they are not dated but, as I understand it,
   7       that comes to the lower number of 37.7.                     7     these are instructions that were provided to Navigant,
   8          The analysis to the right works on pairs of columns.     8     so to you and to Mr Dyson jointly; is that correct?
   9       So column F and column G is another pair of columns, and    9   A. That's my understanding, yes.
  10       they look at columns D and E. And they look to see         10   Q. Very good. And Mr Dyson told us yesterday that he was
  11       whether the items in D or E were received in the right     11     instructed and he was involved in the drafting of the
  12       period. So F is looking at D but stripping out things      12     respondents' -- or the formation of the respondents'
  13       that were outside of the period, so 203 and 96 stripped    13     reply and defence to counterclaim that was served in
  14       out, and G is looking at column E, which is where          14     August 2015. I wonder whether you were instructed at
  15       there's evidence of payment and stripping out things       15     that point also?
  16       that were outside of the period.                           16   A. I don't think I was, no.
  17          And similarly columns H and I are paired, and they      17   Q. You weren't. So you weren't involved in formulating the
  18       look at D and E again. So H and I look at whether there    18     respondents' reply alongside Mr Dyson?
  19       was third party support. And so H is looking at where      19   A. I don't believe so, no.
  20       there's third party support at column D, and I is          20   Q. Okay. So when you did receive these instructions later
  21       looking whether there is third party support for column    21     than Mr Dyson, they were presumably your introduction to
  22       E. Then the last two columns again are pairs, and          22     the case. You hadn't at that stage received any
  23       that's summing up the total adjustments there.             23     documents?
  24          So you can analyse the numbers in many, many ways       24   A. I didn't say I received these later than Mr Dyson,
  25       and that's -- and I think you can get most of the          25     I just said I didn't do work that fed into the document

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  1        that you've mentioned.                                              1     SPA you would have classified the individual expenditure
  2      Q. Okay. But this was your introduction to the case. You              2     categories within the FAS as either permitted or
  3        hadn't received the documents along with your                       3     non-permitted.
  4        instructions?                                                       4        Moving on to page 327, you've set out a list in
  5      A. I can't remember if some documents came through first or           5     between times, but you there say you further note that
  6        this came through first.                                            6     the positive adjustment can also include such other
  7      Q. I get that from paragraph 72 of the instructions on                7     expenses as may be agreed between the parties. I am
  8        page 28, which is helpfully the same -- I'm sorry,                  8     quoting here from the amended text of the SPA, and the
  9        page 22. Here you'll see the second sentence says:                  9     outstanding -- to the extent agreed by the parties the
  10          "We will provide you with documents referred to in              10     outstanding payment in respect of the Oyo-5 GSO
  11       the footnotes of these instructions by way of an online            11     liabilities. However, you understand that it is the
  12       data room."                                                        12     respondents' case that these items require
  13          So it suggests to me that either the documents were             13     post-completion agreement. And you have not seen any
  14       provided contemporaneously or subsequent to the                    14     documentary evidence indicating that these items were
  15       instructions?                                                      15     agreed between the parties. So based on your analysis,
  16     A. "We request that you base your report and your                    16     your view is that the only -- only the ten items
  17       independent expert opinion formed in the light of the              17     permitted identified above, that's the list we skipped,
  18       information that has been made available to you."                  18     should be included as part of the positive adjustment.
  19     Q. Well, we can look at whichever --                                 19        So that's a good summary of your position, isn't it?
  20     A. It then says:                                                     20   A. Yes.
  21          "We will provide you with the documents referred to             21   Q. Okay. That analysis is not set out in your first
  22       in the footnotes of these instructions by way of an                22     report, is it?
  23       online data room."                                                 23   A. I'm not sure. My first report came to a very different
  24     Q. But you don't recall whether documents had been made              24     answer, because I had a very different amount of
  25       available to you?                                                  25     documentation, so I would have ...

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  1      A. I can't remember, no.                                              1   Q. You came to a different answer. Section 12 of your
  2      Q. You're not suggesting that they were, you just don't               2     first report, which is in bundle E2, tab 5, page 333.
  3        remember?                                                           3         Now, if I can explain, if we're all there, as I see
  4      A. No.                                                                4     it, 12.1 headed "Background" you're setting the scene.
  5      Q. Okay. We saw in your presentation, Mr Taylor, that                 5     These paragraphs are largely taken word for word from
  6        there is a point of disagreement between the experts,               6     your instructions, paragraphs 61 to 65, I think. That's
  7        yourself and Mr Good, as to whether items should be                 7     not a criticism, I think that's just factually accurate.
  8        classified as permitted or not permitted expenses.                  8     Would you agree?
  9        Those are the items on the FAS, as you called it, the               9   A. Yes.
  10       final adjustment statement.                                        10   Q. Okay. But you've added a 12.1.6 on page 335 and 12.1.7.
  11     A. I did form an opinion, Mr Good didn't form an opinion,            11     And 12.1.6 you list out what you consider to be and
  12       so I don't know if that's a disagreement, it's                     12     define as "permitted costs", and then in 12.1.7 you say:
  13       a different approach.                                              13         "In addition to the permit the costs above, NAE were
  14     Q. You haven't agreed your approach, we can worry about              14     able to claim for other expenses incurred during the
  15       semantics. Your view is set out at section 4.4 of your             15     relevant period which were agreed between the parties
  16       joint report, if we look there first. It is volume E3,             16     and to the extent agreed the outstanding payment in
  17       tab 6, page 325. So we're looking at section 4.4, your             17     respect of the Oyo-5 GSO liabilities."
  18       views as set out in the right-hand column, and your view           18         So NAE were able to claim those other expenses, GSO
  19       is that as an independent chartered accountant you are             19     liabilities, but you don't define those in any way.
  20       qualified to provide your opinion on whether expenses              20     That's just a footnote, in effect, to your permitted
  21       should be classified as permitted or non-permitted in              21     list.
  22       accordance with the provision of the amended SPA.                  22   A. I say they were able to "claim for other expenses which
  23          You say, skipping down to the next paragraph, based             23     were agreed between the parties."
  24       on your review of the documentation available and the              24   Q. Mmm-hmm. But you don't define those as permitted or
  25       definition of the positive adjustment as per the amended           25     non-permitted or anything else, you just note that.

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  1      A. Yes.                                                               1       you as 12 permitted items.
  2      Q. Yes. Your definition of "permitted costs" is taken from            2   THE CHAIRMAN: I leave this to Lord Hoffmann.
  3        your instructions, isn't it?                                        3   MR SHOESMITH: I wondered how much indulgence I would enjoy.
  4      A. My instructions make reference to the term "permitted",            4   LORD HOFFMANN: What the witness has done is he's summarised
  5        I think, I can't -- do you want to go back to that.                 5       certain headings of expenditure in table 19 of his first
  6      Q. Well, your instructions are helpfully set out at 12.2,             6       report, and he's categorised them as being, in his view,
  7        so we can stay in the same document.                                7       within or without what is permitted to charge for under
  8      A. Thank you.                                                         8       the SPA.
  9      Q. "In respect of each of the 16 line items in the final              9         Now, it may be that as a matter of construction he's
  10       adjustment statement, here is the nature of the expenses           10       wrong about some item or other, but it is useful that
  11       claimed as described in that statement and in the                  11       he's simply listed them on that category. I mean,
  12       supporting spreadsheets and invoices such as to bring it           12       I don't see that you can really cross-examine him on
  13       within the list of 12 permitted items in paragraph 1,              13       whether he was wrong or right to list them as permitted
  14       Part 1, Schedule 2 of the SPA as amended. If so, please            14       or not permitted.
  15       identify, (b) if not, please describe cost claimed.                15   MR SHOESMITH: I don't intend to say it is not useful and
  16          "To what extent does the evidence provided be NAE               16       I don't intend to say he was wrong or right to
  17       support each of the items claimed, whether it is in the            17       categorise them in a particular way.
  18       permitted list or not? Please identify supportive                  18   LORD HOFFMANN: Right.
  19       evidence made available at the time of the final                   19   MR SHOESMITH: What I am trying to establish is whether
  20       adjustment statement."                                             20       Mr Taylor looked at, as he says he's qualified to do,
  21          So the concept of permitted items and the list being            21       the entirety of the provision or whether --
  22       the permitted items, that's something that you were                22   LORD HOFFMANN: Does it matter?
  23       told, wasn't it?                                                   23   MR SHOESMITH: Well, if his instructions are to classify
  24     A. We can see what my instructions were, yes.                        24       something as permitted based on a list of 12 items, do
  25     Q. Yes. Thank you. At 12.3 you then set out what you did.            25       they fall within the list or not --


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   1       You say here that, in 12.3.1(i):                                    1   LORD HOFFMANN: Yes.
   2          "In order to assess the nature of the expense                    2   MR SHOESMITH: -- that is very different from saying --
   3       category, I reviewed supporting documentation and                   3   LORD HOFFMANN: He has summarised in his list the nature of
   4       summarised the nature of the expenses."                             4       the expenditure. If you want to cross-examine him and
   5          Do you see that?                                                 5       say "Look there was an item of £500,000 which can't
   6     A. Yes.                                                               6       really be described as what you've described that as",
   7     Q. And then you go on to say that you looked to see whether           7       that's one matter. But if you don't object to the
   8       expenses occurred in the relevant period, whether there             8       categorisation, to then discuss with him whether he
   9       was supporting document, proof of payments, amongst                 9       truly considered whether it fell within the terms of the
  10       other things. That's what you set there. You don't say             10       SPA or not, that doesn't help. Do you see the point
  11       in this list that you looked at the SPA or the amended             11       I am making?
  12       SPA.                                                               12   MR SHOESMITH: I think I can take the point, sir.
  13     A. I am talking about permitted as per that list, and that           13   LORD HOFFMANN: Do you see what I mean?
  14       list is from the amended SPA.                                      14   MR SHOESMITH: I'm not sure I entirely do, but I take the
  15     Q. Permitted as per your instructions.                               15       point that this is not --
  16     A. It's permitted as -- I interpreted that "permitted" to            16   LORD HOFFMANN: Take, for example, he says telecom services
  17       be what's in the list of the amended SPA, so I -- sorry,           17       he regards as not permitted. Now, if you want to
  18       I am not quite sure where you're going but I do                    18       cross-examine him and say in that 180,000 that he's
  19       reference back to the list in the amended SPA.                     19       listed for telecom expenditure some of them are not
  20     Q. You do. I am just trying to establish whether you                 20       telecom expenditure at all, that's perfectly
  21       actually looked at the SPA and carried out                         21       permissible. But to argue with him as to whether
  22       an independent assessment at this stage, but you don't             22       telecom expenditure falls within the terms of the SPA or
  23       say that you've reviewed the SPA in this report. You               23       not, that doesn't help.
  24       simply say that you were asked whether certain costs               24   MR SHOESMITH: I think --
  25       were within a list of what was specifically described to           25   MR NESBITT: If I may, sir, I think the point that is being

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   1       driven at is not so much whether he's right or wrong on           1         a crime, it's just a factual enquiry.
   2       permitted and non-permitted, it is simply he suggests             2       A. I am sure I did read it, yes, I am sure I did look at
   3       that he conducted an independent contractual analysis of          3         it.
   4       what the contract means, that's what he says.                     4       Q. Let's move on to something else. You don't mention in
   5     LORD HOFFMANN: Yes.                                                 5         your first report or indeed in the joint report the
   6     MR NESBITT: But it appears from his instructions that he            6         respondents' own reconciliation exercise of the final
   7       didn't do that, he was told what the contract meant and           7         adjustment statement with the supporting documentation.
   8       asked to assume it.                                               8         Were you aware that that exercise had been conducted?
   9     LORD HOFFMANN: Well, so what?                                       9       A. No, I don't -- I'm not sure what was done by the
  10     MR NESBITT: If you believe that that's not relevant, then          10         respondents.
  11       fine.                                                            11       Q. Okay. You didn't discuss their reconciliation with
  12     LORD HOFFMANN: Tell me why it's relevant.                          12         them?
  13     MR SHOESMITH: I think Mr Taylor has indicated he believes          13       A. I didn't, no.
  14       an independent chartered accountant he is qualified to           14       Q. Now, in your first report you took the position in
  15       opine on the meaning of the SPA, and I'm suggesting --           15         respect of the GSO liabilities that they were not
  16     LORD HOFFMANN: I don't believe he's putting forward such           16         permitted under the SPA because they did not relate to
  17       a thing at all. I don't see how he can really do the             17         the relevant period. That's right, isn't it?
  18       job unless he tells us which items he has regarded and           18       A. Can you point me to that?
  19       disregarded.                                                     19       Q. 12.6 of your first statement. It starts -- on page 346
  20     MR SHOESMITH: As I say, I have taken your point, sir, that         20         is a non-permitted expense categories but the relevant
  21       you don't find it helpful, so we won't dwell on it.              21         section is 12.6.18 on page 349 of the bundle. I think
  22          As part of your exercise, Mr Taylor, were you                 22         that's internal page 73, if that helps.
  23       instructed to consider clause 11.2 of the SPA?                   23       A. Sorry, could you give me that reference again I will
  24     A. Can I see that clause, please?                                  24         scribble them down.
  25     Q. Certainly. It is in bundle A1, tab 1, unamended,                25       Q. 12.6.18 in you first report, the bundle page in the

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  1        page 25.                                                          1        bottom right-hand corner is 349.
  2      A. Which was --                                                     2   A. Yes. So you split out certain debit notes with little
  3      Q. Clause 11.2, page 25. (Pause).                                   3        Roman numerals, and at the end of each one you say:
  4           Are you there?                                                 4          "Both of the relevant invoices ..."
  5      A. Yes, I have got the indemnity 11 -- in paragraph 11.             5          Or you say whatever it is that you're looking at
  6        Can you repeat the question, I don't have a transcript            6        appear to relate to services provided outside the
  7        in front of me so I can't --                                      7        relevant period or that you consider outside the
  8      Q. That's no problem. As part of the exercise you've                8        relevant period.
  9        conducted reviewing the SPA, in interpreting its                  9   A. I did note that they were all outside of the relevant
  10       provisions, perhaps, were you instructed to consider             10        period, yes.
  11       clause 11.2? I infer the answer is "no".                         11   Q. You did, and you exclude them on that basis.
  12     A. I don't think I was explicitly instructed in the                12   A. Sorry, I did exclude them, yes.
  13       instructions to look at that clause.                             13   Q. But by the time of your joint report you accepted that
  14     Q. And did you have cause, therefore, to look at it                14        that was wrong?
  15       irrespective of any explicit instruction?                        15   A. I accepted that the GSO costs were not time-bound, yes.
  16     A. Sorry, did you say absent explicit instruction?                 16   Q. They couldn't relate to the relevant period, as you term
  17     Q. You say you weren't explicitly instructed.                      17        it by definition.
  18     A. Yeah, so --                                                     18   A. They were outside that period, yes.
  19     Q. Did you look at it in any event?                                19   Q. Yes, by definition the Oyo-5 GSO costs, as they are
  20     A. Sorry, I can't read back what you've asked, so                  20        defined in the SPA, don't relate to the relevant period?
  21       I clarified the point. In my instructions there was              21   A. They don't, and I am not --
  22       reference made to 11.1 and so I would have looked around         22   Q. You don't what the definition says?
  23       it. So I would have seen other clauses in the SPA.               23   A. I don't know why you're saying by definition, no.
  24       I didn't just look at the specific items.                        24   Q. Okay.
  25     Q. But you didn't consider in particular 11.2? It's not            25   A. But they don't, they fall outside the period, yes.

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   1     Q. You can see in fact from the amended SPA from the           1     an independent chartered accountant you're qualified to
   2       positive adjustment that there is no time provision in       2     "provide an opinion on whether the expenses should be
   3       respect of Oyo-5 GSO liabilities, and that's in contrast     3     permitted or not permitted in accordance with the
   4       with the express reference to the period for the listed      4     provision of the amended SPA".
   5       items and for the other expenses. If you'd like to look      5        Now, we didn't want to pursue the question whether
   6       at that that's in bundle A --                                6     you were only looking at a specific list and determining
   7     A. That one has gone back. Thank you. So bundle A --           7     whether they were permitted or not permitted on that
   8     Q. Bundle A, tab 2 now.                                        8     list, but if you're looking at this whole provision to
   9     A. Tab 2.                                                      9     determine whether something is permitted or not it is
  10     Q. And the page number is 66, that's the bundle reference,    10     a major flaw in your reading of this provision to tie
  11       internal page 5.                                            11     the GSO costs, the liabilities, to the relevant period,
  12     A. Yes.                                                       12     isn't it? That's a misreading of this provision?
  13     Q. So do you see at the bottom of the page you have           13   A. My conclusion hasn't changed that whether they are --
  14       a paragraph 12 and the bold heading "Positive               14     should be included or not. In my first report I noted
  15       adjustment", and then the initial paragraph:                15     that they were outside the period, and I accept that
  16          "The positive adjustment which will increase the         16     they're not time-bound, but my position has still stayed
  17       consideration shall include the items listed below."        17     the same, so they haven't come into my analysis and --
  18          If you skip ahead to line 3:                             18   Q. You exclude them for another reason, but it was
  19          "... incurred during the period from                     19     a misreading of the SPA to tie them to the relevant
  20       31 December 2011 up to completion."                         20     period in your first report? (Pause).
  21          So the listed items are time-bound.                      21        It's a yes or no, I think. Did you misread the SPA
  22          I am sure you're very familiar with this provision       22     by tying it to the relevant period or not?
  23       because you've analysed it.                                 23   A. As I said, they are not time-bound.
  24          Then in the next line, starting in the middle you        24   Q. Above you've tied them to the relevant period in your
  25       see "such other expenses as may be agreed".                 25     first report --

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   1          At the end of the following line, again they are         1    THE CHAIRMAN: Mr Shoesmith, you know we asked the experts
   2       time-bound "incurred during the period from December 31     2      to meet and discuss and to agree on certain points, and
   3       up until police".                                           3      the experts have met and agreed on the points and,
   4          And then finally you've got "and to the extent           4      therefore, we understand your point, but it's only valid
   5       agreed the Oyo-5 GSO liabilities".                          5      to a certain point. You can turn it around and see we
   6          But you see the words are missing there, they are        6      have an expert who sees that he needs to correct asking
   7       not time-bound?                                             7      and he corrects it, so --
   8     A. Yes.                                                       8    MR SHOESMITH: I find it entirely laudable, I just find it
   9     Q. So just reviewing this provision, you can see that they    9      strange that he doesn't acknowledge that that's what
  10       were never time-bound. The relevant period wasn't           10     he's done. But you still nevertheless stand by your
  11       relevant to those costs?                                    11     opinion that you are suitably qualified to express
  12     A. That's what I've concluded in the end, yes.                12     an opinion on this provision, notwithstanding you
  13     Q. So having excluded them in your first report on the        13     initially misread it?
  14       basis that you consider they are outside the relevant       14   A. The agreement does say that if there is a dispute it
  15       period, it is a pretty major flaw in your reading of        15     could be referred to a chartered accountant or -- it
  16       this provision, isn't it?                                   16     might not be the exact words, but one of the resolutions
  17     A. I did note that they were outside the period, but          17     is a referral to an expert determinator, a chartered
  18       I don't know if that was the only reason why I excluded     18     accountant, and that's a role that I do do and I have
  19       them, and the fact that we -- when I met with Mr Good       19     done in the past.
  20       and we discussed it and we came to the conclusion that      20   Q. Let's move on to another topic. Your view is that
  21       they weren't time-bound, I think that that's -- I've        21     supporting documentation must be provided for the
  22       come to the conclusion, and it's my conclusion, the         22     financial adjustment statement costs claimed, and that
  23       ultimate conclusion, that matters.                          23     Allied should not be required to pay costs that are not
  24     Q. I agree that it's your ultimate conclusion that matters,   24     supported by documentation; that's right?
  25       but you also say that your final position is that as        25   A. Yes.

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   1     Q. And you also take issue with the type of documentation             1   A. That's right, yes.
   2       provided. You're effectively saying that if the wrong               2   MR SHOESMITH: But you don't agree as between yourselves as
   3       documentation is available, Allied is also not required             3       to what documentation would be sufficient?
   4       to pay.                                                             4   A. I don't think we disagree, because I don't think Mr Good
   5     A. I said if the right documentation is not available --              5       has concluded -- Mr Good identified there was
   6     Q. I take your point, yes. If the right documentation is              6       1.1 million of costs where there's no documentation, but
   7       not available, you are not required to pay. The wrong               7       I don't think he's --
   8       documentation is insufficient.                                      8   LORD HOFFMANN: Do you also disagree on the question of
   9          The type of documentation required is not something              9       whether if you've got a related party documentation but
  10       that's specified in the SPA, is it?                                10       you don't have the original third party documentation
  11     A. The SPA says that it's -- that the amount should be paid          11       whereby the related party acquired the goods or
  12       and so I have sought evidence to -- that something does            12       services, you can nevertheless treat that as being
  13       fulfil the criteria of the SPA, and the only evidence              13       sufficient if you can make a proper tie-up between one
  14       I can find is documentary, so ...                                  14       party has got what the other has.
  15     Q. The SPA doesn't say that NAE needs to supply documents            15   A. I don't want to mischaracterise what Mr Good's
  16       proving that every item has been paid by a particular              16       conclusion was and what opinion he formed. I can't
  17       date. It simply says that it must provide all material             17       remember whether he did form an opinion on it. But,
  18       documents that are relevant to the preparation of the              18       yes, I certainly said that documentation from a third
  19       final adjustment statement.                                        19       party is stronger than the documentation from a related
  20     A. Sorry, can you repeat that?                                       20       party.
  21     Q. The SPA doesn't itself say that documentation proving             21   LORD HOFFMANN: Stronger, certainly, but did you go as far
  22       payment within a particular period or otherwise must be            22       as to say that documentation from a related party alone
  23       provided, does it?                                                 23       will not do?
  24     A. No.                                                               24   A. If it's from -- if the ultimate service was provided by
  25     Q. It just says --                                                   25       a third party --

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  1      A. It just says paid items are included, yes.                         1   LORD HOFFMANN: Yes.
  2      LORD HOFFMANN: If the SPA says that in the event of                   2   A. -- then I would expect to see that third party invoice,
  3        a dispute it must be referred to an accountant, that                3       but when the service was something like a member of
  4        would suggest that the criteria as to what documents                4       staff from the third party, then there won't be that
  5        must be provided and so forth would be generally                    5       documentation, so that's not the issue.
  6        accepted audit practice or it might suggest that it                 6   LORD HOFFMANN: Because Mr Good, I thought, was willing to
  7        should has nothing to do with us.                                   7       accept a related party invoice if he could trace it back
  8      MR SHOESMITH: You might interpret the SPA in a number of              8       sufficiently into a service provided to that related
  9        ways.                                                               9       party by an outside third party, like the helicopters
  10          But there is a dispute in any event, isn't there,               10       example that he gave.
  11       whether we take audit practice or otherwise between the            11   A. Yes. I did hear Mr Good, and I can't remember exactly
  12       accountants, you don't agree as to what level of                   12       what he said, but, yes, I think he was saying that if
  13       documentation is required?                                         13       there's -- sometimes there can be a good trail and good
  14     A. Mr Good and I haven't discussed audits at all.                    14       analysis.
  15     LORD HOFFMANN: Pardon?                                               15   LORD HOFFMANN: Exactly.
  16     A. Mr Good and I haven't discussed audit practice.                   16   A. Yes.
  17     MR SHOESMITH: I am not suggesting you have. Lord Hoffmann            17   LORD HOFFMANN: And did you disagree with him about that?
  18       raised audit practice.                                             18   A. I said that I would like to see the third party invoice.
  19     A. I thought your said there had been a dispute between the          19       It must exist, and I would expect to tie it back. But
  20       accountants, sorry I misheard, sorry.                              20       maybe it's a particularly onerous issue with the
  21     Q. No, there's disagreement between the accountants, I'm             21       helicopter invoices. I understand there are a very
  22       sorry.                                                             22       large number of invoices. So I don't -- I'm not sure
  23     LORD HOFFMANN: I gather you have both followed what would            23       Mr Good and I disagreed on that point. We just had
  24       be your normal packed in checking whether the expenses             24       a slightly different view. And that's why we set
  25       are properly vouched.                                              25       everything out in the different categories so that it

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   1       can be sliced and diced and constructed as it should be.    1     label with it?
   2     LORD HOFFMANN: Yes, right. Thank you.                         2   A. Okay.
   3     MR SHOESMITH: I can move away from that entirely, thank       3   Q. I think those are GSO costs. We could have a look at
   4       you.                                                        4     it, if you like --
   5          On 26 July 2012, Mr Taylor, NAE provided 1,225 pages     5   THE CHAIRMAN: Sorry, is that exhibit R118?
   6       of invoices and an Excel spreadsheet. You're aware of       6   MR SHOESMITH: R118, yes.
   7       that, aren't you?                                           7         Now, I am assuming, because you've exhibited it to
   8     A. Sorry, on 26 --                                            8     your report, these are the documents as provided by
   9     Q. 26 July 2012 NAE provided the supporting documentation,    9     Stephenson Harwood, or the respondents. You didn't
  10       and that -- it is in fact pleaded, you refer to in your    10     remove anything from those documents that you thought
  11       report by reference to the pleadings, 1,225 pages of       11     was irrelevant, and you didn't add anything to them that
  12       invoices and an Excel spreadsheet?                         12     you obtained from another source? You wouldn't have
  13     A. I know they did provide a lot of information at           13     done that?
  14       an earlier date that I had available, yes.                 14   A. I can't think that I would have, no.
  15     Q. Well, you refer to it at 12.1.9 of your first report.     15   Q. No, okay. Are you able to confirm that MPJT24 is the
  16     A. Yes.                                                      16     Excel spreadsheet that was supplied with the
  17     Q. I don't think we need to worry too much with that.        17     thousands -- 1,225 of invoices?
  18       That's the documentation that was provided.                18   A. Not just be looking at it there, but it --
  19          Now, that's quite a specific number. I am assuming      19   Q. Would you like to look at them?
  20       that you didn't count the pages yourself?                  20   A. But I don't even know if I would be able to by looking
  21     A. Me personally? No. I might get it wrong.                  21     at it there.
  22     Q. And in fact I think that was pleaded in November 2014,    22   Q. Okay. I think it is right --
  23       so unless I am mistaken someone either in the              23   A. Yes --
  24       respondents or their counsel must have --                  24   Q. I'm happy to take you to it --
  25     A. I can't help you with who counted the page, no.           25   A. -- I'm not saying I don't think it is, I just don't know

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   1     Q. I will leave it at that.                                   1     why you --
   2          At appendix B to your first report you set out the       2   Q. I just wonder whether you recall having seen the
   3       information you relied upon. If we stay in your first       3     spreadsheet and various supporting documents --
   4       report, because it's at page 357. And the information       4   A. Yes, there was spreadsheets and some supporting
   5       you relied upon includes the supporting documents           5     documents, yes.
   6       provided to you by the respondents as provided by NAE on    6   Q. So you're happy to say it is MPJT24. But you can come
   7       26 July.                                                    7     back. I am sure if I am wrong on that, someone will
   8          I just want to check that we're looking at the right     8     tell me.
   9       things. So I think the supporting documents are your        9        Would it be very unfair, given you're an accountant,
  10       exhibits MPJT21, which has a horrible name, as they all    10     to ask you to do a little bit of arithmetic? I can
  11       do, I'm afraid, but ends "FPSO rentals Oyo". Do you see    11     offer you a pen and paper if it helps.
  12       that on --                                                 12   A. I have a pen and paper.
  13     A. Yes, I see it, yes.                                       13   Q. You have a pen and paper or --
  14     Q. And that goes down to MPJT39, all these are supporting    14   A. I have a pencil and Post-its. Thank you.
  15       documents --                                               15   Q. Again, someone will shout if I can't read, but I've just
  16     A. Yes.                                                      16     opened each of these exhibits in PDF form so that I can
  17     Q. -- provided to you. It also includes MPJT86, at the       17     see the number of pages, and I appreciate this isn't the
  18       very end of the list. That is a maintenance repairs        18     most exciting line of questioning but if I could have
  19       approval 3. And I think it also includes exhibit R118,     19     the indulgence of the Tribunal. So R118 is 87 pages.
  20       which is at the very top of the list before you start      20     MPJT21 is 23.
  21       your own exhibits, and that relates to the GSO costs       21   LORD HOFFMANN: Have you added them up yourself?
  22       that was exhibited in the arbitration before you were      22   MR SHOESMITH: I have.
  23       instructed.                                                23   LORD HOFFMANN: Well, why not just tell us?
  24     A. I can't see R18, do I need to see it?                     24   MR SHOESMITH: I'm happy to tell you. I don't want anyone
  25     Q. On 357, it's just above your MPJT1, but there is no       25     to tell me that as a lawyer I've --

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  1      THE CHAIRMAN: You are not qualified.                                   1       order of the 70 or you take off the 13 pages for the
  2      MR SHOESMITH: Precisely.                                               2       spreadsheet that was --
  3           I would be the first -- I make the number of the                  3   Q. But you can't actually say what was supported and what
  4        pages of the various exhibits you've submitted, taking               4       was not supported as of 26 July 2012 because you haven't
  5        out MPJT24, which is the spreadsheet, and we say 1,225               5       been supplied --
  6        plus the spreadsheets I make that 1,156 pages. It's                  6   A. I don't know what was in those other pages.
  7        just an opinion, yes.                                                7   Q. -- with the information, no.
  8      MR WADE: Is there a question?                                          8             The chairman will be pleased to know that I am
  9      THE CHAIRMAN: I thought that one of the points, and you can            9       getting on to his point.
  10       correct me, Mr Taylor, but one of the points that was               10             The respondents' position is that CIL is only
  11       being made was a certain amount of material was                     11       required to pay costs under the adjustments guarantee if
  12       supplied, whether it is 1,200 or 1,1001 --                          12       they are supported by the documents supplied on
  13     MR SHOESMITH: And the subsequent amount of material was --            13       26 July 2012. Are you aware of that?
  14     THE CHAIRMAN: That was with the CD-ROM, and then there was            14   A. Can you repeat? You talked about a guarantee. Is that
  15       additional material supplied, and then there was further            15       different to --
  16       material supplied with Mr Good's --                                 16   Q. Yes, so there are a number of respondents in this
  17     MR SHOESMITH: I am going to come on to that, if I may.                17       case --
  18     THE CHAIRMAN: I am sorry to anticipate you --                         18   A. Okay.
  19     MR SHOESMITH: No, no, not at all.                                     19   Q. -- and there is the question in respect of Allied we're
  20     THE CHAIRMAN: -- but I thought that was what the point of             20       here to discuss that today, but part of the arbitration
  21       the discussion was, but I will leave it to you,                     21       has been in respect of another respondent, CIL, as we
  22       Mr Shoesmith, to follow that. Have I got that right?                22       call it.
  23     MR SHOESMITH: I'm sorry to leave you in suspense.                     23   A. Yes.
  24     A. I think so, yes, sir.                                              24   Q. In their pre-hearing submissions at paragraph 13.3(vi)
  25     THE CHAIRMAN: Okay. Very good. Mr Shoesmith, please.                  25       the respondents suggested that this other respondent,

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   1     MR SHOESMITH: 1,156, so at this stage we seem to be missing            1       CIL, is only required to pay costs under the adjustments
   2        70 approximate pages.                                               2       guarantee, that's its contract with NAE, if they are
   3     A. 70. Did you include the spreadsheets?                               3       supported by documents that were provided on
   4     Q. I didn't, and if that helps you that is 13 pages. So                4       26 July 2012. I take it you weren't aware of that?
   5        we're still quite a number of pages short.                          5   A. No.
   6     THE CHAIRMAN: The two of you are getting --                            6   Q. And that's why it is relevant to establish what
   7     A. We are getting closer.                                              7       documentation we have.
   8     MR SHOESMITH: It is as far as my maths goes.                           8   THE CHAIRMAN: Are we back to the adjustments guarantee now?
   9     A. Was the spreadsheet PDF, so --                                      9   MR SHOESMITH: The simple point is on the supporting
  10     Q. The copy that you supplied with your report is PDFs.               10       documentation. So for CIL it is said, we don't
  11          I am inferring from our previous discussion that you             11       understand precisely why, that only the documentation
  12        weren't aware that those documents that you were                   12       supplied on 26 July 2012 --
  13        supplied were potentially incomplete based on the                  13   THE CHAIRMAN: Oh, I see.
  14        respondents' --                                                    14   MR SHOESMITH: -- is relevant.
  15     A. I didn't do a page count, no.                                      15   THE CHAIRMAN: I think I understand.
  16     Q. No. But assuming they are incomplete, that does affect             16   MR SHOESMITH: But the respondents haven't provided
  17        the integrity of the review based on those documents,              17       Mr Taylor for review those documents. They seem to have
  18        doesn't it?                                                        18       counted them up, they seem to have them but they haven't
  19     A. I reviewed the documents that I was given.                         19       provided them, so we can't say with any certainty what
  20     Q. It's not a criticism of you but if 1,225 pages were                20       was and what wasn't supported.
  21        supplied by NAE and the question is whether NAE                    21   THE CHAIRMAN: Thank you very much.
  22        adequately supported its final adjustment statement and            22   MR SHOESMITH: Now, the respondents calculate the amount
  23        you were only given 1,156 or maybe slightly more --                23       supported by documents provided on 26 July 2012 was
  24     A. The 21.3 million gap that we've got to now was 980                 24       $6.8 million. That's not a figure you've given them, is
  25        documents, something -- 980 pages. So it's a different             25       it?

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   1     A. The figure I gave of 7.5 million, I hadn't treated the     1    A. Yes, the fact the respondent has seen a document doesn't
   2       tax properly in that, and so there are tax adjustments.     2      mean it knows to tie that document to the FAS.
   3       So if you take the -- my number and then take off the       3    THE CHAIRMAN: Were they documents stamped and transmitted
   4       tax adjustments, we get to Mr Shoesmith's number, and       4      as part of the -- with the CD or is it --
   5       then add back on my 21.3, we get to the number in my        5    MR SHOESMITH: As far as we know, based on the documents the
   6       table. So you can see that actually it was a number         6      respondents have provided to Mr Taylor they weren't with
   7       that I have used. I didn't --                               7      the CD, no, but they'd seen them before. Maybe we could
   8     Q. I was going to come on to your 21.3, so just to clarify,   8      just go to one of those. (Pause).
   9       then, your treatment of tax issue that's not you            9         If a party receives a document in support of a claim
  10       reclassifying documents saying that documents that you      10     of costs but it doesn't receive a duplicate of that
  11       previously thought were sufficient to get to 7.5 were       11     document on a CD at a particular time, does that mean,
  12       provided subsequently, and that's a separate issue,         12     in your view, that they're not liable to pay for the
  13       isn't it? Your 21.3 doesn't include --                      13     cost?
  14     A. No, my 21 -- so in my first report I said 7.5.             14   A. If a party --
  15       I subsequently identified that I had mistreated some tax    15   Q. If I send you an invoice --
  16       and it should have been 6.8. We've now got the --           16   A. Yes.
  17       adding back the 21.3 that we've now got, brings me to       17   Q. -- and I agree that I will send you a bundle of invoices
  18       the number in the bottom of this schedule, which is the     18     so that you can understand the statement, but I omit to
  19       28.1.                                                       19     send that particular invoice that you already have, does
  20     Q. Just for my reference, because I hadn't picked up the      20     that mean you're not liable to pay it, in your view, as
  21       change in your tax treatment, where is that set out,        21     an accountant? Would you expect a party to say "I don't
  22       presumably in your joint report?                            22     have to pay that" in your --
  23     A. I can't remember, sorry, I will have to look for that.     23   A. Well, if it was obvious that I had the invoice and
  24     Q. I don't think it is sufficiently important to dwell on,    24     I wasn't just turning a blind eye to it saying I can't
  25       if you don't know off the top of your head, that's fine.    25     see it, even though it is there on my desk, then I don't


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   1       But you changed your view on tax?                            1     think that does mean you have to pay it. But if it's
   2     A. Yes, yes, as I said, and in my first report.                2     an invoice I received a long time ago and I can't find
   3     Q. Now, the additional material that was supplied by           3     it, then I think to say if the claim was meant to be
   4       Mr Good you addressed that in the joint statement at         4     supported, I think you could say "I can't find that
   5       section 4.3. So we're in bundle E6 -- sorry, E3, tab 6,      5     invoice can you please provide me with a copy". So
   6       page 324.                                                    6     I don't think it is a yes or no answer.
   7     A. Yes.                                                        7   Q. All right. If the party then provides you with that
   8     Q. Now, you say here that this information was new to you.     8     invoice you'd accept at that point that you should pay
   9       It was supplied to you for the first time with Mr Good's     9     it?
  10       report. That's right, isn't it?                             10   A. Yes.
  11     A. That's what I say, yes.                                    11   Q. You consider do you that -- I've done some maths, I'm
  12     Q. But the respondents had seen it before, hadn't they?       12     sorry -- 99.9 per cent of the $9.3 million included on
  13     A. They had seen some of it before.                           13     the FAS in respect of the GSO costs, you consider that
  14     Q. You can tell from the face of the documents what they'd    14     paid by NAE? You've seen evidence for that, haven't
  15       seen before.                                                15     you?
  16     A. Those with their stamp on presumably they had seen         16   A. I think that's right, yes, I think so.
  17       before, yes.                                                17   Q. You record that in your -- I think it is appendix 3, the
  18     Q. There are a number of documents with the stamp on so we    18     large document that we keep going to. There is just
  19       don't necessarily need to go there, but starting in         19     $8,000 -- the chairman opened it. Would you like to
  20       bundle F35 those are Mr Good's exhibits starting at         20     have a look at that?
  21       tab 15, 15 through 21, tabs 23 to 32, and then in           21   THE CHAIRMAN: No, please continue. I am looking at it.
  22       bundle F36, tabs 33 and 34, all of those documents.         22     I will try to find the $8,000 as you talk.
  23       I don't expect you to remember them in detail, but there    23   MR SHOESMITH: The claim is for 9.3, and you'll see two line
  24       is a body of documentation which has the respondents'       24     9.3 there is $8,000 not supported by payment evidence.
  25       stamp on it.                                                25        Please let me know if you need the reference.

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   1       I would like to move on to the counterclaims briefly.       1    A. Yes. Some of the GSO costs, there is -- the total
   2     A. Is there anything I can put away?                          2      amount can be seen in the accounts, and then I ask for
   3     Q. You can certainly put that document away. I don't need     3      a breakdown of that. But it reconciles in and they are
   4       to take you to a document immediately.                      4      audited accounts and so I relied on those numbers, yes.
   5     A. Okay.                                                      5    MR SHOESMITH: Have you finished, sir?
   6     Q. An important element of the counterclaims are the costs    6    PROFESSOR LEW: Just to follow-up, one thing. This is
   7       of the Oyo-5 GSO that we've just touched upon and the       7      a question asked earlier I think by Lord Hoffmann. In
   8       cost of drilling the Oyo-7 well, aren't they? They were     8      this context, are you looking at the rules when you are
   9       a component of the loss?                                    9      trying to determine that amount or are you looking at
  10     A. Yes, they parts of -- they are costs associated with the   10     the rules for auditing? Are you looking at the rules
  11       Oyo central, yes.                                           11     for determining a potential liability between the
  12     Q. Now, we've been talking about the evidence that NAE        12     parties which involves the contract?
  13       supplied and that you say is necessary to substantiate      13   A. For the GSO and the Oyo-7 drilling costs I was just
  14       its claims for operating costs, including the costs of      14     looking for the amounts in the accounts that had been
  15       the GSO. You say that considerable documentation is         15     audited. I am not an auditor, sir. I haven't done
  16       required. You want to see the invoice. You want to see      16     an audit since 1993, so I can't claim to know what the
  17       payment evidence. You want to see all of those              17     audit procedures for that are. But I was satisfied by
  18       documents. So over 1,200 pages of invoices and              18     the fact that they were in the accounts and flowed
  19       a summary spreadsheet. It's the respondents' position,      19     through and are in the audited accounts.
  20       I am not sure it is entirely your position, that that is    20   MR SHOESMITH: The GSO costs that we're talking about here,
  21       insufficient to justify NAE's overall claim for             21     those are that you say are fixed determinable costs they
  22       operating costs?                                            22     are the same GSO costs that in fact NAE is claiming on
  23     A. Well, that 1,200 didn't support it, did it? Don't          23     FAS, aren't they?
  24       forget there are extra 918 other to.                        24   A. The 9.3 in the bottom line, yes.
  25     Q. But there is a considerable body of invoices that have     25   Q. It's the same operation, so it's when you say that when

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   1       been supplied but it didn't support that --                 1      they're a claim on the part of the respondents, they're
   2     A. It only supported 6.8, so, yes --                          2      a fixed cost, but then when NAE is claiming them they're
   3     Q. Based on the partial set that you received.                3      an indeterminate flowing cost, I'm not sure I follow.
   4          In respect of a claim for approximately $200 million     4      Surely you have to treat the same cost in the same way,
   5       of GSO costs and drilling costs by the respondents, you     5      haven't you?
   6       are satisfied by a handful of spreadsheets, in effect,      6    A. The GSO costs and the FAS are a separate line item,
   7       without supporting invoices, without payment                7      and -- I will have to look and see what the analysis of
   8       documentation of any kind?                                  8      those were.
   9     A. They are very different situations. The FAS is looking     9    Q. I'm not suggesting the amount -- the residual amount
  10       at supporting a claim that is an amount that's -- so        10     owed to NAE is identical to the amount that is being
  11       effectively floating, it is not tied down to anything.      11     claimed back because I think the respondents are
  12       Whereas the GSO costs and the Oyo-7 drilling costs are      12     claiming the totality of the GSO costs. But it is still
  13       amounts that are identifiable and flow into the             13     the same cost item, isn't it, that you've just said was
  14       financial accounts of the parties. And so I can see         14     fixed?
  15       those flowing into the accounts, and the accounts are       15   A. Yes.
  16       audited accounts, so I think that they are tied down and    16   Q. So if NAE claims from the respondents, it needs to
  17       they've gone through a process and they have been what      17     provide substantial invoice documentation, payment
  18       has been audited. So --                                     18     evidence, but in respect of those same costs flowing in
  19     Q. I don't think you rely on the audited accounts, though,    19     the opposite direction the claim can be supported by
  20       do you?                                                     20     a simple breakdown that your client sends you?
  21     A. They do -- they all flow in, yes. They flow into the       21   A. Well, the -- on appendix 3 we can see how the GSO costs
  22       financial statements.                                       22     were supported of the 9311. This 9311 was supported by
  23     PROFESSOR LEW: Does that mean you just look at the            23     documentation.
  24       accounts, you look at the ledgers, rather than look to      24   Q. But you don't allow those costs, they are not permitted.
  25       see if there's supporting evidence, supporting --           25   A. My position on those costs is that it wasn't agreed by

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   1        the parties and so I haven't included them.                         1     I think you've just told me that this would be evidence
   2      Q. Could we just look at one of those, an example then, in            2     of agreement?
   3        bundle F35. The position is true for all of them.                   3   A. They have to be agreed to be included on the FAS.
   4        Let's look at tab 24. We start with an email, I hope --             4     That's my understanding of the agreement.
   5      A. Yes.                                                               5   Q. So they've agreed a cost but they haven't then
   6      Q. -- from a Martins Nwosu. A camac.com email address                 6     subsequently re-agreed it to include it in the FAS is
   7        indicates that Mr Nwosu, I assume, is of the respondents            7     your position?
   8        and that's to individuals at NAE.                                   8   A. The FAS says that to the extent it is agreed to be
   9      A. Yes.                                                               9     included, then it can be. So I've seen these -- I've
  10      Q. So this email is sent 27 June 2011:                               10     said in the analysis that these are documents that are
  11           "Dear Francesco, please find attached the Aker                  11     supported -- these are costs that are supported.
  12        pro forma invoices on Oyo-5 well intervention ..."                 12   Q. But you exclude them from the amount that you say NAE
  13           So that's the GSO:                                              13     should be entitled --
  14           "... endorsed by NAE/Allied/CPL for final invoice."             14   A. Yes, for the reasons I have there said, yes.
  15           So that's endorsed by everybody. That's an approved             15   Q. Yes, notwithstanding the evidence of --
  16        invoice, then, that's attached?                                    16   A. They are agreed and the parties seem to be disputing
  17      A. Yes.                                                              17     that. That's one of the reasons why we're here, so ...
  18      Q. It's got Allied's signed stamp, CAMAC Petroleum Ltd's             18   Q. Let's talk briefly then about the sale of the NAE
  19        signed stamp, to the extent relevant, and various other            19     beneficial interest to CEI. That's another component of
  20        stamps.                                                            20     your loss calculation.
  21      A. Yes.                                                              21   A. Can I put this F bundle away?
  22      Q. So if a party receives an invoice, a pro forma invoice,           22   Q. Please do, yes. You don't need that any more.
  23        reviews it, stamps it, sends it back to the operator and           23        Now, going back to your joint statement, your joint
  24        says "Please issue the final invoice", is it fair to               24     report --
  25        infer that it's agreed, the amount of that invoice?                25   A. Yes.

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  1      A. Yes, I think so.                                                    1       Q. -- E3, tab 6, page 315, you indicate here, in fact, the
  2      Q. You think so?                                                       2         experts agree that the instructions that you record in
  3      THE CHAIRMAN: Could we just take a break for five minutes              3         your first report are not the instructions that you
  4        and then we can resume?                                              4         received.
  5      MR SHOESMITH: Yes.                                                     5       A. Just in this section, yes, I --
  6      THE CHAIRMAN: Sorry.                                                   6       Q. Yes.
  7      MR SHOESMITH: Not at all.                                              7       A. The instructions are as per the introduction of my
  8      (5.10 pm)                                                              8         report.
  9                   (A short break)                                           9       Q. Okay. The background is set out here. The difference,
  10     (5.14 pm)                                                             10         just so that we all understand, is essentially that your
  11     THE CHAIRMAN: Mr Shoesmith.                                           11         instructions, your actual instructions, seek to compare
  12     MR SHOESMITH: So I think where we had gotten to, Mr Taylor,           12         the market value of the NAE beneficial interest on the
  13       is that you'd agreed that the stamped invoice that we               13         one hand with a hypothetical value of that interest; is
  14       just looked at and the process of stamping a pro forma,             14         that right?
  15       sending it back, that shows agreement to that cost just             15       A. Can I just see my instructions?
  16       before the break, didn't we?                                        16       Q. Sure. (Pause).
  17     A. Yes.                                                               17            They are in your first report, if it helps you.
  18     Q. Okay. The Tribunal will be relieved to know I'm not                18       A. Yes.
  19       going to go through all of the invoices, but I gave the             19       Q. 1.1.4. (Pause).
  20       references earlier to Mr Good's exhibits so they will be            20            It is the (b) that I think we're looking at for this
  21       on the transcript. To the extent that you would like to             21         part:
  22       go and check, then you are very welcome to do so. The               22            "The difference in the market value of the NAE
  23       same process is shown in respect of all of the                      23         beneficial interest on 23 February 2014 and its value on
  24       supporting documentation for the GSO costs. So where                24         the same date assuming ..."
  25       you say you haven't seen evidence that they were agreed,            25            And you give a hypothesis.

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  1           So it's the market value of the NAE beneficial                    1   Q. So you weren't ever asked to opine on the issue that you
  2        interest compared with a hypothetical of that same                   2       misrecord as having been your instructions?
  3        interest; yes?                                                       3   A. I don't think so, no.
  4      A. Yes.                                                                4   Q. It's just a coincidence that you record as your
  5      Q. But what you record as being your instructions in your              5       instructions an exercise that is relevant to an issue
  6        first report is a comparison of the market value of that             6       that's pleaded as between the parties?
  7        interest against the consideration received by Allied                7   A. I am getting lost in the questions.
  8        for that interest. That's the point that you're                      8   Q. You weren't aware that there was a dispute between the
  9        addressing in your joint report here, isn't it, that                 9       parties as to the relevance of the consideration on the
  10       difference?                                                         10       question of whether Allied suffered any loss? And
  11     A. I remember that I put my instructions down wrong in that           11       I asked if it's a coincidence that you happen to have
  12       section of my report. I can't remember what I said.                 12       recorded in your report as your instructions that you
  13     Q. In 7.1.2 --                                                        13       should have performed an analysis as to whether that
  14     A. Yes.                                                               14       consideration had any impact on Allied's loss?
  15     Q. -- you say you have been instructed to assess the                  15   A. I don't think that I would be able to do the exercise
  16       difference between the $576 million received by Allied              16       that are the wrong instructions. I can't remember
  17       and the market value of the NAE beneficial interest on              17       exactly how this all unfolded, but if I'd been asked to
  18       3 February 2014.                                                    18       do that exercise I wouldn't have been able to do it
  19     A. Yes.                                                               19       because I didn't have sufficient information on the
  20     Q. So that's why I say "the market value against the                  20       whole value of the OMLs 120 and 121. And so had I been
  21       consideration received". You make the comment in the                21       asked to do that, I would have said "I can't do that"
  22       joint report because those are fundamentally different              22       and so I would have had to have different instructions.
  23       exercises, aren't they?                                             23   Q. We will come on to that in a second.
  24     A. The actual instructions and the wrong instructions?                24         Now, what you've ultimately produced is also
  25     Q. Yes.                                                               25       a different calculation from the one that you were

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   1     A. Yes.                                                                1       instructed to perform, isn't it? Your instructions are
   2     Q. Those two different processes are fundamentally                     2       to compare the market value of the NAE beneficial
   3       different.                                                           3       interest and the hypothetical value of that NAE
   4     A. Yes.                                                                4       beneficial interest, aren't they?
   5     Q. Are you aware that there is an issue between the parties            5   A. I've assumed that the market value includes the cash
   6       as to whether Allied suffered any loss specifically                  6       flows in it that are the actual cash flows, and the
   7       because of the value of the consideration received as                7       difference would be the difference between -- so the
   8       a result of the transaction?                                         8       value would change had the cash flows been the "but for"
   9     A. Am I aware that --                                                  9       scenario. And I have said in my report that I've
  10     Q. That there is this issue between the parties as to                 10       assumed -- certainly in the joint statement that I've
  11       whether Allied suffered any loss as a result of the                 11       assumed that the difference in those actual and "but
  12       operation of that consideration?                                    12       for" cash flows should be taken into consideration when
  13     A. I'm not quite sure what you're getting at. Are you                 13       considering the value of the entity -- of the asset.
  14       saying am I aware that that's been pleaded or is that --            14   Q. I think that's quite a round about way of coming to the
  15     Q. Yes.                                                               15       point. Let me put it a different way. You were
  16     A. No, I'm not sure.                                                  16       instructed to compare the market value of the NAE
  17     Q. You weren't that that was a pleaded issue. I think we              17       beneficial interest -- the hypothetical value of the NAE
  18       said at the beginning you were instructed potentially by            18       beneficial interest. What you've actually done is
  19       August 2015 when the reply and the defence to                       19       compare the market value of a part of the NAE beneficial
  20       counterclaim went in, and it is in that document that               20       interest with a hypothetical value of a part of that
  21       the issue arises. It is pleaded in the defence to                   21       interest; is that correct?
  22       counterclaim and it comes in, but you weren't aware of              22   A. I've assumed that the NAE beneficial interest is made up
  23       that because you weren't involved in the drafting of                23       of a number of different elements. One of those
  24       that document?                                                      24       elements is the benefit that's going to come from Oyo
  25     A. In the drafting, no, I don't think so.                             25       central, and I've said if there's a difference in that

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   1       that affects the overall valuation.                                1   THE CHAIRMAN: We better give Mr Taylor perhaps a chance to
   2     Q. But you've stopped at the partial calculation of the Oyo          2        move to a more comfortable part of the room. (Pause).
   3       interest. You haven't gone on to --                                3          Mr Nesbitt, tell us what we need to know about C40
   4     A. No, I haven't valued -- I haven't done a valuation of             4        and C41.
   5       the other aspects of OML 120 and 121.                              5   MR NESBITT: Well, you asked essentially what the document
   6     Q. And you've said that because you wouldn't have been able          6        was, how it exists in its native format. It is, as
   7       to because the information wasn't available to you?                7        I understand it, an Excel spreadsheet, which is
   8     A. That's right.                                                     8        maintained by the managing director's office's
   9     Q. But that information has always been available to the             9        secretarial staff in Abuja in Nigeria, which is
  10       respondents, hasn't it?                                           10        contemporaneously filled in with details of mail as it
  11     A. I don't know.                                                    11        is received in the MD's office. The spreadsheet which
  12     Q. Well, you exhibit to the joint statement documents that          12        is relevant for this dispute is the one for the year
  13       you say might be relevant to that further exercise,               13        ending 30 December 2012, which is a distinct document.
  14       valuing the NAE beneficial interest. You got those from           14        There is a spreadsheet, as I understand it, for that
  15       the respondents?                                                  15        year.
  16     A. Which ones were those?                                           16          In terms of what you actually got, what you've
  17     Q. They are in bundle F38, tabs 3 and 4. I think you refer          17        received, the secretarial staff were asked to print out
  18       to them in section 3.3 of the joint report. So there is           18        the page that relates to 8 and 9 August 2012, to see
  19       an October 2012 KLR group document entitled "Allied               19        what mail was received on those two dates. That page
  20       Energy asset evaluation".                                         20        was scanned as a PDF, emailed to the respondents'
  21     A. Yes.                                                             21        solicitors and that is what you have.
  22     Q. And then you refer to a September 2014 DeGolyer and              22          Now, if you feel that it is necessary for you to see
  23       MacNaughton report. So those are documents that were              23        the document in its native application, as we said to
  24       received from the respondents?                                    24        the respondents several days ago, we are entirely happy
  25     A. Yes.                                                             25        to provide that to the Tribunal, but obviously that


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  1      Q. And they are relevant to that exercise of valuing the             1         would entail sending you an Excel spreadsheet, which
  2        NAE beneficial interest, you say?                                  2         contains a whole year's worth of correspondence into the
  3      A. Yes, they are relevant, yes.                                      3         MD's office, some of which is private and confidential,
  4      Q. The respondents have those because they are, within               4         so the clients are understandably reluctant to provide
  5        their group, the operator/owner of the OMLs. They have             5         that entire document to the documents. But they are
  6        all the information connected to the OMLs.                         6         entirely happy to provide it to the respondents if you
  7      A. Yes.                                                              7         feel after that explanation you need further
  8      Q. So with some assistance from the respondents, you could           8         satisfaction as to its authenticity.
  9        have performed the calculation that you were instructed            9       THE CHAIRMAN: The Tribunal is extremely reluctant to
  10       to perform?                                                       10         receive any document that has not been transmitted to
  11     A. Yes, with sufficient support and time and money and              11         the respondents, and I think you anticipated that
  12       everything else I could have done an analysis, but that           12         answer. But anyway, the respondents do you have any
  13       wasn't feasible with what I had.                                  13         comment on that?
  14     MR SHOESMITH: No further questions. Thank you very much.            14       MR WADE: The only additional comment I have is that
  15     MR WADE: It is tempting to ask him about page numbers, but          15         I understand from the correspondence received from
  16       I have no further questions.                                      16         claimant's solicitors that the extracts from the Excel
  17     THE CHAIRMAN: Thank you very much.                                  17         spreadsheets you have received are further incomplete,
  18          Thank you very much, Mr Taylor. You are excused as             18         in that they have omitted a number of columns, one of
  19       an expert.                                                        19         which is said to be empty and, therefore, of no
  20                 (The witness withdrew)                                  20         consequence, and if that's correct -- I don't know if
  21                     Housekeeping                                        21         it's correct but if it's correct, of course, it makes no
  22     THE CHAIRMAN: Now, that brings us almost to the end of the          22         difference because it is empty. And the other, I'm not
  23       hearing. Correct me if I'm wrong, but the claimants               23         sure if is this is C40 or C41 but on this one there are
  24       wish to address us about C40 and C41.                             24         apparently three missing columns.
  25     MR NESBITT: You asked.                                              25             Ultimately, we remain in the same state of confusion

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  1        as you appeared to express, sir, earlier today as to                1     the purposes of the position? Is that your position?
  2        what is contained in these documents. If they are                   2     Because if that's your position, then that --
  3        admitted we will make submissions on them on that basis.            3   THE CHAIRMAN: Sorry, the respondents will get a chance to
  4        If they are excluded, we will say no more.                          4     answer, but I clearly understood the respondents took
  5      THE CHAIRMAN: Very good. (Pause).                                     5     the position that the document was incomplete, and
  6          The Tribunal had an initial question. The Tribunal                6     that's part of my problem too. If somebody says to me
  7        understands confidentiality and the issue of                        7     "This is an extract from an Excel sheet", then I want to
  8        confidentiality, but one way of dealing with                        8     have all of the columns in the Excel sheet. I want to
  9        confidentiality is to exchange documents between                    9     have a PDF exactly as that document appears on the
  10       counsel. That's to exchange it in native format and                10     screen for the secretary. But the respondents, you can
  11       that could deal with basically the problem.                        11     add or whatever, but I can tell you what my concern is.
  12     MR NESBITT: On the basis of some sort of undertaking not to          12   MR WADE: So our position is very simply that we have asked
  13       disclose it to the lay client?                                     13     various questions about these documents. We don't
  14     THE CHAIRMAN: Would that be acceptable to the respondent.            14     consider that they have been responded to, and we're not
  15     MR WADE: Perfectly, subject to instructions which I am               15     in a position to form any view about them as regards
  16       looking to receive, but I am not receiving at the                  16     their awe authenticity or otherwise. If we have the
  17       moment, it sounds --                                               17     native form of the document -- we actually only asked
  18     PROFESSOR LEW: It's a frequently used mechanism in cases             18     for the metadata, and that wasn't provided. A document
  19       where there is intellectual property --                            19     with metadata would have helped us, but that wasn't
  20     MR WADE: I am not resisting the proposition, but I don't             20     provided. And so once provided, we'll be able to form
  21       have instructions on it.                                           21     a view, and that's really that.
  22     MR GUNNING: That's fine.                                             22   MR NESBITT: I will take instructions on the proposal.
  23     MR WADE: Yes, that is fine.                                          23     I understand I think there is no objection to doing it
  24     THE CHAIRMAN: So that might be a way of dealing with it,             24     on a counsel-to-counsel basis on receipt of a suitable
  25       because the Tribunal discussed it and thought of the               25     undertaking.

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  1        following procedure, and that is you've gathered that               1   MR WADE: No objection.
  2        the Tribunal has some questions about the document, and             2   MR NESBITT: And we'll take instructions on that, and I'm
  3        thank you very much for your explanations, but as                   3       sure we will be able to resolve it between us, and we're
  4        a first step you may wish to exchange it with                       4       grateful to the Tribunal for taking the time.
  5        respondents to see whether the respondents have any                 5   THE CHAIRMAN: Thank you very much. That issue is or may be
  6        objection initially, point number 1.                                6       dealt with.
  7          Assuming that the respondents object to the                       7   MR NESBITT: It will be.
  8        admission of the document, then you can make                        8   THE CHAIRMAN: Any other issues before we get to
  9        a submission within a week thereafter, to provide us                9       post-hearing issues? Are there any other issues on the
  10       with your submissions as to the basis on which we can              10       claimant's side.
  11       take this document to be authentic. That's what we're              11   MR NESBITT: No, sir.
  12       basically concerned about.                                         12   THE CHAIRMAN: Any other issues on the respondents' side
  13     MR NESBITT: Yes.                                                     13       before we get to post-hearing issues?
  14     THE CHAIRMAN: The authenticity of the document. And then             14   MR WADE: No, I don't believe there are, sir.
  15       the respondents will be given a chance to respond to               15   THE CHAIRMAN: Very good.
  16       that a week later. The Tribunal would then look at                 16         Now, post-hearing issues. We would like, as usual,
  17       that, decide whether to admit the document, and if so              17       the parties to confer as to the appropriate post-hearing
  18       what weight, if any, to give to the document. This is              18       procedure. We have some ideas, but the parties should
  19       a very onerous way of dealing with two specific                    19       feel free to confer. First of all, the Tribunal does
  20       documents, and if the parties decide it's not worth it,            20       not anticipate transmitting questions on July 3. The
  21       then we understand that as well. But that's the                    21       Tribunal is very grateful for all of the explanations of
  22       proposal of the Tribunal.                                          22       the parties, and various issues have been raised,
  23     MR NESBITT: Can I just understand from the respondents, are          23       including the pleading issues, which were raised with
  24       you seriously challenging the authenticity of the                  24       respect to document C40 and C41 and whatever. Those can
  25       document? Are you suggesting it has been fabricated for            25       be dealt with in the post-hearing submissions.

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   1          The Tribunal thought it would be appropriate in         1      it is up to you. In the interests of what you said
   2       accordance with normal practice to have simultaneous       2      about the Tribunal having an end and drawing a line,
   3       post-hearing submissions, and the Tribunal thought that    3      I personally would be in favour of one round of
   4       a date such as 31 July, if that fitted in with everybody   4      submissions.
   5       would be perfect, with reply submissions, when that is     5    THE CHAIRMAN: Respondents, do you have any comment on one
   6       possible, and the Tribunal thought that, given the         6      round of submissions?
   7       holiday period, towards the end of August would be fine,   7    MR WADE: I don't. I am concerned over one round of
   8       if that's possible for counsel.                            8      submissions, but I can see the force in Mr Nesbitt's
   9          I realise that counsel may wish to agree on             9      submission that we seek permission to reply if
  10       something else, taking into account your vacation          10     necessary.
  11       schedules, but that was just an idea. We don't want it     11       So the additional comment with regard to costs
  12       go on forever. We would like it within four or five        12     submissions is that subsequent to your -- was it
  13       weeks the simultaneous briefs, and then reply briefs as    13     October? -- October procedural order, I recall that both
  14       quickly as possible, and if you agree on that that would   14     parties expressed a view that costs submissions should
  15       be very helpful.                                           15     come subsequently. I think just --
  16          Two or three weeks after that we'd like the cost        16   MR NESBITT: I don't think we did. I think we parked it for
  17       submissions of the parties, and with the usual             17     the purposes of the CMC that we had just before the
  18       procedure, one week, and you're entitled to make           18     final hearing, but I don't think we expressed a view one
  19       comments on the other party's costs submissions.           19     way or the other. I mean, our preference would be --
  20          So that's what we have thought up in the way of         20     sorry, can I just ask one question first? You're
  21       a post-hearing schedule. If you wish to raise any          21     envisaging dealing with costs in the award and not
  22       issues, please feel free to do that now, but you're also   22     having a separate award on costs?
  23       invited, of course, to confer.                             23   THE CHAIRMAN: Yes.
  24     MR NESBITT: Sure.                                            24   MR NESBITT: So in terms of dealing with costs in the
  25     THE CHAIRMAN: Would you like to raise any issues on that?    25     post-hearing submissions, there is no reason why we


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   1     MR NESBITT: Well, I think just for clarity there was         1      shouldn't do that with all other issues in one round, is
   2       a provision, as I think that is what you're referring      2      there?
   3       to, in the October procedural order for the Tribunal to    3    THE CHAIRMAN: The usual objection that I hear from law
   4       transmit a list of questions that it would like to see     4      firms, such as the ones involved in this case is "How
   5       addressed by the parties by -- it was actually 4 July so   5      can we provide the detail of costs until we've completed
   6       that's no longer going to happen.                          6      our post-hearing submissions?" Because the post-hearing
   7     THE CHAIRMAN: That's not going to happen.                    7      submissions takes time and costs money. So my
   8     MR NESBITT: Right, understood. Then again, obviously this    8      adaptation of the procedural timetable was intended to
   9       was purely provisional in the October procedural order,    9      deal with that objection in advance.
  10       post-hearing submissions if directed two to four weeks     10        If the parties wish to make a submission of costs at
  11       after receipt of the Tribunal's list of questions,         11     the same time, that's fine, and they put in an estimate
  12       including submissions on costs. Now, as I understand       12     for the costs for the last week or whatever, that's fine
  13       it, what you're now proposing is two rounds of             13     with the Tribunal. We're completely in your hands, but
  14       post-hearing submissions, followed by a set of             14     I was just anticipating the objection that I have heard
  15       submissions on costs.                                      15     on several occasions.
  16     THE CHAIRMAN: Yes.                                           16   MR NESBITT: I understand that.
  17     MR NESBITT: I think our preference, we can discuss it with   17   MR WADE: Yes.
  18       the other side -- and replies on costs -- we had assumed   18   MR NESBITT: I think on this side of the table at least
  19       that the Tribunal would stick to one round of              19     we're pretty good at filling in our time sheets, so we
  20       post-hearing submissions without provision for replies.    20     should be able to give you an exact figure rather than
  21       But if that's what you prefer, that's fine. A middle       21     estimate with our submissions on everything else.
  22       way might be to have one exchange of post-hearing          22   MR WADE: And I think we may prefer nevertheless to have
  23       submissions and then if there is a burning issue that      23     a separate submission.
  24       the other side desperately want to reply to, it can seek   24   THE CHAIRMAN: When we have the separate submissions, so if
  25       leave for the Tribunal. Or you can schedule it upfront,    25     one party wants a separate submission on costs that can

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  1        occur a week or ten days later. However, this is                     1          reporters have followed the procedure I've adopted with
  2        an international arbitration, the submissions on costs               2          no complaint, almost, and it is very much appreciated.
  3        are much less detailed than the submissions on costs in              3          So thank you to everyone.
  4        English court proceedings, and you know that one of the              4       MR NESBITT: Thank you.
  5        approaches of some tribunals is to compare the relative              5       MR WADE: Thank you, sir.
  6        costs of the two parties, so we have a kind of standard,             6       (5.46 pm)
  7        and that's why we like to get the submission on costs                7                  (The arbitration adjourned)
  8        before we render the award. But --                                   8
  9      MR NESBITT: If I may ask, in terms of submissions on costs,            9
  10       what you're talking about is the numbers and the                    10
  11       description, you're not talking about submissions                   11
  12       related back to the way in which the case has been                  12
  13       conducted or that kind of thing? I see Professor Lew                13
  14       shaking his head.                                                   14
  15     PROFESSOR LEW: Unless there's some major issue where there            15
  16       is an allegation that the parties have abused something             16
  17       which the rules normally allow for costs, it's really               17
  18       a just a question of just knowing what were the legal               18
  19       fees and related expenses that the party incurred in                19
  20       coming to the state of the arbitration.                             20
  21     MR NESBITT: Yes. Well, of course, we say the entire                   21
  22       counterclaim is abuse of process, but that will come as             22
  23       no surprise to the Tribunal. But, yes, understood.                  23
  24     PROFESSOR LEW: Look at the ICC rules -- this is not                   24
  25       an ICC -- the LCIA is very similar -- is that the                   25

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  1        Tribunal now, it has always been done, but since the ICC             1                             INDEX
  2        changed the rules the LCIA has got a similar rule, the               2                                                PAGE
  3        arbitration tribunal has the right when allocating costs             3       Housekeeping .........................................1
  4        to take into account whether parties have acted                      4
  5        expeditiously and appropriately in the conduct of the                5       DR SIMON MOY (called) ................................4
  6        arbitration.                                                         6
  7      MR NESBITT: Yes, indeed.                                               7            Examination-in-chief by MR GUNNING ............5
  8      THE CHAIRMAN: Mr Wade, you look like you want to make                  8
  9        a comment.                                                           9       Presentation by DR MOY ...............................6
  10     MR WADE: Not particularly.                                            10
  11     THE CHAIRMAN: Very good. Now, so we'll leave you to confer            11            Cross-examination by MS WILFORD ..............26
  12       on that. You know what the Tribunal's approach is,                  12
  13       I trust.                                                            13            Cross-examination by MR NESBITT ..............60
  14     MR WADE: Yes.                                                         14
  15     THE CHAIRMAN: And so I think we've dealt with ... (Pause).            15       MR NICHOLAS GOOD (called) ..........................137
  16          The parties can seek to agree on whatever they wish              16
  17       to agree on, but page limits are not something that                 17            Examination-in-chief by MR NESBITT ..........137
  18       I usually impose.                                                   18
  19          Now, with that, we have completed the hearing, so                19       Presentation by MR GOOD ............................138
  20       let me thank you all for your very active participation             20
  21       in your hearing. Your clients have attended, your                   21            Cross-examination by MR WADE ................149
  22       experts and witnesses have attended and have                        22
  23       contributed, and for which we are very grateful, and                23       MR MARK TAYLOR (called) ............................182
  24       counsel has enlightened us in many ways, and it has been            24
  25       very, very helpful for the Tribunal, and the court                  25            Examination-in-chief by MR WADE .............182

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